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                       EXHIBIT A

                Redacted Griggs Declaration




                            4
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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELA WARE


    In re:                                                    Chapter 11

    BOY SCOUTS OF AMERICA AND                                 Case No. 20-10343 (            )
    DELA WARE BSA, LLC, 1
                                                              Joint Administration Pending
                            Debtors.


    BOY SCOUTS OF AMERICA,

                            Plaintiff,                        Adv. Pro. No. 20-50527 (             )

               V.

    A.A., et al., 2

                             Defendants.



             DECLARATION OF BRUCE A. GRIGGS IN SUPPORT OF THE BSA'S
               MOTION FOR A PRELIMINARY INJUNCTION PURSUANT TO
                 SECTIONS lOS(A) AND 362 OF THE BANKRUPTCY CODE




1 The Debtors in these chapter 11 cases, together with the last four digits of each Debtors' federal tax identification
number, are as follows: Boy Scouts of America (6300) and Delaware BSA, LLC (4311). The Debtors' mailing
address is 1325 W. Walnut Hill Ln., Irving, TX 75038.
2
  A full list of the Defendants in this adversary proceeding is included in redacted form in the caption on the BSA's
Verified Complaint for Injunctive Relief [Adv. D.I No. 1] and on Exhibit A thereto to protect the privacy interests of
abuse victims. An unredacted version of the Complaint and Exhibit A thereto will be served on each Defendant's
counsel.
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Bruce A. Griggs, being duly sworn, states the following under penalty-of perjury:

         1.       I am over twenty-one (21) years of age and I am fully competent to make this

Declaration. I am a shareholder partner at the law firm Ogletree, Deakins, Nash, Smoak &

Stewart, P.C. ("Ogletree"), 301 Congress Avenue, Suite 1150, Austin, Texas, 78701, which has

served as National Coordinating Counsel to the Boy Scouts of America           (the'.BSA"), a non-

profit corporation and a debtor and debtor in possession in the above-captioned chapter I I         cases,


since August 1, 2016.     I am   a licensed attorney and   I have been admitted to practice in Texas for

30 years.   I rcspectfully submit this Declaration in Support of the BSA's Motion for      a

Preliminary Injunction Pursuant to Sections 105(a) and 362of the Bankruptcy Code.

         2.       The matters set forth below are of my own personal knowledge or upon

information and belief based upon materials, books, and records made available to me.'If called

upon to testifu   I could and would competently testi$r to those facts.

         3.       Attached as Exhibit A hereto is a true and correct copy of the Complaint filed on

March lg,2018 against the BSA and other parties in the case          captioned!     v. Boy Scouts   of
Americao Case No. 18CV10468, pending in the Circuit Court of the State of Oregon for

Multnomah County.

         4.       Attached as Exhibit B hereto is a true and correct copy of the Complaint filed on

January 25,2018 against the BSA and other parties in the case captioned Julie Doe v. Boy Scouts

oJ   America,Case No. 18CV03080, pending in the Circuit Court of the State of Oregon for

Multnomah County.

         5.       Attached as Exhibit C hereto is a true and corect copy of the Complaint filed on

January|3,2020againsttheBSAandotherpartiesinthecasecaptionedfv'Boy
                   Case 20-50527          Doc 11-1      Filed 02/18/20      Page 4 of 175




 Scouts   of America" Case No. SSX"L-00002?-20, pending inthe Superior Court of New Jersey,

Law Division for $ussex County.

           6,          Attached as Hxhibit D hereto is atrue ancl correct copy of the Complarnt and Jnry

Demand filed on January 3 , 2020 against the B SA and other parties in the case captionod           ll
lJrv,            Boy Scoats of America, Case No. ESX-L-000063-20, peirding inthe Superior Courl

of New Jersey, Essex Courrty Law Division.

           7.          Attached as Exhibit E hereto is a ilue and oorecf oopy of the Plainti'ff s Vsrified

Cornplaint frled on June I0, 2Al9 against the IISA and other parties in the c*se caption;edDoe, v,

Boy Scouts of America,CaseNo. SU19CY0378, pending inthe Superior Court of Athens-Clarke

County, fieorgia,

           8.          Atfached as Exhibit F horeto is atruo and eorueot copy of the Ye,rified Complaint

filecl on August 23,zllgagainst the B$A and other parties in the case capti*ned            I     v, Bay

Scouts    of Arneric*, trndex. No. 9501 L}l}llg,penditrg in the Supleme Court offhe $tate ofNew

Yorlc, County of New York.

I declare under penalty of perjwy that         the faregoing is true and coffect.




Execnted on this         {#huv    of February ,2$2A in Travis County, 'l"exas.




                                                                  fr* 6'+r*
                                                                     BRUCE A. GRIGGS




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tl 4                                     IN THE CIRCUIT COURT OP TI{E STATE OF' OREGON
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                                                                                                    1$cv1046g
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                  f*             individual prccceding undera             Case No.:
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                   fictitious narng,
          8
                                                                          COMTLAINT
                                             Plaintiff,
          I                  v
                                                                          fNegligence; Fraud; Sexual Abuse of a
                                                                          child)
         l0
                  THtr BOY SCOUTS OF AMERICA, A                           JURY TRIAL NEMANI}ED
         tl       congressionally ohartered coryoration
                  axhorizsd to do busincss in Oregon; and                 Nor Subjeot to Mandatory Arbiratiort
         12       CASCADE PACIFIC COLNCIL, gOY
                  SCOUT$ OF AMERICA, an Oregon                            Prayer:
         l3       nonprofit corporation,                                  $9,000,000 compen$atory damages against
                                                                          both Defcnd*nts
         t4                                  Defendants.
         l5
         t6               Plcintiffalloges:

         t7                                                          1.


         18               Plaintiff ls a malo born in     !who,   at all matorid times, was an unemancipated minor

         19       residing   wi& his mother    and siblings in Oregon City, Oregon.

         20                                                          2.

         2t               Defendant Boy $couts olAmerica ("Defendanl               B$A")   is a congressionally-chartered

         22       0orporation authorized to do business in Orogon.

         23       tlt
         24       t/t
         25       ilt
         26
                                                                                                            DUMASLAwGNOU&LLC
                                                                                                         3$35 NEHancook 31., $t€. GL-B
Page          I   COMPLAINT                                                                                      Portlan4 OR972l2
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                              Case 20-50527        Doc 11-1         Filed 02/18/20     Page 7 of 175




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sr                                                             3.

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                       Defendant Cascade Pacific Council, Boy Scouts of America ("Defendant CPC") is an
'tr
g3              Oregon nonprofit colpomtion operating under the actual and apparent control of Defendant BSA,

?t              and was at all material times the actual or apparent agent of Defendant BSA.
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o                                                             4.

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'tr
                       At all material times, Defendant BSA and Defendant CPC ("Defendants") operated and
i)
>r7             controlled a national and oregon youth program for boys known       as the   "Boy Scouts" or
        8       "Scouting."

        I                                                      5.

       10              Defendants invited boys, including Plaintiff, to participate in Scouting and enter into a

       ll       commercial relationship, which included Scouts paying an annual membership fee and other

       t2       fees, and making required purchases, in exchange for participating in Scouting. Defendants also

       13       created a relationship of trust and confidence with Plaintiff by inviting him to participate in

       t4       Scouting, acting in loco porentis to Plaintiffduring Scouting activities such as camping and

       15       hiking ttips, and undertaking responsibility for the safety of Scouts and delegating that

       16       responsibility to Scout volunteers acting under Defendants' control.

       t7                                                     6.

       I8              Defendants organized Scouting into o'Troops" at the local level. Defendants operated

      l9        Troop 22A in Oregon City, Oregon. Troop 220 was an officially sanctioned BSA troop that

     20         participated in activities such as group meetings, camping, hiking, and eaming "Merit Badges."

     2l         Plaintiffparticipated in activities with Troop 220 with three of his older brothers who were
     1J         registered members of Troop 220.

     23

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                                                                                                    DUMA$ LAw GR0UF, LLC
Page        2   COMPLAINT                                                                         3835 NE Hancock Sr., Ste. GL-B
                                                                                                        Portland, AR972l2
                                                                                                    Telophone : (503)   9 52-67   89
                                Case 20-50527           Doc 11-1            Filed 02/18/20        Page 8 of 175




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           2               Defendants approved, trained, supervised, and maintained the right of control, actual
'cb0
o          3       control, and apparent control over adult Scout volunteers (includingTroop leaders known as
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>.
 o
() 4               "scoutmasters" and "Assistant Scoutmasters") and paid Scout employees (o'scouters").
e
L          5                                                          8.
O
0)         6              Defendants selected and approved Clyde Brock ("Brock') as a volunteer Assistant
L
6)

      1    7       Scoutmaster and/or Scoutmaster ("Troop leader") for Troop 220 through at least 1968. At all

           I       material times, Brock was an actual or appaf,ent agent of Defendants.

           9                                                          9.

          l0              Defendants authorized and empowered Brock to perform all the duties of a Troop leader,

          1l       including but not limited to providing instruction, counseling, and physical supervision           of

          t2       Scouts; educating Scouts in morality, patriotism, character-building, obedience, and various

          l3       other life skills; mentoring and befriending Scouts; and enforcing rules governing Scouts'

          14       participation in Scouting. Defendants knew that,          as   part of his duties and expectations as a

          l5       Troop leader, Brock would be in      a   position of trust, confidence, respect, and authority over

          l6       Scouts, including Plaintiff.

          t7                                                          10.

          l8              Defendants retained the right to controlo and had actual and apparent control ofthe

          T9       means, methods, and physical details of Troop leaders' performance of the duties described in

      2A           paragraph   9.   As part of his duties as a Troop leader, Brock used his position to gain the trust and

          2l       confidence of Plaintiff and Plaintiff s family to spend large periods of time alone with Plaintiff,

          22       or with Plaintiff and other Scouts (including Plaintiff s brothers), with no other adults

          23       supervising. Brock performed his duties as a Troop leader in connection with his agency

          24       relationship with Defendants; within the time and space limits of his agency; out of a desire, at

          25

          26
                                                                                                             DUMAS LAW GROUP, LLC
                                                                                                           3835 NE Hansock St., Ste. GL'B
Page           3   COMPLAINT                                                                                     Portland, OP.97212
                                                                                                             Telephone: (5 03) 952-67 89
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o\             I   least partially and initially, to   fulfill   his agency duties as a Troop leader; and his duties generally

E          2       wore of o kind and naturc that Brock was rcquired to purlorm as a Troop leader.
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C=
           J                                                             I   l.
o          4                 Brockos authorized duties and activities as a Troop leader led to and resulted in Brock
(_)
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 L
 o         5       sexually abusing Plaintiff in or around between approximately 1966 and 1968. Brock led
O
€o
           6       Plaintiff, his brothers, and other Scouts in Scouting activities, including troop meetings,
o
      I    7       swimming, hiking, and camping trips. He convinced the Scouts including Plaintiff and his

           8       hrothers, to swim nude, and while they were swimming and aftor they got out of the wotcr, hc

           9       took nude photographs of them. On camping trips, Brock convinced Plaintiff              s brothers   to sleep
          l0       with him in his sleeping bag and sexually abused his brothers on those camping trips. Plaintiff

          11       and other Scouts, including     Plaintifls brothers, also spent the night at Brock's     house regularly

          12       for the stated purpose of working on merit badges and other Scouting activities. During these

          13       sleepovers, Brock made the Scouts remove their clothes, sleep nude with him, and showed them

          l4       photographs and videos of nude boys and adults. During these sleepovers, Brock abused

          l5       Plaintiff, including fondling PlaintifPs genitals and having Plaintifffondle his genitals; touching

          16       Plaintiff, or having Plaintiff touch him, in other inappropriate sexual ways; performing anal sex

          t7       on   Plaintift   and performing oral sex on Plaintiff, or having Plaintiff perform oral sex on him.

          18       Brock also sexually abused Plaintiff s brothers while Plaintiffwas in the same room and

          l9       witnessed the abuse. Brock's sexual abuse of Plaintiff constituted a harmful or offensive

          20       touching of Plaintiff to which Plaintiff did not and could not consent, because Plaintiff was a

 r2l               minor.

          22                                                             12.

          23                Beginning as early as 1920, Defendant BSA regularly received reports and information

          24       from its local Councils and agents ofadult Scouting volunteers and professional Scouters

          25       sexually abusing Scouts. Based on these reports, Defendant BSA created a file system then

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                                                                                                            DUMAS   LAw GRoUP, LLC
 Page 4            COMPLAINT                                                                             3835 NE Hancock St., Ste. GL-B
                                                                                                               Portland, OR97212
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a         I       known as the "Red Flag" files        now the "Ineligible Volunteer" files   ("lV files")       to attempt
o
                                                   -                                                         -
(B        2       to track a variety oftransgressions by adult volunteers, including volunteers that sexually abused
bo
L
o         J       Scouts. Defendant BSA categorizes IV files according to the type of transgression committed,
g
          4       labeling IV files that contain allegations of child sexual abuse as "Peryersion" files. By 1965,
O
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          5       Defendant BSA had created approximately 3,000 Perversion        IV files. The number of IV
(J
<,
o         6       Perversion files that still exists significantly undemepresents the actual number of IV Perversion
o
     I    7       files and of adult Scout leaders that molested Scouts for many reasons, including that Defendant

          I       BSA destroyed most of the IV files created before Plaintiff was abused, and because most

          9       children did not report their sexual abuse. The IV Files can generally consist of newspaper

         l0       articles; court filings; police reports; conespondence between BSA employees and volunteers;

         lt       statements from Scouts and their parents; BSA memoranda; and other documents, all which can

         12       contain detailed factual information about the circumstances under which child sexual abuse

         13       occurred in Scouting.

         t4                                                       13.


         15              The IV Files also contain reports of adult Scout leaders engaging in similar type         of

         16       behavior that Brock engaged in that led to his abuse of   Plaintiff including reports of: adult Scout

         17       leaders taking Scouts to their homes without other adults present; adult Scout leaders allowing

         18       Scouts to stay overnight at the leaders' homes without other adults present; taking photographs

         t9       of nude Scouts; persuading Scouts to skinny dip in the adult Scout leaders' presence; showing

         20       nude photographs or pornography to Scouts; taking Scouts on camping or hiking trips alone

         2l       without other adults present; engaging in similar Grooming behavior with Scouts that Brock

         22       engaged in with the Scouts he abused, including Plaintiff, such as buying Scouts gifts, giving

         23       some Scouts more attention than other Scouts involved in the troop, and spending more time

         24       with some Scouts than other Scouts involved in the troop; engaging in physical contact that

         25       exceeded the bounds     ofan appropriate adult Scout leader-Scout relationship, such       as excessive


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                                                                                                       DUMAs LAw GRouP, LLC
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o.             1        hugging, back massages, or bathing Scouts; and adult Scout leaders specifically Grooming
t)
           2            Scouts who lacked "father figures" or other strong parental figures and guidance. Because
bo
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o                      Defendant BSA created and maintained the IV Files, Defendant BSA knew of these reports
(ts
                                                                                                                             of
o.
o          4           adult Scout leaders engaging in similar type of behavior that BSA knew Brock engaged in that
O
o
!          5           led to Brock's abuse of    Plaintiff. Defendant BSA knew of these reports prior to Brock's abuse of
O
o          6           Plaintiff.
E
C)

      I    7                                                             14.

           8                   By the time Plaintiff began participating in Scouting, based on the reports in the IV Files,

           9           as described in paragraph 13, Defendants knew that Scouting posed a danger to minor boys

          l0           because there had been a longstanding, consistent, and widespread problem           with adult Scout
          11           volunteers sexually abusing Scouts. Defendants knew that child molesters like Brock were using

          12           Scouting to gain access to and gain the trust of Scouts, including Plaintiff, in order to molest

          l3           them.

          t4                                                            15.

          15                   Before Brock sexually abused Plaintiff, Defendants knew that Brock was sexually

          t6           attracted to young boys. They knew he regularly took nude photographs           of Scouts, and they
          t7           knew that he invited Scouts over to his house, where he showed them photos of nude Scouts and

          t8           pornographic photos of men and womeno and gave them baths, making him dangerous to Scouts

          l9           and ineligible to be an adult Scout volunteer.

          20                                                            16.

          2t                   As a result of Defendants' wrongful conduct, Plaintiff was sexually abused by Brock, and

          22           suffered in the past and   will suffer in the future physical   and psychological injuries, consisting   of
          23           substance abuse, depression, anxiety, shame, guilt, distrust of authority,loss of trust, anger

          24           management issues, interpersonal relationship problems (including estrangement from his

          25           brothers also abused by Brock), and loss of self-esteem. Additionally, Plaintiffls sexual abuse as

          26
                                                                                                              DUMASLAw GROUP,LLC
Page               6   COMPLAINT                                                                           3835 NE Hancock St., Ste. GL-B
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q          1   a child has placed him at increased risk    for reduced life expectancy, cancer, heart disease, and
01


(d         2   diabetes.   All of these injuries   caused and   will   cause Plaintiffnon-economic damages for his
 bo

o          J   pain, suffering and loss of enjoyment of life in the approximate amount of $9,000,000.
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 o         4                                                       17.
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 I         5          Plaintiff did not begin to discoverthe causal connection between his sexual abuse and the
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 o         6   injuries and damages he suffered as a result of that abuse until approximately 2015. Prior to that
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           7   time, Plaintiff did not discover, and reasonably could not discover, the connection between his

           8   sexual abuse and his iniuries and damages caused by that abuse because psychological

           9   conditions arising from his sexual abuse prevented that discovery. Additionally, Defendants kept

          l0   their decades of knowledge of child sexual abuse in BSA hidden from Scoutso Scouts' parents

          11   and guardians, Troop leaders, other adult Scout volunteers, troop committees, and sponsoring

          12   organizations (together, the "scouting community") and the general public.

          13                                                       18.

          l4          Defendant BSA acted with malice or a reckless and outrageous indifference to a highly

          l5   unreasonable risk of harm and with a conscious indifference to the health, safety, and welfare        of

          16   Plaintiff. Plaintiff provides notice of his intent to move to add allegations of punitive damages

          t7   against Defendant BSA at any time after the        filing of this Complaint.

          l8
          l9                              FIRST CLAIM FOR RELIEF                     Negligence
                                                                                 -
          20                                                       19.

          21          Plaintiffrealleges and incorporates by reference paragraphs I through 18.

          22                                                       20.

          23          Defendants were negligent in one or more of the following ways:

          24          a)        By failing to:

          25                    1)      Permanently remove Brock from Scouting after receiving information that

          26
                                                                                                     DUMAS LAW GNOUP' LLC
                                                                                                   3835 NE Hancock St., Ste. GL-B
 PageT COMPLAINT                                                                                         Portland, Ol*^97212
                                                                                                     Telephone: (503) 952-6789
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Sl                                 Brock was taking photographs of nude Scouts; taking Scouts to his home; and, at
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                                   his home, showing them nude photos of Scouts and pomographic photos of men
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93                                 and women, and bathing them;

$+                                 2)      Adequately supervise or monitor Brock after receiving information that
o

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 $s                                Brock was taking photographs of nude Scouts; taking Scouts to his home; and, at

Eo
'i                                 his home, showing them nude photos of Scouts and pomographic photos of men
 o
7t7                                and women, and bathing them;

          I                        3)      Inform the Scor,rting community that Brock wae taking photographs    of
          9                        nude Scouts; taking Scouts to his home; and, at his home, showing them nude

         10                        photos of Scouts and pornographic photos of men and women, and bathing them;

         ll                        4)      Warn the Scouting community about Brock's inappropriate sexual

         l2                        behavior;

         t3                        5)     Investigate the reports that Brock was taking photographs of nude Scouts;

         t4                        taking Scouts to his home; and, at his home, showing them nude photos of Scouts

      l5                           and pornographic photos of men and women, and bathing them; and

      t6                .          6)     Report to local law enforcement that Brock was taking photographs     of
      t7                           nude Scouts; taking Scouts to his home; and, at his home, showing them nude

      l8                           photos of Scouts and pornographic photos of men and women, and bathing them;

      19                    b)     By failing to wam the Scouting community, including Plaintiff and his mother,

     20           about the risk of child sexual abuse by adult Scout leaders occurring under the same

     2l           circumstances that prior child sexual abuse of Scouts occurred, as described in the reports in the

     22           IV Files described in paragraph l3;
     23                     c)     By failing to train the Scouting community, including Plaintiff and his mother,

     24           and paid Scouters in how to recognize, report, and prevent, or otherwise avoid becoming victims

     25           of, child sexual abuse by adult Scout leaders occurring under the same circumstances that prior

     26
                                                                                                    DUMAS   LAw GROUP, LLC
Page          8   COMPLAINT                                                                      3835 NE Hancock St., Ste. GL-B
                                                                                                       Portland, OR972l2
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a I           child sexual abuse of Scouts occurred, as described in the reports in the IV Files described in

(d        2   paragraph 13;
bo
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o         a
          J          d)       By failing to disclose to the Scouting community, including Plaintiff and his

          4   mother, the existence ofsecret IV Perversion files that tracked adult Scout leaders accused      of
o
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6
          5   sexually abusing Scouts under the same circumstances that led to Brock's sexual abuse of
O
0)        6   Plaintiff, as described in the reports in the IV Files described in paragraph l3;
o
     i    7          e)       By representing to the Scouting community, including Plaintiff and his mother,

          8   that adult Scout volunteers were to be trusted and obeyed and that Scouting was a safe activity,

          9   despite knowing that child sexual abuse by adult Scout leaders had occurred under the same

         l0   circumstances that led to Brock's sexual abuse of   Plaintiff   as described in the reports in the   IV

         ll   Files described in paragraph   l3;

         t2          f)       By failing to implement and enforce the following common-sense child abuse

         l3   prevention policies, in response to the reports in the IV Files of adult Scout leaders engaging in

         t4   similar type of behavior that Defendants knew Brock had engaged in that led to his abuse        of

         l5   Plaintiff, as desoribed in paragraph 13:

         l6                   l)     Policies requiring BSA to notify the Scouting oommunity, including

         t7                   Ptaintiffand his mother, when adult Scout volunteers had been accused of child

         l8                   sexual abuse, or removed from Scouting and put in an IV File for sexual abuse         of

         l9                   Scouts that occuned under the same circumstances that led to Brock's sexual

         20                   abuse of Plaintiffs;

         2l                   Z)      Policies requiring "Two-Deep Leadership," or more than one adult Scout

         22                   volunteer to be present at Scouting activities;

         23                   3)      Policies prohibiting Scouts from spending the night or otherwise visiting

         24                   at adult scout volunteers' homes without parental supervision;

         25                   4)      Policies prohibiting Scouts and adult Scout volunteers from'oskinny

         26
                                                                                                  DUMAS LAW GROUP, LLC
                                                                                                3835 NE Hancock St., Ste. GL'B
Pageg COMPLAINT                                                                                       Portland, OR97212
                                                                                                  Telephone: (503) 952'67 89
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O
q I                                   dipping" or otherwise being nude at any time during scouting activities; and
m
          2                           5)      Policies prohibiting adult scout volunteers from taking photographs       of
 ut)
'tr
          3                           nude Scouts.
o

U         4                                                          21.
o
o
F         5                   As a direct and foreseeable result of Defendants' negligence described in paragraph 20,
6
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4)
rF        6        Plaintiff suffered the injuries and incurred the damages described in paragraph 16. Defendants
u
     I    7        therefore knowingly allowed, permitted, and/or encouraged child abuse.

          8

          I                                      SECOND CLAIM llOR n"ULlEF                  Fraud
                                                                                        -
         l0                                               General Fraud Allegations

         lt                                                         22.

         12                   Plaintiffrealleges and incorporates by reference paragraphs I through 21.

         r3                                                          23.

         t4                   Defendants created a special, confidential, or fiduciary relationship with Plaintiff by

         15        inviting him to participate in Scouting and by acting in loco parentisto Plaintiff during Scouting

         l6        activities such as camping and hiking trips. Defendants also undertook responsibility for the

         17        safety of Scouts and delegated that responsibility to Scout volunteers acting under Defendants'

         t8        control.

         l9                                                         24.    \




         20                 Prior to and during Plaintiff   s abuse, DEfendants   actively concealed their knowledge that

         21        molesters had been joining Scouting for decades to gain access to and sexually abuse boys, such

         22        as   Plaintiff. When Defendant BSA added       a volunteer to the   IV File list for sexually abusing
         23        boys, Defendant BSA routinely instructed the Scout Executives and other local employees and

         24        volunteers to keep secret the reason the volunteer had been dismissed and the existence of the            lV
         25

         26
                                                                                                          DUMASLAW GRoUP, LLC
Page          l0   COMPLAINT                                                                            3835 NE Hancock St., Ste. GL-B
                                                                                                              Portland, OP.972l2
                                                                                                          Telephone: (5 03) 9 52-67 89
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o\ I                Perversion file system. Many times, Defendant BSA then deleted, or instructed local employees
m
           ,)
E                   or volunteers to delete, the volunteer's nams from unit applications and rosters.
bo

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(rj        J                                                       25.
 o.
O          4               Prior to and during Plaintiff s abuse, Defendants additionally actively concealed their
o
o
 F         5        knowledge of sexual abuse in Scouting because BSA had       a   policy of limiting the use of the IV
O
o
rF         6        File system to a limited number of employees at the BSA national office and certain employees,
 o
      I    7        such as Scout Executives, at the local councils. Defendants had no policies requiring or

           8        encouraging its employees to disclose the existence or functioning of the IV File system to the

           9        Scouting community and the general public, thereby limiting the use of the      IV File   system to

          l0        report allegations of wrongdoing by adult Soout volunteers, such as Brock.

          1l                                                       26.

          t2               Prior to and during Plaintiff s abuse, Defendants engaged in a decades-long public

          13        relations campaign to represent to the government, the public, and the Scouting community,

          t4        including Plaintiff and his family, that Scouting was a safe and morally upright program that was

          15        physically, emotionally, and spiritually beneficial for boys. Defendants additionally represented

          t6        that the adult Scout volunteers, including Brock, who were their agents, were appropriate and

          t7        trustworthy mentors and leaders for young boys.

          l8                                                       27.

          l9               Defendants knew the representations about Scouting and Brock described in paragraph

          20        26 were false, or made the misrepresentations with reckless disregard for the truth.

          2l                                                       28.

          22               Prior to and during Plaintiff   s abuseo Defendants conveyed the misrepresentation      that

          23        adult Scout volunteers, including Brock, were appropriate and trustworthy mentors and leaders

          24        by selecting, approving, and retaining certain men as adult Scout volunteers. Defendants further

          25        conveyed the misrepresentation that Scouting was a safe and morally upright program for boys

          26
                                                                                                        DUMAs   LAw GRoUP' LLC
                                                                                                      3835 NE Hancock St., Ste. GL-B
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a                by failing to enact or enforce common sense child abuse policies (as described in paragraph
m
-          2      l9(0), acknowledge the existence of child sexual abuse in Scouting, or otherwise amend the
 bo
 !
           J     scouting program to reduce the prevalence ofchild sexual abuse in Scouting.
 o
 o         4
(J                                                               29.
 o
 o
 o         5             Prior to and during Plaintiff s abuse, Defendants also conveyed the aforementioned
O
-o
 o         6     misrepresentations through explicit language, such as in advertisements, news articles and other
'tr
-q)
      I    7     media spots, BSA-published publications, and annual reports to Congress. As examples,

           8     Defendants made specific statcmcnts in various editions of the Boy Scuut Hundbook              the
                                                                                                          -
           I     handbook that every Scout, including     Plaintiff   uses as a guide to his Scouting experience. The

          1n     Scout Oath was and remains: "On my honor I
          IV                                                      will do my best to do my duty to God and my
          1l     country and to obey the Scout law; To help other people at all times; To keep myself physically

          t2     strong, mentally awake, and morally straight." The Scout law then describes the characteristics a

          r3     Scout should have: "[a] Scout is trustworthy, loyal, helpful, friendly, courteous, kind, obedient,

          l4     cheerful, thrifty, brave, clean, and reverent." This oath is recited by all Scouts, including adult

          l5     Scout volunteers, at every troop meeting and other Scouting events. These were ideals that both

          l6     Scouts and Scout leaders were expected to     follow. In the 1965-1972 Boy     Scout Handbook,the

          l7     Scoutmaster is referred to as "a wonderful man" who goes on hikes and goes camping with the

          18     Troop, and who "is the friend to whom you can always turn for advice." Defendant BSA, Boy

          l9     Scout Handbook, at94 (7th ed., 3rd printing, 1967). This partial list of explicit

          20     misrepresentations is not exhaustive.

          2t                                                     30.

      22                Prior to and during Plaintiff   s abuse, Defendants also conveyed the aforementioned

      23         misrepresentations through silence because Defendants never made any warnings to the Scouting

          24     community, including Plaintiffl his mother, and his brothers, and to the general public that adult

      25         Scout volunteers were not always safe and trustworthy, that they might make sexual demands or

      26
                                                                                                     DUMAS    LAw GRoup, LLC
Page           12 COMPLAINT                                                                       3835 NE Hancock St., Ste. GL-B
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          I     advances, or that significant numbers of them had abused boys in the past. This partial list           of

          2     omissions is not exclusive.
b0

o         3                                                          31.
o.
          4                 Defendants made the aforementioned misrepresentations with the intent of inducing
o
c)
F
o         5     Plaintiff(and other children similarly situated), Plaintiff s mother (and other parents and
o         6     guardians similarly situated), PlaintifPs brothers, and the public to rely on Defendants'
L
D

     I    7     misrepresentations so that they would continue to trust Scouting and adult Scout volunteers, and

          8     continue to participate in Scouting. Defendants also made the misrepresentations with the intent

          9     of shielding Scouting from scrutiny to ensure that children continued to join, to benefit

         l0     Defendants'      fi nancial   position and reputation.

         ll                                                          32.

         t2                 Defendants' knowledge of the dangers and prevalence of child molssters in Scouting and

         13     specific knowledge of Brock's sexual proclivities and inappropriate behavior constituted a

         t4     material fact. Had Plaintiffand his mother been aware of such dangers, Plaintiff would not have

         l5     entered into a relationship, or would not have continued a relationship, with Defendants and

         16     Scouting, or would have taken steps to protect himself from being molested by Brock while in

         t7     Scouting.

         l8                                                          33.

         19                 Plaintiffand his mother justifiably and reasonably relied on Defendants'

         20     misrepresentations by allowing Plaintiffto         join Scouting, remain in Scouting,   and engage in a

         2t     trust relationship with Brock. Their reliance was justified because Plaintiff and his mother could

         22     not conduct an investigation of Defendants' claims that Scout volunteers were safe and

                trustworthy, given that the records that would disprove the fraud             e.g. Defendant BSA's    IV
         23
                                                                                          -
         24     files       were not available to the public until decades later; and Plaintiffand his mother did not
                        -
         25

         26
                                                                                                          DUMAS LA1V GROUP'    LLC
                                                                                                        3835 NE Hancock St., Ste. GL-B
Page          13 COMPLAINT                                                                                    Portland, OR972l2
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5
Sl          know of Defendants' knowledge of Brock's sexual proclivities prior to Plaintiff s abuse, or that,
c.)
*a
 ;L         following Plaintiffs abuse, that Defendant BSA had removed Brock from Scouting.
'to

P3                               COUNT I    _    FRAUD BY ACTIVE CONCEALMENT

,94                                                          34
o
9r                  Plaintiffrealleges and incorporates by referenceparagraphs I through 33.
bJ
(J

E6                                                           35.
o
),      7           As alleged in paragraph s 24 and 25, Defendants committed fraud by active concealment.

        8                                                   35.

        9           As a result and consequence of Defendants' fraud by active concealment, Plaintiff

       l0   suffered the injuries and incumed the damages described in paragraph 16.

       1l                     COUNT II     _   FRAUD BY CONDUCT AND LAI{GUAGE

       t2                                                   37.

       l3           Plaintiffrealleges and incorporates by reference paragraphs   1   through 36.

       14                                                   38.

       l5          As alleged in paragraphs 28 and 2g,Defendants committed fraud by conduct and explicit

       t6   language,

       l7                                                   39.

       l8          As a result and consequence of Defendantso fraud by conduct and explicit language,

       l9   Plaintiff suffered the injuries and incurred the damages described in paragraph 16.

       20                          COUNT       III   _   FRAUD BY NONDISCLOSURE

       2t                                                   40.

       22          Plaintiffrealleges and incorporates by reference paragraphs    1   through 39.

      23                                                    41.

       24          As alleged in paragraphs 5 and 23, Defendants had a duty to disclose their knowledge        of
      25    the sexual abuse history in Scouting and Brock's sexual proclivities to Plaintiff.

      26
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a I                                                                 42.

d          2             As alleged in paragraph 30, Defendants committed fraud through nondisclosure.
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o J                                                                 43.
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O
           4            As a result and consequence of Defendants' fraud through nondisclosure, Plaintiff
o
o
F
o          5     suffered the injuries and incurred the damages described in paragraph 16.
(J

rto        6
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 o
      I    7                            THIRD CLAIM FOR RELIEF- Sexual Battery of a Child
           8                                                        44.

           9            Plaintiff realleges and incoqporates by reference paragraphs I through 43.

          10                                                        45.

          11            While acting through his agency duties for Defendants, Brock repeatedly sexually abused

          t2     Plaintiff, as described in paragraphs 10 and I 1.

          t3                                                        46.

          l4            As a result and consequence of Brockos sexual abuse, Plaintiff suffered the injuries and

          l5     incurred the damages desmibed in paragraph 16.

          I6            WHEREFORE, Plaintiff prays for judgment against Defendants, and each of them,                 as


          t7     follows:

          18             1   .     If   successful on any of Plaintiff s claims for relief against both Defendants,

          t9     noneconomic damages for Plaintiff in the amount of $9,000,000, the exact amount to be

          20     determined by the jury at the time of trial;

          2l            2.         For Plaintiff s disbursements and incurred costs; and

          22            3.         For any other relief this Court deems just and equitable.

          23             DATED this 19th daY of March,2018.

          24
                                                                            /sl Gilion C. Dumas
          25                                                                Gilion C. Dumas, OSB No. 922932
                                                                            gilion@dumaslawgroup.com
          26
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o                                                       Ashley L. Vaughn, OSB No. 11469l
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 <\'        2                                           Duuls Law Gnour, LLC
 bI)

o           J                                           James L. Dumas, OSB No. 771671
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                                                        j dumas@l indsayhart. com
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            4                                           LtNnslyHlnr,LLP
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 o                                                      1300 SW Fifth Ave., Ste. 3400
 F          5
 o                                                      Portland, OR 97201
O
                                                        Phone: (503)226-7677
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                                                        Trial Attorneys:
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                                                        Gilion C. Dumas and James L. Dumas
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                                                        Of At t orney s for   P I a i nt   iff
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                                                                                                 DUMAS   LAw GRoUP, LLC
Page            16 COMPLAINT                                                                3835 NE Hancock St., Ste. GL-B
                                                                                                  Portland, OF.-97212
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          6                          IN THE CIRCUIT COURT OF THE STATE OF OREGON
 o
          7                                            FOR MULTNOMAH COUNTY                                  18CV03080
 o

                  JULIE DOE, an adult proceeding under a
      I
          8                                                           )     Case No
                  pseudonym, as Guardian Ad Litem for                 )
          9       TRAVIS DOE, a minor proceeding under a              )     COMPLAINT
                  pscudonym,                                          )     (Sexual Battery of a ChilOlrttespondeat
      l0                                                              )     Superior: Intentional Infliction of Emotional
                                         Plaintifl                    )     Distress/Re sp ondeat Sup e rio r, Negligence,
      ll                                                              )     Fraud)
                                                                      )
      12                                                              )     JURY TRIAL DEMANDED
                  BOY SCOUTS OF AMERICA,               A              )
      t3          Congressionally Chartered Corporation,              )     Not Subject to Mandatory Arbitration
                  authorized to do business in Oregon; and            )
      I4          CASCADE PACIFIC COUNCIL, BOY                        )     Prayer: $8,000,000.00
                  SCOUTS OF AMERICA, an Oregon Non-                   )
      l5          Profit Corporation,                                 )
                                                                      )
      16                                 Defendants.                  )

      t7

      18                                                     (Common Allegations)

      19                                                              l.
  20                     Plaintiff Travis Doe is   a   minor born in the   year!     proceeding in this case under a

  2t              pseudonym. At all times relevant to the acts alleged in this complaint, Plaintiff was an

  22              unemancipated minor who was invited to participate in meetings, events, and activities promoted

  23              or sponsored by Defendants or agents of the Defendants.

  24                                                                  2.

  25                     Defendant Boy Scouts of America ("Defendant BSA") is a congressionally chartered

     26           corporation authorized to do business in Oregon. Defendant Cascade Pacific Council, Boy Scouts


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                                                                                 rnnv.crervjanci.com
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@
 .rl      of America ("Defendant CPC") is an Oregon non-profit corporation. Defendant BSA and
5
SZ        Defendant CPC      will   be referred to collectively as "Defendants."    At all times relevant to this
S
Er
'a        Complaint, Defendants invited participation of boys, including Plaintiff, into their Scouting
E
Y4        program and selected adults to serve as Scout      traders. Defendants         opefate, direct, supervise, and
o
o.
3s        otherwise control the Scouting programs and Scouting units in Western Oregon, including the
o
o
5o
(J
          Boy Scout unit in which Plaintiff was involved. Through its various units and programs,

Et
o
          Defendants maintain offices or conduct regular and sustained business in Multnomah County.
     ,g                                                        3.

     9              From at least 1935, Dcfcndants knew that Scout      lrader positions were being           used by

    10    predatory child molesters to victimize children, and that Defendants had an institution-wide or

    1l    systemic child sexual abuse problem. Based on more than ten thousand internal reports contained

     12   in Defendants' "ineligible volunteer files" ("fV Files") created prior to Plaintiff s participation in

     13   Scouting, Defendants understood: (a) the recidivistic nature of child sexual abuse by Scout

     t4   lraders; (b) how Scout       l-,eaders used their positions of trust to groom victims and accomplish the

     15   abuse of scouts; and (c) the common indications that abuse was occurring. Based on this

     l6   knowledge, prior to the selection of Douglas Young ("Young") as a Scout Leader in Portland,

     T7   Defendants became aware that Scout lraders, including Douglas Young, were in fact sexually

     18   abusing boys. Specifically, on information and belief, (a) Defendants learned that Young had

     t9   previously engaged in common grooming patterns known to Defendants based on previous

 20       reports ofsexual abuse; and (b) Defendants learned that Young had previously been accused of

 2l       child sexual abuse.

 22                                                            4.

 23                  Despite the knowledge set out in paragraph 3, Defendants selected Young as a Scout

    24    6ader in Oregon. At all times relevant to this Complaint, Defendants               selected or accepted

     25       Young for the position of Scoutmaster, or a similar capacity, for the Boy Scout Troop to which

     26   Plaintiff belonged (herinafter "Scout Leader"). As Scout lrader, Young's role was to educate,

                                                                          CREW IANCI LLP
                                                                          tCSo t lW Ndto Parhvay, Suite 125
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 @
  .rl     mentor, befriend, counsel, and train young boys like Plaintiff in morality, patriotism, and various
 5
 a! 'r
 qZ,
 q        life skills. As a Scout [,eader, Young was in     a   position of trust, confidence, and authority over
 G,I
  EJ      minors involved in Defendants' programs, including Plaintiff.
 'to
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 o                                                               5.
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 A
 d5               Defendants authorized and empowered Young to perform all the duties of a Scout Leader,
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 O
          including the power to provide instruction, counseling, moral guidance, physical supervision of

 flz
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          boys participating in Scouting, the power to enforce the rules governing the boys' participation in
     ,g
          Scouting, as well as other duties. Defendants retained the right to control the means and methods

      I   used by Scout f,eaders like Young in f'ulfilling these duties for Defendants. Defendants taught

     l0   and instructed boys, including Plaintiff, to have respect for and obey persons in positions           of
     tl   authority, including Scout lraders like Young. Defendants knew that as part of his duties as a

     T2   Scout Leader, Young would be in a position of trust, confidence, and authority over the boys

     l3   involved, including Plaintiff. At all times relevant to this Complaint, Defendants authorized or

     t4   ratified the conduct of Young in performing the duties of a Scout lrader.

     l5                                                          6.

     l6          While performing the duties as a Scout Leader, and for the purpose of furthering his

     l7   duties required in that role, Young befriended Plaintiff; gained the trust and confidence            of
     18   Plaintiff and his family   as an   instructor, guide, mentor, counselor, and authority figure; and

     t9   gained the permission, acquiescence, and support of         Plaintiff s families to spend substantial
  20      periods of time alone with Plaintiff, As a result, Plaintiff was conditioned to trust Young, to

  2I      comply with his directions, and to respect Young as a person of authority in moral and ethical

  22      matters. This course of conduct is referred to in this Complaint as "Grooming.'" Alternatively, or

  23      in currjunction with the Grooming activity, Yourrg acted as a Scout Leader toward Plaintrff,

  24      supervised Plaintiffduring Scouting events, trips, and outings, and exercised authority in loco

 25       parentis over Plaintiff during Scouting events.

 26       t/t

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od
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           I                                                           7.
o
a2                        Using his authority and position of trust as a Scout    lrader,     and through the Grooming
q
 Cd
           3   process, Young induced and directed Plaintiff to engage in various sexual acts with Young.
 bo

o
 o4            Young's Grooming and/or Young's authorized activities as a Scout Leader led to and resulted in
 g
 o
(J         5   the sexual abuse of      Plaintifl   discussed   below. Young's Grooming actions and/or his actions        as a
 o
 o
 F
o6             Scout [-eader to Plaintiff were:
 0)

 {.)
           7   a.         Committed in direct connection and for the purpose of fulfilling his employment and
>
       I

           I              agency with Defendants;

           9   b.         Committed within the tirne and space limits of his agency as a Scout kader;

   10          c.         Done initially and at least in part from a desire to serve the interests of Defendants;

   11          d.         Done directly in the performance of his duties as a Scout        lrader;

    L2         e.         Consisted generally of actions of a kind and nature which Young was required to perform

   13                     as a Scout   kader;   and

       T4      f.         Done at the direction of, and pursuant to, the power vested in him by Defendants.

       l5      Defendants, through their agents, had a right to control Young's Groorning of children in

       16          Scouting as a Scout Leader and/or Young's interactions with those children as a Scout l-eader.

       T7      Alternatively, or in conjunction with the Grooming process, Young's authorized actions as a

       18          Scout Leader led to and/or resulted in the sexual abuse of Plaintiff.

       19                                                               8.


   20                     Young, as an adult, engaged in intentional conduct resulting in physical injury, mental

   2l              injury, sexual abuse, and sexual exploitation of Plaintiff. Specifically, Young sexually abused

   22              and molested Plaintiff Travis Doe on multiple occasions in2Al7 , while Plaintiff was a twelve-

   23              year-old boy.

   24                                                                   9.

   25                     On information and belief, prior to the last incident of Plaintiff s abuse, Defendants

   26              learned that Young engaged in common grooming patterns known to Defendants based on


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               previous reports of sexual abuse.
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 Sr                                                                10.                                \
 a-
 Eg                      On information and belief, prior to the last incident of Plaintiff s abuse, Defendants also
 b0
 a)
                     .
 i4            learned of reports that Young had been accused of sexually abusing children in Oregon and that
 A
 o-
 o)            Young had been questioned multiple times by law enforcement and other civil authorities
 o
 o
 $o            regarding allegations of child sexual abuse during the years prior to Plaintiff s abuse.
 !o
 E7                                                                11.
 o
      ,g
                         As described in paragraphs 3 through 10, above, prior to the last incident of Young's

      9        sexual abuse of Plaintiff in2017 , Defendants knew: (a) the nature, common circumstances, and

  10           indicators ofsexual abuse in Scouting (based on thousands ofpriorreports ofsexual abuse

     1l        contained in Defendants' "ineligible volunteer files"); (b) that Young had been accused of

  12           sexually abusing children in Oregon; (c) that, while working in Plaintiff s troop, Young engaged

  13           in common grooming behavior known to Defendants. Nonetheless, Defendants allowed Young

  t4           to continue to serve in his position as Scout Leader and remain involved with the Scouting

  15           program. Defendants' conduct in relation to Young was consistent with an internal policy

  16           implemented by Defendants called "probation," whereby Defendants knowingly allowed and

  T7           permitted known predators to continue as Scout Leaders working with children in Defendants'

  l8           cafe.

  t9                                                               t2.

  20                     As a result of Young's sexual abuse, molestation, and breach of authority, trusto and

  21           position as Scout [,eader, Plaintiff has suffered and/or will suffer in the future: severe and

  22           debilitating mental and -emotional injury, including mental and emotional pain and suffering,

  23           anxiety, shame, humiliation, emotional trauma, and permanent psychological damage.                   All of the
 24            aforementioned injuries have caused and     will   cause   Plaintiff to incur non-economic damages in

  25           the approximate amount of $6,000,000.00, the exact amount to be proven at trial.

 26            ilt

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   I                                                             13.
O
aZ                      As an additional result and consequence of Young's sexual abuse, molestation, and
q
(n

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   3         breach of authority, trust, and position as Scout   lrader, Plaintiff incurred       and./or   will   incur in the
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q 4          future, costs for counseling and psychiatric, psychological, and medical treatment all to his
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O 5                                                                                                                       will
o
             economic damages in the approximate amount of $2,000,000.00, the exact amount of which
o
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o 6
F
             be proven at the time of trial.
O
o
         7                                        FIRST CLAIM FOR RELIEF
o
     I
         8                                            Against all Defendants

         9                              (Sexual Battery of a Child/ttespondeat Superior)

     10                                                          T4,

     11                 Plaintiffrealleges and incorporates by reference paragraphs I through 13, above.

     L2                                                          15.


     t3                 While acting in the course and scope of his agency for Defendants, Young induced and

     t4      directed Plaintiff to engage in various sexual acts with Young, as described in paragraph 8,

     15      above. The sexual molestation and abuse constituted harmful and offensive touching of Plaintiff,

     r6      to which Plaintiff did not and could not consent.

     I7                                                          16.


     18                 As a result and consequence of Young's sexual abuse and breach of authority, trust, and

     L9      position as a Scout Leader to Plaintiff, Plaintiff has incurred economic and non-economic

     20      damages, as detailed in paragraphs 12 and 13, above.

     2l                                                          t7.

     22                 In molesting Plaintiff, Young acted with malice or a reckless and outrageous indifference

     23      to a highly unreasonable risk of harm and with a conscious indifference to the health, safety, and

     24      welfare of Plaintiff. Punitive damages against an agent are attributable to a principal when acts

     25      committed within the course and scope of agency lead to or result in a tort. Pursuant to ORS

     26          31.725, Plaintiff hereby provides notice of his intent to move to add allegations of punitive


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 oo
       1       damages against Defendant at any time after the     filing of this Complaint.
 5
 Sz                                             SECOND CLAIM FOR RELIEF
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 60
                                                      Against All Defendants

i+                             (Intentional Infliction of Emotional Distress/R espondeat Superior)
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Of                                                                18.
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-QO
(J                     Plaintiffrealleges and incorporates by reference paragraphs I through 17, above.
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E-7                                                               t9.
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      ,g
                       Young, while engaging in the Grooming process, knowingly and intentionally caused

       9       severe emotional distress and physical injury to Plaintiff when Young sexually abused Plaintiff,

      10       as described   in paragraph 8, above. In the alternative and/or in conjunction with the Grooming,

      11       acts committed within the course and scope of Young's agency with Defendants led to and/or

      t2       resulted in Young knowingly and intentionally causing severe emotional distress and physical

      13       injury to Plaintiff. Plaintiff did in fact suffer severe emotional distress as a result of this sexual

      I4       abuse, and the sexual abuse of a child is beyond the bounds of all socially tolerable conduct.

      15                                                         20.

      16               As a result of Young's sexual abuse and breach of authority, trust, and position as a Scout

      17   Leader to Plaintiff, Plaintiff has incured economic and non-economic damages, as detailed in

      18   paragraphs 12 and 13, above.

      19                                                         21.

  20       '          In molesting Plaintifl Young acted with malice or a reckless and outrageous indifference

  21,      to a highly unreasonable risk of harm and with a conscious indifference to the health, safety, and

  22       welfare of Plaintiff. Punitive damages against an agent are attributable to a principal when acts

  '2'3     committed within the course and scope of agency lead to or result in a tort. Pursuant to ORS

  24       31.725, Plaintiff hereby provides notice of his intent to move to add allegations of punitive

  25       damages against Defendant at any time after the         filing of this Complaint.
  26       ilt

                                                                             CR-EwJANct    LLP
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od'1
                                            THIRD CLAIM FOR RELIEF
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c.l
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c.t -
                                                Against All Defendants

=Er                                                   (Negligence)
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E4                                                         22.
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o-
o5               Plaintiffrealleges and incorporates by reference paragraphs I through 21, above.
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                                                           23.
36
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 o   .t
rE
                 Defendant established a special relationship with Plaintiff by inviting and encouraging
 6
    ,g
          Plaintiff to participate in Scouting activities with Scout Irader Young. That relationship created

     9    a duty on the part   of Defendants to ensure that Scouting programs were rnade               as reasonably safe


    10    as possible   from known dangers. Alternatively or in conjunction with the above, Plaintiff had a

    l1    special relationship with Defendants as a young child entrusted to the care and control               of

    t2    Defendants. The special relationship created a duty of care on the part of Defendants to ensure

    t3    Plaintiff s safety while participating in Defendants' programs, events, or activities.

    T4                                                     24.

    t5           Based on the knowledge set out in paragraphs 3 through          1l   above, Defendants knew that

    l6    children (including Plaintiff) were at risk of sexual abuse in Scouting, including the risk of sexual

    l7    abuse by Young.

    18                                                     25.

    19            Despite the knowledge set out in paragraphs 3 through        1l   above, Defendants created a

    20    foreseeable risk of Scout l,eaders abusing children involved in Scouting, inluding the risk                of

    2l    Young abusing Plaintiff, by failing to undertake reasonable child abuse prevention measures in

    22    one or more of the following ways:

  23      a.      Defendants failed to screen or exclude Young from contact with children in Scouting;

  24      b.      Defendants failed to reform or enforce an effective process for selecting, monitoring, and

    25            supervising Scout Leaders, including Young;

    26    c.      Defendants knowingly allowed suspected child abusers to continue as Scout Leaders

                                                                      CREV IANCI LLP
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 od
          i
                              working with children in Defendants' care;
 O
 a            2       d.      Defendants failed to train Scout L,eaders, parents, and Scouts in how to recognize,
 a
 (d           a
              J               prevent, report, and respond to common waming signs indicating child abuse;
 b0

 LJ
              4       e.      Defendants failed to train Scout Leaders to report to law enforcement allegations of Scout
 g
 o
 L,           5               kaders sexually abusing children;
 o
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 t) 6
                      f.      Defendants failed to warn and/or notify Plaintiff   s parents and parents         of similarly
 o
              7               situated children about the prior allegations of abuse against young;
 o
      I

              8       g.      Defendants failed to warn parents and Scouts of the risk of child sexual abuse inherent to

              9               the Scouting program;

      l0 h.                   Defendants failed to report Young to law enforcement; and

      ll i'                   Defendants failed to implement and/or enforce reasonable policies to prevent child

      12                      abuse-such as a "zero tolerance" rule regarding allegations of child abuse, or a rule

      13                      against any Scout lrader participating in activities alone with individual children in

      t4                      Scouting (i.e., no "one-on-one").

      15              These actions and inactions were a substantial contributing and causal factor to the abuse           of
      l6              Plaintiff and his resulting injuries.

      17                                                               26.

      18                      Based on Defendants' aforementioned knowledge about Young, as well as more than ten

      l9              thousand previous reports of child sexual abuse in Scouting contained in their ineligible

     20               volunteer files, Defendants knew with certainty that the failures to undertake reasonable child

     2I               abuse prevention measures (as set out in paragraph 25, above) would result in children being

     22               sexually abused by Scout Iraders while participating in Defendants' Scouting program and

     '2'3             activities. lt was tbreseeable to Detbndant that Plaintiff and the similarly situated class of

     24               children involved in Scouting were in danger of sexual abuse, including abuse by Young, and

     25               that pedophile Scout   lraders (including Young) would likely molest additional children            if
     26               permitted to remain a Scout Leader. Defendants thereby created a foreseeable risk of harm to the


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od'   I   safety of children in the care of Defendants, including Plaintiff.
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a.t -
                                                              27.


$  I               Plaintiff was   a member   of the class of individuals to be protected by reasonable abuse
A
E+        prevention measures. Such measures would have protected Plaintiff from some or all of his

3S        abuse. Alternatively, Defendants affirmatively created a dangerous condition by not excluding
E
$O        known pedophiles from participation in Scouting, including not excluding Young after learning
E
$Z        of Young grooming and alleged sexual abuse of children        as set   forth in paragraphs 3 through I 1

  '8      above.

      9                                                       28.

  l0               Plaintiff s interest in being free from sexual molestation is an interest of a kind that the

  1l      law protects against negligent invasion. Defendants' actions and inactions described in

    12    paragraphs 22 through 26, above, were unreasonable in light of the risk posed to minor boys by

    l3    Scout lraders, including Young. Defendants' actions and inactions described in paragraphs 22

    I4    through 26 were a direct and foreseeable cause of the molestation and damages suffered by

    15    Plaintiff, as alleged in paragraphs 8, 12, and 13 above.

    16                                                        29.

    t7             ln acting or failing to act as alleged in paragraphs 22 through2E, above, Defendants acted

    18    with malice or reckless and outrageous indifference to a highly unreasonable risk of harm and

    T9    with   a conscious   indifference to the health, safety, and welfare of children in Scouting, including

  20      Plaintiff, Plaintiff hereby provides notice of his intent to move to add allegations of punitive

  2l      damages against Defendants at any time after the      filing of this Complaint.

  22                                          FOURTH CLAIM FOR RELIEF

  23                                              Against ALL Defendants

  24                                                        (Fraud)

  25                                                          30.

    26             Plaintiffhereby realleges and incorporates by reference paragraphs             1 through 29, above.


                                                                         CREW I^NCI LLP
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     .i   I                                                           31.
 slo
 nL                      At all times relevant to this Complaint, Defendants invited and encouraged Plaintiff to
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 bo
              participate in the Scouting program that ihey administered and controlled, all the while
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 Y4
 o
              promoting their program as being safe and beneficial for boys-physically, emotionally, and
 q
 3s               spiritually. This invitation created a special, fiduciary relationship (as described above), wherein
 o
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              Plaintiff and his parents relied upon Defendants' expertise and judgment in selecting morally
 €
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              upright men to lead, supervise, and instruct boys in Scouting programs, including within
 o
      ,g      Plaintiff s Scout Troop.

          9                                                          32.

      l0      Despite the Defendants' knowledge set out in paragraphs 3 through 11, above, at all times

      1l      relevant to this Complaint, Defendants misrepresented, failed to disclose, and/or actively

      L2      concealed the danger of child molestation in Scouting (set forth in paragraphs                  I through   28). In

      l3      the alternative or in conjunction with the above, Defendants affirmatively represented that its

      l4      program and Scout lraders (including Young) were safe and trustworthy (set forth in paragraphs

     l5           I through   28). As such, these assertions, misrepresentations, non-disclosures, concealment,

     t6       silence, and related conduct      will   be collectively referred to as "representations" throughout the

     t7       remainder of this Complaint.

     18                                                              33.

     l9                  Defendants' representations were false and misleading because:

     20       a.         Defendants had a duty to disclose known threats to the health and safety of the minors

     2t                  involved with their organization;

     22       b.         Defendants' invitation to Plaintiff to participate in Scouting upon payment of the fee

     ZJ                  requtred Det'endants to disclose all matters material to entering into the transaction, and

     24                  the danger that Plaintiff would be molested in Scouting would have been particularly

     25                  material to Plaintiff's decision to enter into or remain in the transaction with Defendants;

     26                  and


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od'    I   c.       Defendants actively concealed the danger of child molestation by Scout Leaders.
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a-                                                            34.
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Er                  Defendants' knowledge of and representations regarding the danger of child molestation
'cbo
E4         in Scouting are material because, had Plaintiff known or been given prior warning of the
 o.
o-
o5         substantial risks of abuse and danger within Scouting, such information would have influenced
o
o
F
S6         Plaintiff s conduct in relation to Scouting. Specifically, if   he had been aware of these facts,
'o
 o
!E7        Plaintiff would not have entered into or continued to be in     a   relationship with Defendants or their
     ,g
           agents (including Young), would not have padcipated or remained in the Scouting program, and

       9   would have been on guard against abuse by Defendants' agents (including Young).

  10                                                          35.

  l1                Based on Defendants' knowledge set out in paragraph 3 through 11, above, Defendants

  l2       knew that their conduct and representations regarding the safety of Scouting and Scout lraders

  13       were false, misleading, unfounded, and/or were made with reckless disregard for the truth.

  L4       Defendants knew that their conduct and representations created h false impression that obseured,

  15       covered up, and/or removed an opportunity that might have led Plaintiff or other similarly

     l6    situated individuals to discover the type of material facts set forth in paragraphs 3 through 11,

     t7    above.

     l8                                                       36.

     19             Defendants' conduct and representations were made with the intent of inducing Plaintiff

  20       (and other similnrly situated children),   Plaintiff s parents (and other similarly situated parents and

  2l       guardians), and the community at large to rely on such representations and thereby continue to

  22       trust and be involved with Defendants, their agents (including Young), and the Scouting

  23       program.

  24                                                          37.

  25                Plaintiff and his parents relied on Defendants' representations in allowing Plaintiff to

  26       engage in a trust relationship with Defendants and their agents. Plaintiff and his parents


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oo
  .r   I    reasonably relied on Defendants' representations, as well as Defendants' conduct in maintaining
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\aL         the same policies and procedures for the Scouting program, and reasonably believed that
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            Scouting and Scout Iraders did not pose a known danger to children. The reliance of Plaintiff

E4          and his parents was justified because they did not know, nor could they have known, of the
 o.
65          danger of child sexual abuse by Scout    lraders (including Young) or Defendants' knowledge of
 o
 o

!o
"d
            such. Plaintiff and his parents relied to their detriment in allowing Plaintiff to participate in
 o
tE'7        Scouting and Plaintiff was harmed as a result of this reliance.
 o
     ,g
                                                              38.

       9            As a direct consequence of Defendants' fraud as described in paragraphs 30 throu gh37,

     t0     Plaintiff suffered the damages described in paragraphs 12 and 13, above.

     ll                                                       39.

     t2             In committing the aforementioned fraud, Defendants acted with malice or a reckless and

     13     outrageous indifference to a highly unreasonable risk of harm and with a conscious indifference

     14     to the health, safety, and welfare in children in Scouting, including Plaintiff, Plaintiff hereby

     l5     provides notice of his intent to move to add punitive damages against Defendants at any time

     l6     after the filing of this Complaint.

     t7    ilt
     l8    ilt
     l9    ilt
  20       ilt
  2t       ilt
  22       ilt
 23        ilt
 24        ilt
  25       ilt
 26        ilt

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      rl        WHEREFORE, Plaintiff prays for judgment against Defendant,                      as follows:
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           L    Non-economic damages in the amount           of   $6,000,000.00, the exact amount to be

                 determined by the jury at the time of trial;
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[+ 2.            Economic damages in the amount of $2,000,000.00, the exact amount to be determined
 g
(J)             by the jury at the time of trial;
 o
 o

$o         3.    For Plaintiff s costs and disbursements incurred; and
!q)
E7
 L'
 o
           4.    For any other relief this Court deems just and equitable.
      ,g
           DATED this   25th day   of January, 2018.

      9                                                             CnnwJnxct LLP

     10

     11
                                           Trial Attorney:                     F. Crew              #        715
     12                                                             Peter B. Janci, OSB #07424
                                                                    CREW JANCI LLP
     l3                                                             1650 NW Naito Parkway, Suite 125
                                                                    Portland, OR 97209
     I4                                                             Tel: 503-306-0224
                                                                    steve@crewjanci.com
     15                                                             peter@crewjanci.com
                                                                           Atto rney s fo r P laint iffs
     l6
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                                                                          1650 NW Naito Parhvay, Suite 125
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JAVERBAUM WIJRCAFT HICK$ KA}TN WIKSTROM & SININS' P.C.
505 Monis Avenue
Springfield, NJ 07081
(e7xr319420s
Attorney LD. No. Eric 6. Kahn (021031993,
Attorneysfor Plainti{

        Plaintiff                                       SUPERIOR COURT OF NEW JESEY
                                                        LAW DMSION: SUS$EX COUNTY
                                                        DOCKET NO.

  YS.


        Dsfendantr$                                                CIVIL ACTION

BOY SCOUTS OF AMERICA' a
Congressionally Chartered Corporation,
PATRIOTS' PATH COUNCIL, INC. BOY
SCOUTS OF AMERICA, SUSSEX DTSTRICT                         COMPLAINT, DEMAND FOR
BOY SCOUTS OF AMERTCA d/b/a Stillwater                    TRIAL BY JURY, DESIGNATION
Eoy Scouls of America and/or Group 83                          OF TRIAL COIJNSEL,
$tillwater, and XYZ CORIORATION l-100                            CERTIFICATION
(fictitious name pursuant to R.4:264)


         Plaintif[,                  residing ztgl|West End Drive, Newton, $tate ofNew Jersey,

by way of Complaint against tho Dcfendants' say$:

                                           FIRST COUNT

         l.      At all times material to fhe within    cause   of action, Defendant Boy Scouts of

Amorica (hereinafter
                     *BSA') was a congressionally chartered corporation suthorized to do

business   inNewJorseywith itsprincipalplace of business locatsd atlSTSWsst Walnut Hill Lanc'

Irving, Texas.

         Z,      At all times material to the within cause of action, Defendant Fatriots' Path Counoil,

                                                                                       organized
Inc. Boy Scouts of America (hereinafler "Paffiots' Path") was a non-profit cotporation




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under the laws of the $tate of New Jersey with its principal place of business at    I   Saddle Road,

Cedar Knolls, New Jersey.

        3.      At all times material to the within cluse of action, Defendant Sussex District Boy

Scouts of America, alternatively knoum as Stillwat€r Foy $couts        of America and/or Oroup 83

$tillwatsr (hereinafter "Sus$ox District"), wos s non-profrt corporation organized under the laws

ofthe State ofNew Jersey.

        4.      At all times material to the within cause of action, Defendant XYZ Corporation      l-
100 (fictitious name pursuant to R.   4:364, hercinafter   \fYZ')   were counsels or agencies of the

Boy Scouts of America" either dissolved or presently active. Defendants B$A, Patridts' Path and

$ussex District witl be referrcd collsctively as "Dsfendants".

        5.     At all times material to the within cause of action, Defendants invited participntion

of boys in their scouting prograrns and selected adults to $ervs as Scout Leaders, ScoutMasters or

other agents of the Defendants having control over the activities of children participating in

pro$ulfis administered or sponsored by and jointly owned and/or operated by thc Defendants.

        6.     BSA encourages parents to snrcll their childr€n in scouting progrems through local

BSA counsels including Patriots' Path and Sussex Dirtrict, and encourages parents to entrust their

children's health and safety to the Defeirdants.

       7,      Defendants market the wholesomeness and safety            of   their programs   to the
American public. Yet, the BSA has concealed frorn scouts and tlreir parents, its knowledgc that

pedophiles have been infiltrating the B$A          in large nurnbers for   many yssrs, BSA also

misrepresented to scout$ and their parents lhat scouts were safe in scouting programs when, in   frct,

scout$ wers at an rnreasonably heightened risk of sexual abusc by adult $cout Le*de1s, Masters

or other volunieers/agents.



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       B.       At all rplevant times, Pafiorc' Path and Sus$ex District were sgents of the BSA and

subject to BSA's authority and control.

       g.       Prior to l9?2, Dofendants knew that Scout Leaders, Scout Masters or other

positions in its scouting programs were being used by predatory child mols$ter$ to victimize

children and that Defcndants had an institution-wide child sexual abuse problem.

       10.      In light of this knowlodge, B$A implemented a system to identiff Scout Leaders,

Scout Masters or oth6r f,dnlt participants in scouting programs who wsuld be considered ineligible

to hold pgsitions due to allegations ofsexual abuse. This system became known as the "Ineligible

Volunteer File" ("IVF'), ind has more recently been referred to as thc Perversion Files ("PP').

       I   l.   ln or about the period   1972   to l9?8, Plaintiff, Clark Fredericks, wss a cub scout

and/or boy scout enrolled in the Stiltwater Boy $couts. A family member was also a scout under

pegg as Scoutmaster. During this time, Plaintiffwas repeatrdly scxually abused by Scoutmaster

Dennis Pegg while he and/or family members were partioipating in scouling prograrn$, including

camp outs, and at a time when Plaintiff was ages 7 to l2 ycars.

        lZ.     As a rcsult of Pegg'e repcated history of sexually abusing scouts, both before and

after his abuss of Plaintiff, he should have been deemed ineligible to hold a position with

Defendant.

        13.     During the time Pegg sexually abused Plaintiff ftom 1972 to 1978, Defendants

selected and accepted him    in their programs and permitted him to sducaie, mentor, befriend'

counsel and train young boys like   Plaintiffin mortlity, patriotism   and various life skills.


        14,     During the time Pcgg sexurlly abused Plaintiff he was in a position of trust,

confidenceand authority overminors involved in Defendants'programr, includingPlaintiff' Pegg

camo to this position by virtue   of being recommended for Defendants, when Plaintiffe brother


                                                    3
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was a scout. Based on this position end association, Pegg gained access to Plsintiff and begin

grooming him for sexual abuse.

           15.     At all times relevant to the within litigation, Defendants retained the right to control

the actions and qonduct of Pegg in porforming his duties           with Defendnnts.

           16.     At all times relevant to the within litigation, Plaintiffwas conditioned to tntst Peg&

to comply with his directions and to respeet him as a psrson of authority in moral and ethical

matteru.

           ll.     At all times material to the with       cause   of action,   Pegg supervised   Plai*tiff   ott

scouting trips, outings, crffip outs and other activities and exercised authority in loco parentis over

Plaintiffwhile Plaintiffparticipated in the scouting programs organized, supervised and operated

by Defendants.

           18.     Using his authority and porition of fsst, Pegg induced and directed Plaintiff to

engage in various sexual acts that resulted in sexual abuse of Plaintiff,

           19.     The sexual abuse of Plaintiff by Pegg was committed in direct connection with his

position and agencywith Defendanls, $'as done while serving the intcrests of Defendants, and was

done at the direction of, and pursuant to, the power vested in him by Defendants.

           20.     Ae a result of Pegg's breauh of authority, lnrst and position with Dsfendants and

his sexual abuse of Plaintiffwhile an agent, seruant or representative of Defendants, Plaintiffhas

suffered and     will continue   to suffer scver€ and debilitating physical, mental and emotional injuries,

emotional traum4 parmanent psychological damage, he has and will in the future inour costs for

counse ling, peychiatric and psychological treatment, he has lost quality          of life, he has been unable

to attend to his ordinary employment or affairs, and he has otherwise bsen damaged.




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        Zl,    At all times material to the within cru$e of action and at all times while        Pegg


engaged in sexual abuse of
                           plaintiff, Defendants were responsible for his actions under the law

governingprincipallagenoy relationehips or under the doctrine of respondeat superior.

        IWHEREFORE, Plaintiffi,                          demands Judgment against Defendnns    jointly'

                                                                             interest and costs     of
severally or in the alternative, in the amount of his damagos, together with

suit.

                                         spcoND       COI,TNT

        l,      plaintiff repeat$ and realleges all of the allegations of the First Count ol the

Complaint as though sat forth herein more fully at length'

        Z.      Dcfendants crcated      d   "special relotionship"   wilh Plaintiff by inviting    and

                                                           progrilms sponsored and operated by
encouraging hirn to participats in scouting activities and
                                                                                   to ensure that
Defendants. This spccial relationship created a duty on the part of the Defendants

thesc programs werc roasonably safe from known dangem'

        3.      plaintiff also had a *'special relationship" wilh Defendants as a young child

                                                                               created a duty of caro
entrusted to the care and control of the Defendants. This special relationship

on the part of the Defendants ro ensure Plaintiffs safety while participating in
                                                                                 Defendants

                                                                                       breach their
pnogramc, evenrs or activitiEs. Defendants breached their duty to protcct Plaintiffand

duties arising out of their special relatiorrship with Plaintiff.

         4.     As a direct and proximate result of the breach of duty by Defendants, as aforesaid,

plaintiffsuffered the incident and altendant injuries hereinbefare described.

         WHEREFORE,       plaintiff,-                    demands Judgment against Defendants   jointly'

                                                                               interest and costs of
severally or in the elternative, in the arnount of his darnages, together with

suit,



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                                         THIRI} COUNT

        l.     Plaintiff repeats and reallcges all of ths allegations of the First and Secsnd Counts

of thc Complaint as though set forth herein more fully at length.

        2,     At all times material to the within cause of action and during the timss when Pegg

sex*ally abuscd Plaintiff at scouting programs, outing$ or activitiss, as aforesaid, Pegg was in the

coume or scope of his trgency relationrhip with Defendan&s.

        3.     Defendants failed to exercise ordinary and reasonablc care in supervising Pegg as

their agent, repreeentative or servant, and Defendants further failed to prevent the foreseeable

nisconduct of Pegg, including the sexual abuse of Plaintiff.

        4.     As a dircct and proximatc reeult of Dofendants' negligent, conduct or negligent

suporvision of Pegg, Plaintiff cuffered the incident and attendant injuries herein before described.

        WHEREFORE, Plaintiff, Clark Fredcricks, dsmands Judgment against Defendants jointly,

severally or in the alternative, in the amount of his damages, together with interest and costs of

suit.

                                       FOURTH COUNT

        l,     Plaintiffrepeats and realleges all ofthe allegations of the First througb Third Counts

of the Complaint as though set forth herein more fully at length.

        2.     Defendants beqame oware, or should have bocome sware         of problems indicating

that Pegg was unlit to continue in his role as an adutt Scout Lsader, Scout Master or olher

volunteer, ihnt Fegg had dangerous sexual proponsities tow*rd boys, that Pegg had vislated his

position of trust and that Pegg othenrrise should have bsen removed *om scouting programs, and

that his membership in Defendants should have been rsscinded. Yet, DeGndants failed to take

any action to remedy the problem to discharge or remove Pegg from scouling programs, to



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investigate allegations of sexualabusc by Pogg prior to the time he sexually abused Plaintiffand

otheniliso failed to prevent Pcgg {iom having the opportunity to harm Plaintiff.

        3.       As a direct and proximate result of Defendants' negligent retention of      Pegg,


Plaintiff suffered the incident and attendant ir{uries herein before described.

        WHEREFORE, Plaintiff,                            demands Judgment againet Defendants,

jointly, severally or in the altemative, in the amount of his darnages, together with intercst and

cosls of suit.

                                          nrTH couNT
        l.       Plaintiffr€peots and realleges all of ths allegations of the First throug*r Foufih

Counts of the Complaint as though set fofth herein more fully at length.

        Z.       Defendnnts had a duty to disclose known threats to the health and safety of minors

involved in their scouting pnogrflms in light of the information known to the Defsndant$ prior to

lg|2whichindicated that adult pedophiles ussd     the scouting programs to accomplish sexual abuse


of bop and in light of the information it obtained througb IVF snd PFs.

        3.       Defendants had a duty to disclose the known threat to the Plaintiffbased upon the

prior, aehal knowledge,

        4,       Defendant$ fraudulently misreprescnted and failcd to disclose and/or aclively

concealqd the dangers of sexual abuse of boys by Scout Masters, Scout Leaders or other adults

parlicipating in the program, ineluding Pegg-

        5.       Defendants made these fraudulent misrepresen[ntions with the intenl of inducing

Plaintiff and other children similarly situated, Plaintiffs par€nts and other parsnts similarly

situated, to rely on their fraudulent misrepresentations and thereby continue io Sust DefEndanis to

enroll Plaintiffand other children in its scouting programs.



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        6,      Defendants obtairred   r   substsntial economic benefrt from this reliance upon their

fraudul ent misrepresentation.

        7,      Plainti{fs and his parents' reliance on the fraudulent misrepresentalione reeulted in

Plaintiff engaging in 4 tru$t relationship with the Defendants and their agent, Pegg. This rpliancs

was justified because they did not know nor could they have reasonably known, that Defendants

were aware of significant, dangerous eexual abuse by $cout ltaders, $cout Masters or other adults

participating in the program, including Pegg.

        8.      Plaintiff and his parents acted to their deriment in allowing Plaintiff!o participate

in the scouting prograrns supervised and operated by Defendants. Plaintiffwould not have entersd

into a relationship with Defendants and with Pegg, Defendantsl agent, had he or his parents been

made aware of fasts fraudulently misrepresented or secreted by Defendants.

        9,      As a pmximatg result of fraudulEnt aets of Defendanl$, a$ aforesaid, Plaintiff

suffered the incident and attendrnt injuries hereinbefore described.

        WHEREFORE, Plaintiff,                               demands Judgment against Defendnnts,

jointly, swerally or in the altemative, in the amount of his        damages, together      with punitive

damages, rrvith interest and costs of suit,

                                              SIT(TH COIJNT

        l.      Plaintiff repeas and realleges all of the allegations of the First through Fifth Counts

of the Complaint as though set forth herein more fully at length.

        2.      Defendants created a reasonably foreseeable risk      of   abuse   of Plaintiff and other

children involved in the scouting proffarns it supervised and/or operated by failing to undertnke

rcasonabls child abuse prevention measurcu in the       hllowing particular ways:

                        in failing to screen or exclude Pegg from contact with children in
                        Defendants' scouting progranx;


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                       by failing to change their prooeeses and*systems for $elscting, monitofing
                       and supewising their ag€nts, including Pegg'

                       by knowingly allowing pedophiles to continus in Defendants scouting
                       programs;

                       by failing to lr4in $pout Leaders, Scoul Masters rnd other adult volunteers
                       iri its programs to prevent, exclude of r€port a{ufts suspeoted ofchild
                       se*t ui *buse during the sourse of scouting activities and programs;

                       in failing to warn or notify Plaintiffand/or his parents about Pogg's history
                       of sexual abuse during the course of scouting pfilgrams;

                       by failing to report Pegg to law enforcement; and

                       by failing to implement and/orenforce a zero tolerance policy involving
                       allegations of shild abuse.

       3.       Defendang knew or should have known that by failing to perform the astions
                                                                           prevention measures'
hereinbefors described, and by failing to underlake reasonable child abuse

                                                                         persons participating
children would be sexual abused by scout Leaders, Scout Masters or other
                                                                                 Buttel.
in Defendants' scouting progra.-m$ and astivities, including the sexual abuse by

       4.       plaintiff was a member of the clssr of individuals to be protected by reasonable
                                                                     plaintiff from the abuse
child abuse prevenrion rneasur€s. Such measures would have protected

he suffered.

       f.        Given the Defendants' knowledge of the history of sexual abuse in its scouting
                                                                                   progrcms'
prog6ms, as welt as Defendants' actual knowledge of Pegg's prior abuse in scouting

Dsfendanr's conduct krrowingly allowed, pennitted or encouraged child abuse.

        6.       pldntiffs intetust in being free from sexual nhnse   is an interest of the kind which


the law pmtects against negligent invasion by Defendants'




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        7.      Defendatts acted with malice, reckless or outrageous indifference to the highly

unreasonable risk of harm and with conscious indiffhrence to the hcalth, safety and welfare           of
ehildren in scouting, including Plainriff,

        8.      As a direct and proximate re$ult of ths actions or inactions of Defendants, as

sforcsaid, Plaintiffsuffered thc incident and attendant injurieo hereinbefore described.

        WHEREFORE, Plaintif{,                              demands Judgnent against Defendants,

jointly, severally or in the altemative, in the amsunt of his damages, togethcr with punitive

damages, with interest and costs of suit.




                                 DEMANI} FOR TRIAL BV JURY

        Plaintiffhereby dernands a Triol byjury as to all issues,



                                     NOflSE OFTruAL qOUNSEL
       Flease take notice that Eric      fi,   Kahn, Esq. is hereby designated as Trial Counsel in the

above captioned matter for the firm of Javerbaum Wurgaft Hisks Kahn Wikstrom                &    $inins,

purEuant to Rule 4:25 et, seq.




                         CERTIFTCATION.AS TO REDACTION OE
                          REOgTREp PERS|ONAL rpE!"y.TrFrERS


       I certi$ that confidsntial personsl identifiers have been redacted from documents now

submitted to ths court, and   will   be redacted from all documents submitted in the future ln

accordance with Rule   l:38 7(b).

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                                        cERTIHCA,S'I0N

        pursuant to the requirements of Rule 4:5 I (NOTICE OF OTHER ACTTONS), I, the
undersigncd, do hereby certify to the be$ of my knowledge, information and belie{ that oxcept as
hereinahsr indicated, ihe subject mattsr of lhe contfiwersy referrcd to in the within pleading is not
thc subject of any otirer Cauie of Action, pending in rny other Court, or of a pending Arbifadon
proceeling nor is any other Cause of Aclion or Arbiration Proseeding contsmplatcd;

l.   oTHER ACTIONS       PSNDING.               ...........YES              NO X
                                                                                    -.
     A. If YES   Parties to other Pending Actions.

     B. In my opinion,  the following parties should be
       joined in the within pending Cause of Action.

2. OTHER      ACTTONS    CONIEMPLATED?...                   ...   YES              NO JL,,.

     A. If YES Farties contemplated    to bejoined,   in
       other Causes of Action.

3. ARBITRATION PROCEEDINGS              PENDINS?                  .   YES        NO X.    .




     A, If YBS   Partiss to Arbiration Proceedingr.

     B. In my opinion,  the following parties should be
       joined in the pending Arbitration Proceedings.

4. OTHER ARBITRATION PROCEEDINCS CONTEMPLATEP?..... YES                                  NO X

     A. lf YES   Parties contemplated m be joined to
                                                                                -
       Arbitration Proceedings.

In the event that during the pendency of the within Cause of Action, I shalt become aware of any
change a$ to aily factsitated herein,I shall file an amended certification and serve a copy thereof
on af other pariies (or thcir afiorne)rs) who have appeared in eaid cause of Action.

                                               JAVERBATJM WIJRGAFT HICK$ KAHN
                                                 WIKSTROM & SININS, P.A.
                                               Attomeys forPlaintiffs



                                                           c
DATED: January 13,2020


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                    STARK & STARK, A Professional Corporation
                    Mailing Address: PO Box 5315, Princcton, NJ 08543
                    Office Location; 993 Lenox Drive, Lawrenceville, NJ 08648
                    {609) 896-e060
                    Michael G, Donnhue, III'       At        lD* 04511-1994
                                   for

                                                                         SUPIRIOR COURT OF NHW JERSEY
                                                                          NSSIX COUNTY LAW DIVISION
                                                          Plairrtiffs,
                                                                                       Docket No.
                                              vs.
                                                                                     CIVIL ACTION
                    8OY SCOUTS OF AMERICA; ESSf,X
                    COLTNTY COL]NCIL OF THE BOYS                         COMPLAINT AND JURV DIMAND
                    $COUTS OF AMHRICA; NORTHERN
                    NTW JERSEY COUNCIL OF THg BOY
                    SCOU'I'S Of AMERICA; BoY SCOUT
                    TROOP #64; XYZENTITIES 1- 100
                    (fictitious de*ignations); and JOHN DOES
                    I -200 {fictitious desigrtations),




                              Plaintiffs,                by way of Cornplaint say:

                                                    pAcKGRouNp ANp TI{9, PAnrl$$

                              l.         Defendant, Boy Scouts of America {hercinatler "3SA"), is a corporation

                    with its principal offices located at 1325 W. Walnut Hill Lane, lrving Texas, Defendant,
STAIIK & STARK
 ATOBXEY$ ATl-A1I

                    BSA, is authorized to do business in New Jersey and in fact sponsnrs scout troops in New

                    Jersey.




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                                     2,           Irrom 1954   to   1979, including times relevant times   to this action,
                           Defendant, BSA, was a New Jersey coryoration whose headquarters and principal oflice

                           were located in Middlesex County, New Jersey,

                                     3.       At all relevant times, Defendant, BSA, authorizcd Councils   and other local

                           organizations to charter, spon$or, and operate ttoy Scout Troops, Cub Scout Troops, and

                           olher lypes of Troops throughout New Jersey, including the Troop referencecl herein.

                                     4,       Defendant, BSA,         the Councils, and the local   organizations would

                           collectively select the leaders and volunteers of each Boy Scout Troop and Cub Scout

                           Troop in New Jersey, including the leaders and volunteers of the Troop referenced

                           herein,

                                     5.       I{owevgr, Detendant, IISA, retained and exercised the ultimate euthority to

                           decide who could be a leader or volunteer of any Boy Scout Troop or Cuh Scout Troop,

                           including the leaders and volunteers of the Troop referenced herein.

                                     6.       Defendant, BSA, also had the right to control the means and manner of the

                           stafllng, operation, and oversight of any Boy Scout Troop, Cub Scout Troop, or other

                           type of Troop, ineluding the Troop referenced herein.

                                     7.       Defendanf, BSA, nrade available its name, programming, and endorsernent,

                           to the leaders, voluntsers. and members of every Boy Scout Troop, Cub Scout Troop, or

                           other Troop affiliated with Defbndant, BSA, in the United Stateso including New Jersey,

                           in exchange for an annual            membership fee, ineluding the leaders, volunteers, and

                           members of the Troop referenced herein.
S    ARX & SI'ARK
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                                     8.       In    exchange   fbr the opportunity to participate in Defendant, BSA's,
                           programming and activities, the child rnembers of every Boy Scout lroop, Cub Scout



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                         "I'roop, and other Troop afliliated raiith Defendant. B$A. in the United States. inclucling

                         those in New Jersey, would pay Oefendant, BSA,                  ar   annual membership feen including

                         Plaintiff herein when he was           a child lnernber.

                                   9.          Defendant, BSA, nrarkets thE wholesorileness and salety of its programs to

                         the Aurerican public.

                                   10.         Defendant, BSA, has concealed            liom the public its    knowledge that

                         pedophiles have been infiltrating Defr:ndant, BSA, in large numbsrs lor decades,

                                   I   l.      Deferrdant, BSA, causcd, crefltcdo permitt*d, and sonsealed an envircnntent

                          hich allowed repeated and ongoing sexual abuse o1'young scouts by its seoulnasters,

                                   tatives, vo!unleers, leaders and/or employees.

                                   12.         l)efendant, BSA" misrepresented to $cout$ and their parents lhat scouls

                               sal'b    in scouting programs when scout$ were actually at an unreasonably heightened

                               ol' sexual          abuse   by   scoutmasrer$, represenlalives, volunteers, leaders and/or



                                   13. At all relevant times, Defenelant, RSA, knew its scouting programs were
                          being used by predatory child molesters lo victimize children'

                                   14.         l'ha{ Alton ("Alton") is an irrdividual citieen who wa$ at: agent,     servant,

                          scout master, representalive, volunteer, or scout leader of Dellndant, BSA. At all titnes

                          relcvant, Alton acted in the course and scopc of his ernploytnent or authorily as an agent,

                          Sgrvantl $cgutmaster, leader, vclunteer and/Or ernplOyee Of Defendant, BSA.

                                   15.         At all times relevant to this action, I)efendant, nOY SCOUTTROOP           #64
sTAttK & S'rAI(i{
 Al"TOItNf,Y5 AT   Liq
                          (lrereinaller "I"ROOP 964"\, was a Troup organieed, operated andlor sponseired by,                c'tr




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                          IteI
                          ilt
                          llotfr*r*ir* affiliated with. Defenclant. BSA. of which Alton was an agenr, servanr,
                          ll"u"s"!'!|
                                                                                                                                              I




                         ll
                               r"out*urter, leader, volunteer and/or ernployee.
                         ilt                                                                                                                  I




                         ll               tU. At all times material to the within cause of acrion, Defbndanr, IISSEX
                         iltCOUNTY COUNCIL Of THE BOY SCOUTSi OF AMERICA (hereinafter                                                         I



                                                                                                                     "ECC"), was   an
                         ll                                                                                                                   I



                         ll
                               entitf organized uuder the laws of the litate olNew Jersey with its principal place         ot'business
                         ill                                                                                                                  I




                               at   l0   Park Place. Newark, New    Jersey
                         il
                                          tt
                                                                                                                                          I

                         jj                       Defendant, ECC, r.vas a Council organizccl, operated and/or sponsorcd by.        or     j



                            ",n"r*,r.
                                                alfiliated with, Delenclant, IISA. of which Alton was an agent,              scrvanr.
                         fj                                                                                                               I


                         ll
                               *.o,,rmasrer, leacler, volunteer and/or     employce.                                                      I




                         llilt            t-      De fbndanr,   N0RTI{rRN Nrw JrRSIY COUNCTL Or THE BOy                     SCOUTS        I




                         ll
                               Ott   nVf nlCA                                                                   ot'
                                                    (hereinafter "NNJC"), is an entity organired under the laws of the Stare
                                                                                                                                          I



                         li N.* Jersey with irs principie place of buEiness at 25 Ramapo Valley Road, Oakland. Nerv
                         ll"-'-.-'--r--'--r'1
                               .r.'*.v.
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                         il

                         li                       Defendant, NliJC, was fomred.lanuary     l,   1999 as a result of the   consolidatio"
                                          't                                                                                              I



                                     ,n* DCC with other County Corurcils ancl is a Council organizecl, operared               arrd/or
                         ilt
                         ll
                               ",
                               snonsorcd by.       or otherwise al.filiated with, Delbndant, BSA, of which Alton was               an
                                                                                                                                          I




                         il                                                                                                               I


                         ll agcnt, servatlt, scoiltmaster, leader, volunteer anrllor     ernployee.                                       i


                         lt
                         ll               20.     Defendant, NNJC, is a successor Council af Oefendant,      ECC.
                         ilt              tt.     Del'endants,   XYZ ENTITIES 1-50 (fictitious designations), whose          identities
                                                                                                                                          i




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                         ll
                               ur. pr.*r,rtly unknown, ars Councils, Units, Troops ancllor other entities afliliated with        the      i

                         il
                               USA, who are currently aclive and/or were previously      activc.
                         ill
                         ll                                                                                                               I
S.I'ARK   & S]'AITK
 Al iuRNttls   nl LA\l
                                          ,r.     Defpndants,    XYZ FNTlTlliS 51-75 (fictitious designations). whose idcntities
                         ll                                                                                                               I



                            u,= Or"r.'ttly unknown. are intended to icientily as Defundants entities, corporations,                or
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                    ll organizatiolls          ro the extent that Defendant, IJSA, was a different entity, corporation,          or

                    il
                              orCanization wltich existed at any relevant time,
                    ll
                    ll               ,:.        Defendants, XYZ ENTITIES 76-100 (fictitious designations), whose identities
                    il


                    ll
                              ur* pr*rrnaly unknowrl, are intended to identify as Defsndants entities, coryoratiolls,            or
                    il

                    ll organirations           to rhe exlent thal Defendant, IISA, is a        successor   to c difTerent entity,
                    il

                                                                  at any relevant time.
                    ll corporution, or organization which existed
                    lt

                    ll                  Zq.     Defendants, JOFIN DOES 1-100 (fictitious designations), whose identities are
                    il
                                                                                                             behalf of the
                    ll        nr"."ntlV unknown, were employed and/or retained in various positions by or on
                    il

                    ll        perunaunts, BSA, ECC, NNJC, TRooP #64, and/or XYZ ENTiTIES l-100 (fictitious
                    il


                    ll d*signations).
                                               At all such tines, Defenclants, JOIIN DOES 1-100 (fistitious          designations),
                    il

                    ll
                              **r.   responsible     for the retention, training, supervision, oversight, monitoring           and
                     il

                     ll                 on behalf of the Defendant, BSA, of Alton, .At all times relevant, Defendants,
                     il
                              "ontrol
                     ll       lOffNt DOES 1-100 (fictitious designations), acted in the course and scope of their
                     il


                     ll       **pfoy*ent or authority       as agents, servanlso scoutmasters, representatives, volunteers,
                     lt

                                and/or employees             of Defendants, BSA, ECC,        NN.TC, TITOOP #64. and/ot XYZ
                     ll tuuAet.
                     il


                     ll       enrtrtos     l-100 (Jictitious designations)'
                     il

                     ll
                     il
                                        ZS.     Defendants, JOHN DOES         i0l-200 (fictitious designations),   whose identities


                     ll       ur. Or***ntly unknown, were      employecl, volunleered andlor retained in various posirions on
                     il

                                     of Detendants, BSA. ECC, NI{JC, TROOP #64, andlor                   XY7-' ENTITIES l-100
                     ll fr.nuff

                     ll       in",iriou, designations), during relevant times. During such tinres, Defendants, JOHN
                         il

                         ll   pOES l0l-200 (fictitious designation.s), became aware, or should have known, of Alton's
S'IARK & S'TARK
 AITORNEYS A? LAW        il

                         ll   uU.,." of young scouts.        At all tirres relevant,      Det'endants,   JOI{N DOES        101-200
                         I
                         I
                              (fictitious designations], acted in the course and scope of their enrployment cx authority         as
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                         ll or,n.r*r.rorr,    u. ,
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                       agent$, servants, scoutmasters, representatives, volunteers, leaders andlor ernployees                   of
                      Defendant, BSA.

                               26,              While an agent, servant, scout master, representative, volunteer, or scout

                       leader for Defendants, BSA, ECC, NNJC. TROOP #64, XYZ EN1ITTES l-100 (fictitiou"s

                      designations), and/or JOI{N DOES 1-200 (fictitious designations),                Alton sexually       aSused

                      and assaulted young male scouts.

                               21. Plaintiff,!                  is an adult individual who resides in the County of Essex and

                      State 0f New Jersey.

                               28. I                i.   used as a pseudonym for PJaintilTto preserve privacy in a matterof a

                      sensitive and highly personal nature because identification                 of PlaintifT poses a risk of
                      mental harm, harassment, ridicule, and/or personal embarrassment, and because the case

                      involves infornration of the utmost intimacy.

                               29. I'laintiff,I **                  a scout of Defendants, BsA,   Ecc, NNJC, and rroop #64
                      between the years           of   1976 and 1979.


                               30.          While a child under the care and supervision of Det'endants, BSA, ECC,

                      TROOP #64, XYZ ENTITIES l-100 {fietitious designations), and/or JOI{N DOES l-200

                      (fictitious designations), Plaintiff,         lwas       sexually and otherwise abused and assaulted

                      by Alton.

                                                                N{ruRE or THE d,.cTr(}.N
                               31.          From 19?6 through l9?9, Plaintifr, I               was a cub and/or boy scout of

                      I)efendants, BSA, ECC, NNJC. TROOP #64,XYZEN'I'ITIES l-100 (fictitious designations),
STARK & STARK
 AfrORN!Y.5 A] LAV/

                      and/or   Jol{N DOES              1-?00 (fictitious designations), and was under the age   of   I 8.




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                                 3?.         Altorr groomed Plaintifl         I         UV rnaking    him t'eel included, trusted,       and

                        ertherwise special.

                                 33.         Alton's groonring       ol Plaintifl f        c<lnstitutsd ernotional nnd psychological

                        abuse which rendered            Plaintill,f     rrore susceptible and likely ts tallprey      10 sexual abuse.


                                  34.        Alton began to pley upon and abuse          Plaintitr,!
                                 35.         Alton coerced Plaintiif,I to engage in sexual acts with Alton.

                                  36.        Alton cr:erced Plaintilil   I,       to engage in sexual aels with o*er young boys in

                        Alton's presence.

                                 37.         Altcn committed acts of sexual, physical,psychological, and cmotional                  abuse

                        against   Plaintill        !       while serving as an agent, servant, scout master, reprcscnlalive,

                        volunteer, scout leader and/or employee of'Defendants" BSA, E(;C, NNJC:, 1'R()OP #64,

                        XYZ ENI'ITIES l-100 (lictitious dcsignations), andlor JO,:IN DOIlS l-200                                (lictitious

                        dcsignations).

                                 38.         Alton coerccd Plaintiff.     I       ,o keep the abuse a $ecrel through rnanipulating

                        Plaintiff,f          and otherwise engaging in contirrued emotisnal and psychological abuse.

                                 39.         Alton     al.so threatened anclior otherwise placed    Plaintill,   I   undcr dursss to keep

                        the abuse a secret.

                                  40,        Alton's sexual abuse had devastating and severe adverse eflbcts on Plaintiff,

                        I         mental statc

                                  41.        t-Jpon infnnnation and      bcliel Alton     engagcd   in sexual, physical,   psychological,

                        arrd emotional abuse           of numercus olher young tnale        scouts f)elbndanls, BSA, ECC, NNJU,
s]'At{K & STAIG
 N'T'ORXAYS AT   LA\I   TROOP       1:.64,       XYZ l:N'Il'llIjS l-100 {fictitious designalions). andlor JOI'IN DOES l-20t)
                        ({ictitious desigrratians).




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                              42,         Defendants, BSA, ECC, NNJC, TROOP #64,XYZ ENTITIES 1-100 (fictitious

                     designations), and/or JOHN DOES 1-200 (fictitious designations), knew or should have knswn

                     of the potential or likelihood of abuse of its young male scouts, including Plaintiff, I             lry

                     Alton or others, before Plaintiff,   !    was sexually abused by Alton

                              43.         Upon information and beliefl, Alton demonstrated unusual conduct and behavior

                     with regard to young male scouts while serving as an agent, servant, scout rnaster,

                     representative, volunteer, scout leader and/or employee of Defendants, BSA, ECC, NNJC,

                     TROOP #64, XYZ ENTIIIES 1-100 ({lctitious designations), and/or JO[{N DOI:S 1"200

                     (fi ctitious designations).

                              44,         Defendants, BSA, ECC, NNJC, TROOP #64,XYZ ENTITIES 1-100 (fietitious

                     designations), andior JOHN DOES 1-200 (fictitious designations), knew or should have known

                     of the abuse of its young male scouts, including    Plaintiff,I     t V Alton or others.

                              43.         LJpon infomration and bclief, while   Alton served as an agent, servant,      sc$ut

                     masler, representa{ive, volunleer, $cout leader and/or employee of Defendants, BSA, ECC,

                     NNJC, TROOP #64,XyZ ENTITIES 1-100 (fictitious designations), and/orJOHN DOES                         1-


                     200 (ficritious designations), Defendants, tsSA, gCC, NNJC, 'I'ROOP #64, XYZ EN l'I'llES

                     1-100 (fictitious designations), and/or JOHN DOES 1-20A (fictilious designations), did not take

                     any actions regarding Alton's behavior or otherwise prot€ct the young male scouts, including

                     Plaintiff,!          nom Alton.

                              46,         Alton was charged in 1979 by the Essex County Prosecutor with three counts of

                     Private Lewdness and three counts of Impairing Morals of a Minor         lbr incidents involving   three
STARK & STARK
 AnonxEYs at'l,As    twelve (12) year old male chiidren"




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                                                                             c()uNT oNr"

                                    47.         Plaintiff repeat$, reiterates and re-allcges each and svery allegation scl fbrth

                          previously with the same fnrce autl effcct as              if more fully set forth herein atlength.

                                   48.          Defendants, BSA, ECC. NNJC,"['ROOP t464,XYZ ENI'ITIES 1-100 (lictitious

                          rlesignations), andlor JOHN DO[:S 1-200 {fictitious designatiorts)" had a duty to use due care to

                          eltsure the safety, hcalth, and wcll-bcing               of their scouts, incluriing Ptaintifli, !                    and ru

                          yefrain frorn acting ncgligcntly, arrd/or in wtnton arrd willful disrcgard                              of the rights af

                          Plaintilt   I              in the teaching, supervision, and/ar caring lbr the shildren                 il    tlreir carc atrd

                          also to rcfrain I'ronr sexual atd other abuse occurrirtg to the children irr their carc and to

                          refiain from allowing others to sexually             or' CIiherrvise abusc the          children in their care.

                                    49.         Dcibndants, BSA, nCC, hlNJc,'|ROOP llS4,XYZ ENl"ll"lES 1-100 (fictitiotts

                          dcsignatio:rs), and/orJOHN DOES l-?{}0 (fistitious dcsignations), had a further duty to protcct

                          thc ehiffirerl entrustsd to their care from feireseeable dalgers, and/or harm whether those

                          dang*rs arose from the carcless, ncgligent, recklcss, andlor intelti<lnal acts of Alton or the

                          carelc$s, negligent. reckless, andleir intentional               ae   ts ol'others.

                                    50.         Del'cndants. BSA, trCC, NNJC,'I'ROOP 1164,XYZ                         I]N'flTi[S       1-100 (fictitious


                          clesignarions), and/or            JOHN DOES 1-200 (fictitious dcsignations), had a further dutl lo

                          opcratc their scor.rt ffoops in a reasonably safe antJ careful tnantlcr, tvilhout negligence,

                          carelesstresn, anel/or rccklsssness'

                                    51.         Defenclants. BSA, ECC, NN.IC,"fROOp g.64,XYZ                          fiN"flllIjS      1-100 (fictitious


STARK & S'I'ARK
                          llesignations), ancJlnr JOI"IN DOES l-200 (fictitious dcsignaiionr), breached their duty lo
 A]lOFNtY$   AT   !.A\I

                           Plaintitf,I               t y negligenrly" ancllor in rvanton and       u'illlirl   clisregnrcl of the rights of Plaintifl.


                          J       ,cx,o,lly abusing thc          Plaintiff,I    Uy   allowing and/or pcrnritting I'laintiff,               !      ro be



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                           4839"8948.9072, v.
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                    sexually abused; bV failirU kr acl te pwent sexually abuse and protect                   PlaintifiI fo*      rexual

                    abuse;    by concoaling andlor otherwise failing to disclose the sexual abuse cornmitted by

                    A'lto4 anrl/or by otherwise failing to take reasonable precautions for the safety, heslth, and

                    well-being of Plai*iff.           !
                              52.        Defendants, BSA, nCC, NNJC, TROOP #64,XYZ ENTITIES l-100 (fietirious

                    designations), andlor JOI{N I}OES l-200 {fictitious designations}, kRew                          or should    have

                    known that by negligently, andlor in wanton and willful disregard of the rights of PlaintifT,

                    J       sexually ahrse ofthe          Plainti{dl      by allnwing and/or permitting lrlaintil'|,      |       rc t e

                    sexually abused;         try   kilingtoadlCIprtvent sexual abuse and protct      Plniod{l,I    fioro sexual abuse;

                    and/s by eoncealing and/cr otherwise lailing to disclose the sexual abuse committecl by

                    Akon; and by olherwise lbiling to take reasonable precautions for the safbty, health, and

                    well-being of Plaintif[           !      ttrat Plainriff,   lwould          be causcd injuries, harm, suffering,

                    and other losses.

                              53.        I)efendants, BSA, ECC, NNJC, TROOI) #64" XYZ fiNTIl'lHS l-100 {fictirious

                    designations). and/or JOf{N DOES 1-200                 {fi*itious designations), furrher breached rheir        clury

                    to lllaintiff,   I         ly negligently ,     andlor in wanton and         willlut   clisregard of the righrs   of
                    Plaintiff,   I         faitin& to protect t'laintifi,   I         frorl   foreseeable clangers and harm and by

                    negligently. andlor in wanton and willful disregard of the rights of Plaintiff,                   !       operating

                    their scout troops by lailing lo properly instruct a*dlor supervise andlor care lor their students

                    andlor failirg to warn their students and protect their students fi'om lbreseeable dangers.

                              54.        As a proximnte cause and reasonably foreoeeable resu.lt ol'ths aforesaid
sl'AttK & S1'ARK
 ATfORNEYS ATLAW
                    conduct; actions; failure 10 act; sexual abuse; sexu*l assault; assault and/or battery; and/cr

                    otlter active and passive actions by Dcfendants, SSA, ECC. NNJC, TI{OOP t164, XYZ




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                          ll        U*r,ttgt l-t00 {{ictitious designation*). and/or JOI'IN DODS 1-200 (ficritious
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                          ll Oesignations);                 various actions and I'nilures      to act by   Defendants, IJSA, ECC, NNJC,
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                                        lnoOn       t164,   xyr- ENTITIHS 1,t00 (fictitious         designations), and/or JOI'IN DOES l-200
                          ll
                          ll        f   n.ririou, designatisns), to warn anrl/or pr$tect an#or care lbr andlor supervise its scouts
                          il

                          ll        ond ,.our leaders; and/or various actions and failures to act of Dclbndants, BSA'                       fCC'
                          lt

                          ll        Nntc, lttoot,              #64,    xyz gNTlrtns    l-100 (lietitious design*tions), andlor Jol"IN   Dors t-
                          il


                          ll Zno             tn.ritious clesigrrations), by cr:ncealing and/or otherwise failing to tlisclose the sexual
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                                    at ute cornmirtccl by             Alton; ancl/or various other actions and failures to act by Def'endants,
                          ll
                          1t



                                    nsn. ECC, NNJC. Tltoot) #64. xYz tlNllTlas l-100 {tietitious designations), and/or
                           ll

                           illl
                           II
                                    ,O"*         DOES l-200 (fictitious designations), by r:therwise failing tei take reasonable
                           il


                           ll       pr".uu,io,l. lbr the safety, health, arrd well-being of I'laintif'f,                I      t'luintift   !
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                           ll sustuinc.t sevcrc antl permanent                    physical and psychological injuries' emotional distress,
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                           ll sufferea and                u,illcontinue to sufler great pain and tonnent and suffcring,has been altd
                           il
                                    *itt      be causecl to spend great and diverse sumsof money for tnedical aid and treatmenl'
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                                    onA f.t". been and           rvill be prevented from attenc{ing to his usual occupatiorl, activities,
                           ll

                               l] nnO         truriness, and has bcen caused and              will be eaused other cxtettsive ltarms and
                               il
                               ll losses.
                               il
                                                                                  !                 judgmenl against Del'endants, BSA, ECC,
                           ll                    WHEREi"OIII, I]laintiff,                demanels
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                               ll rvNLc.         Tttoot,       t164,   xYz ENTITITS     1-100 {fictitious designations), andior.IOHN DOES        l-
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sTAI{K & STARK                          ZOO   Cn.ttious designations), .ir:intly and severally fbr cornpensatory claruages"
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                     ill ll nrevioustv                                                                                     ser forrh hsrein                       I




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                          tu.                   f)efendanrs, BsA, FCC, NNJC, "|ROOP ,&64,                 xyzENTlTIEs I -t00 (ticririous
                     llr                                                                                                                                          I




                              designations), andlor JOI-IN DOES l-200 (fictitious designations), breached thcir rluty                            ro
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                                                   uy acting in   a   grossly ncgligent manner through lhiling ro exhibir slighr            care
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                              act to   pevert sexual abuse      and prctect   Plainti$,I m*       sexual abuse; by concealing and/or
                    iltotherwise failing to disclose the sexual abuse conrmiltcd                                                                          i



                                                                                                       by Alton; and/or and b1, otherwise
                    lf                                                                                                                                    I

                              *tt,"u to take reasonable       precautions lbr the sal'ety, health, anrl well-beirrg of plaintiff,
                    lf
                                                                                                                                        !                 j



                    ll                  ,t.    Defendants. BSA, ECC, NNJC,'rRoop                 *64,xyzuN:lrtns             l-100 (ficritious            I



                                                          .lullN DOES                     designations), knew or
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                    ll a*rigno,ions), and/or              .io['lN I)UHS 1-200
                                                                        I-ZUU (ltctttious
                                                                              (fictitious rlesignariorrs),    or should have
                    llknown                                                                                                                               I




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                                        that hy acting in a grossly negligent manner rhrough lhiling to exhibit slight care                   or      I



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                              Aitigro.* and in an extreme depar"ture from what was reasonably required under the
                    ittcircuntstanccs and by acting with indifference tei Plainriff,                                                                  I




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                    ll        .*.rrir*    everl scant care or by exhibiting thoughtless disreg:rrd ol'the cclnsequences that                may
                    ll--a'---"'l                                                                                                                      I




                    ll rof fo* horn thcir acts or omissions, and/or hy recklessly                  acring or failing to acr, and/or       with
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                      malice and/or wanton and willful disregard of the rights of Plaintif{                       I       Uv sexually abusing

                      the   Plainti{f,I;           by   allowing and/or permitting plaintiff,         I       ,o be sexually abused; !y eiling

                      to ar* to   pevart sexual abuse           and prolect Plaintrfi   !fr     uo sexual abuse;        by concealing and/or

                      otherwise failing to disclose the sexual abuse committed by Alton; and/or by otherwise

                      fhiling to take reasonable precautions for the saf'ery, health, and well-being of                        Plaintiff,I
                      that Plaintifl        I,      would be caused injuries, harm,           suf   fering, and other losses.

                                  58.       Defendants, BSA, ECC, NNJC, TROOP l+64,XYZ ENTITIES 1-100 (fictitious

                      dcsignations), and/or JOt-lN DOES l-200 (fictitious designations), further breached their duty

                      to Plainrift      I          fV acting in a grossly negligent manner through tailing to exhibit slight

                      care or diligence and in an extreme departure frotn what was reasonably required under the

                      circumstances and by acting with indiffbrence to Plaintiff,                         !        and others, by failing to

                      exercise even scanl care or by exhibitilrg thoughtless disregard of the consequences that may

                      fbllow from their acts or onissions, and/or by recklessly acting or failing to act, and/or with

                      malice and/or wanton and willful disregard of the rights of Plaintiif,                       I      in failing to protect

                      Irlaintiff,   !            nom fbreseeable dangers and hann, in operating *eir scoul troops,                   in   {biling

                      to instruct and/or supervise and/or care for their scous and scout                       leadem   and/or failing to warn

                      them and protect them from foreseeable dangers.

                                  59.       As a proxirnate cause and reasonably foreseeable result ol the aforesaid

                      conduct; actions; failure to act; sexual abuse; sexual assault; assault and/or battery; and/or

                      other active and passive actions by Defendants, BSA, ECC, NNJC, TROOP #64, XYZ

                      ENTITIES l-100 (fictitious designations), andlar JOFIN DOES 1-200 (fictitious
SI'ARK & S'rARK
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                      designations); r,arious actions and tailures                      to act by     Defendants, BSA, ECC, NNJC,

                      TROOP         #64,XyZ ENTITIES                1-1.00   (fictiiious designalions), and/or JOI-{N DOES l-200



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                      (fictitigus designations), to warn andlor protect and/or care for and/or, supervise its scouts

                      and scout leadersl and/or various actions and failures to act of Defendants, IISA, ECC,

                      NNJC, TROOP #64, XYZ ENTITIES l- 100 {fictitious designations}, and/or JOHN DOES l -

                      200 (fictitious designations); by concealing and/or otherwise failing to disclose the sexual,

                      physic*|, and/or emotional abuse committed by Alton; and various other actions and

                      failures to act by Defendants, BSA, ECC, NNJC, TRoOp #64, xYZ 'ENTITIES l-100

                      (fictitious designations), and/or JOHN DOES 1-200 (fictitious designarions), by orherwise

                      failing to take reasonable precautions for the safbty, health, and well-being of Plaintiff,

                      I        Plaintiff,      !     suslained severe and permanent physical and psychological

                      injuries, emolional distress, emotional rauma, diminished childhood, disabiliry, loss of

                      Iilb's enjoymenls. has suffered and will contirlue to suffer great pain and torment and

                      suffering, has been and          will   be caused to spend great and diverse sums    of money for
                      medical aid and treatment, and has been and               will be prevented from artending to hi.s
                      usual occupation, activities, and business, and has been caused and                will be caused
                      other extensive harms and losses,

                                WHEI{EFORE,         Plaintiff,I      demancls judgment against Defendants,   BSA, ECC,

                      NNJC, TROOP #'64,XY7. ENTITIES l-100 (fictitious designations), and/or JOHN DOES                 1-

                      200 (fictitious clesignations), jointly and severally for compensatory darnages. punitive

                      damages, interest, costs of suit and attorneyrs fees.

                                                                   COUI{T T}IITEE

STARK & STARK                   60.        PlaintifT repeats, reiterates and re-alleges each and every allegation set forth
 ATTORNEYS   ATLAT

                      previously and in Count One and Count Two with the same force and efTect as if more fully

                      set   forth herein at length.



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                                   61.         Ihe conduct      set lirrrh in the   within Cr:urplaint was extrerrre and/or outrageous

                          and/or intentionally intended to producc emeitionnl distress and/or recklessly in dslibcratc

                          disregard of a high degree of prcbabilily thal cmotional distress wouldfollow.

                                   62.         Ar a proximate     s&use and rea$onably loresecable result          of the afbrcs*id sexunl

                          abuse and Defendants,             BSA, IiCC, NNJC, 'I'ROOP t164, XYZ ENI-I]'IES l-100 (fictitioits

                          designations), and/or JOI'{N DOES               ,2A0 (fictitious         designations), knowingly perrnitting

                          and/or acquiescing in the samc conducl by otherso l'laintilll                      !     sustained sevcrc and

                          perirt[nent psychological injuries, enlotiorral distrcs$, cmotional trauma, dimirrished

                          childhood, disability, loss of life'* enjoyments, has suffered and will continue to suffer

                          grctrt pain and torment and sul{bring, has bccn and wlll be caused to spend great attd

                          diverse sums             of moncy for medical aid and                {rcatmcnt, and has been ancl      will   bc

                          prevented from atrending ro his usral occupaiiotr, activities ancl business, and has been

                          causcd and     will       he caused other extensive harlns ancl losses.

                                   WIIHRHFOI{E, Plaintifi             I      demand.s
                                                                                             "iudgnrent
                                                                                                          against Dcfbndants, BSA,   fC{:,

                          NNJC, TI{OOP t164, XY7, EN'|ITIES                 I - I 00   (fictitious designations), andlor JOI-iN DOIIS I -

                          200 (fietitious designations), jointly and severally 1'or compensatory damages, punitive

                          damages, interest, costs of suit and attorney's{i:cs.

                                                                          covNT f:ouB
                                   (r3,        lrlaintilf   repeats" reiterares ar:<t re-alleges each and every allegaticn sel fortl'l

                          pr.cviously ancl in Clounts One" 'I'wo, and "l'hree witlr the satttc fbrce and effeet as if more

                          f'ully set lbrth herein at length.
S'I'AI{,K & S1'AIIK
 Atfofi.NrY-q Ar   l^v
                                   64. Ar all relevant tir.rres herein Def'euel$trts, BSA, I]CC, NNJC" TROOP #64,
                          XV7.    tiNl'lTlfs          1-100 {tictitious designatior:s), anel/or JOIIN             nOfS I-200 (fictitious


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                      designations), and their agents, and/or servants and/or cmployecs, had a duty            to hire, and/or

                      retain agents, employees, servants, volunteers, scout leaders, scout masters, and/or

                      administr:ators who were fit and competertt to do their jobs as well as not dangerous and

                      not otherwise a threat to the scouts Defendants, BSA, ECC, NNJC, 'IROOP                        1464,   XYZ

                      ENTITIES l-100 {fictitious designations), anrJlorJOHN I}OES 1.'200 (fictitious designations),

                      were obligated to educateo care, and protect..

                               65, At all relevant times herein, Defendants, BSA, ECC, NNJC, TROOp                           #fi4,

                      XYZ ENTITIES l-100 (fictitious               desigrtations), and/or JOHN DOES           l-200 (fictitir:us
                      designations), and           their agents, and/or servants andlor employees, had a further duty

                      properly lrain and/or to supervise its agents, employees, s€rvants, volunteers, scout leaders,

                      scout rnasters, and/or administrators.

                               66. At all relevant times herein, Defendants, IISA, ECC, NNJC, TROOP #64,
                      XyZ     ENTITIES 1-100 (lictitious designations), and/or JOHN DOES l-200 (fictitious

                      designations), and their agents, and/or servants and/or employees, breached their duties to

                      Plaintiff,   I          and negligently, and/or   in wanton and willful   clisregarcl   of the rights of
                      Plaintiff,   I           hired, retained, and/or permitted     to   voluteer dangerouso unfit, and

                      incompetent agents, employees, servants, vclunteers, scout leaders, scout masters, antVor

                      administrators insluding, but nct limited to, Alton,

                              67, At all relevant times herein, Defeudants, BSA, ECC. NNJC,                      TROOP #64,

                      XYZ ENTITIES l-100 (fictitious               designations), and/or JOHN DOES 1-200 (fictitious

                      designations), and their agents, and/or servants and/or employees, further breached their
STARK & S]'ARK
 AITOIIXEY! A'TLAU    duties to Plaintiff      I      and negligently, and/or in wanton and willful disregard of the rights

                      of Plaintif}, !              faited to properly train and/or supervise their employees,         ssrvants,




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                       volunteers, scout leaders, soout mastersn andlor administrators including, but not limited to,

                       Alton,

                                68.        Del'endants,   BSA, ECC,NNJC, TROOP #64,XYZENTII'IES l-100 (fictitious

                       designations), and/or JOF{N DOES l-200 (flctitious designations), and their agents, and/or

                       servants and/or ernployees, knew or should have known of the dangerousness, incornpetence.

                       and/or unfitness of Alton, and knew or should have known that by hiring and/or retaining

                       dangerous,     unfit, and/or incompstent seryants, volunteers, scout leaders, scout masters,

                       and/or administrators andlor other employees and/sr by failing to properly                         tain   and/or

                       supervise them, that harrn woultl befall the          Plaintilf,,f
                                69,        Defendants, BSA, ECC, NNJC, TROOP #64,XYZ ENTITIES l-100 (fictitious

                       designations), and/or JOHN DOES l-200 (fictitious designations), and their agents, and/or

                       servants andlor employees, knew                or     should have known              of the dangerousness,
                       incompetence, and/or unfitness of Altoq yet concealed that fact from Plaintif{;                I         Ptaintitf,


                       Iharcnts,           and persons suclr as Plaintiff,   !
                            7A.            Defbndants, BSA, ECC, NNJC, TROOP #64,XYZ ENTITIES 1-100 (fictitious

                       designations), andior JOHN DOES l-2O0 (fictitious designations), and their agents, and/or

                       servants anVor employees, hacl             a duty to           warn PlaintifT,   I      of   the   datrgetuusness,


                       incompetenceand/or unfitness and/or lack of trainingand/or supervision                  ofAltot    but failed ts

                       do so.

                                71.        As a proximate cause and reasonably foreseeable result of the aforesaid negligent,

                       and/or wanton and willful disregard of the rights of PlaintifL             J         nefendants, BSA, ECC,
STARK & S]'ARK
 AT!O[!]e\'S AT LAlt   NNJC, TROOP #64,XYZ ENTITIES 1-100 (fictitious designations). and/or JOHN DOES                                  l-
                       200 (fictitious designations), conduct in thp hiring and/or retention and/or training and/or




                                                                                 tt
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                        supervision      of their        employees, servants, volunteers, scout leaders, scout masters and/or

                        administrators and/or of their failure to warn of the same, and their lraudulent concealment              of
                        same, Plaintiff,            I        sustained severe and pennanent physical and psychological

                        injuries, emotional distress, emotional trauma, diminished childhood, disability, loss of

                        life's enjoyments; has suffered and will continue to suffer great pain and torment and

                        suffering, has been and               will   be caused to spend great and diverse sums      of money for
                        medical aid and trealment, and has been and                     will be prevented from attending to      his

                        usual occupation, activities, and businesso and has been caused and                  will be caused other
                        extensive harms and Josses.

                                 WHEREFORE, Plaintiff,                  I        demands juclgment against Defendants, IISA,

                        ECC, NNJC, TROOP l+64, XYZ ENTITIES i-100 (fictitious designations), and/or JOHN

                        DOES 1-200 {fictitious designations), and their agents, and/or servants ancl/or employees, for

                        compensatory damages, punitive damages, interest, costs of suit and attorney's fbes.




                                                                             souNT l'Ivn
                                 72.       Plaintiff repeats, reiterates and re-alleges each and every         alle gation set florth

                        previously and in Ccunts One, Two,"lhree, and Four with the same force and effect as                       if
                        more lully set f-orth herein at length.

                                 73.       At all relevant times herein, Defendants, BSA, ECC, NNJC, TROOP                      #64,

                        XYZ ENTII"IES 1-100 (fictitious                     designations), andlor JOFIN   ll0lls l-700 (fictitious
                        designations), and their agents, and/or servants and/or employees, breached                     its duty to
SI'ARK & S|ARK
 AT''OItNfiVS A?I.AW
                        Plaintifl,   I         i"       a grossly negligently manner through failing to exhibit slight care or

                        diligence and          in an extreme departure from whal was reas$nably               required under the



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                    gircumstances and by acting with indiffcrence to Plaintiff,
                                                                                         I      and others by failing to

                    exercise even scant care or by exhibiting thoughtless disregard of the consequences that may

                    follow from their acts or omissions, and/or by other eonduet demonstrating              recklessness!

                    and/or w.ith malice and/or wanton and willful tlisregard of the rights of Plaintiff,     !      hireO

                    andlor retained dangerous, unlit, and incompetent agents, ernployees, servants. volunteers,

                    scout leaders, scou{ masters, and/or administrators includirrg, but not limited to, Alton,

                             74. At all relevant times herein, Defendants, BSA, ECC, NNJC, TROOP #64,
                    XyZ     ENTITIES l-100 (fictitious designations), andlor JOI{N DOES l-Z0A (fictitious

                    designations), and their agents, and/or servants and/or employees, further breached their

                    duries to   Plaintiff,I         in a grossly negligently by through failing to exhibit slieht care or

                    diligence and            in an extreme   deparlure from what was reasonably required under the

                    circumstances and by acting with indifftrence to Plaintiff,          I      and others by ftiling to

                    exercise even scant care or by exhibiting thoughtless disregard of the consequences that may

                    follow from their acts or omissions, and/or by other conduct demonstrating              recklessness,

                    and/or with rnalice and/or wanton and willf'ul disregard of the rights of Plaintiff,     !     Aitta

                    to properly train andlor supervise their employees, servants, volunteers, scout leaders, scout

                    Inasters, and/or administrators including, but not limited to Alton.

                             75.         I]efendants, BSA, ECC, NNJC, TROOP #64,XYZ ENTITIES 1-100 (fictitious

                    designations), and/or JOHN DOES l-200             (fi*itious designations), and their agents, andlor

                    servants and/or ernployees, knew or should have known of the dangerousness, incompetence,

                    and/or un{itness of Alton and knew or should have known that by hiring and/or retaining
STARK & STARK
 A notrN[Ys Aauw    dangerous, unfit, an#or incompetent employees, servantso volunteers, ssout leaders, scout




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                      masters, and/or administrators and/or by failing to properly train and/or supervise them, that

                      harrn would befall the Plaintiff,        !
                                76.        l)efendants, BSA, ECC, NNJC, TROOP #64,XYZ ENTITIES l-100 (fictitious

                      designations), and/or JOHN DOES 1-200 (fictitious designations), and their agents, and/or

                      servants and/or employees, knew                      or   should have known         of the dangerousness,
                      incotnpetencen and/or unfitness              of   Alto& yet concealed that fact from Plaintiff,      I     and

                      perscns such as          Plaintifr   |
                               77,         Defbndants, BSA, ECC, NNJC, TROOP #64,XYZ ENTITIES t-100 {fictitious

                      designations), and/or JOHN DOES 1-200 (fictitious designations), ancl their agents, and/or

                      servanls and/or ernployees, had                   a dufy to warn Plaintiffl |          sf   the   dangnursness.

                      incompetence, andlor unfitness and/or lack                of training and/or supervision of Alton, but failed

                      to do so.

                               78.         As a proximate cause and reasonabiy foreseeable result of the aforesaid grossly

                      negligent and/or reckless conduct, with malice and/or wanton and willful disregard o1'the rights

                      of Plaintiff, !             nef*ndailts, BSA, ECC, NNJC, TROOP #64, XYZ ENI'ITIES                        1-100

                      (fictitious designarions), and/or JOHN DOES 'l-200 (fictitious designations), conduct in the

                      hiring and/or retention and/or training and/or supervision                   of their employees,     servants,

                      volunteers, scout leaders, scout masters, andior administrators including Al{on, and/or of their

                      failure to warn of the sarne, and their fraudulent concealment                   of $ame, Plaintiff, I
                      sustained severe and permanent physical and psychological injuries, emotional disfess,

                      emotional ffauma, diminished childhood, disability, loss                        of lifb's enioyments, has
S1IARK & $TARK
 AI-|O$EYS   itLAw    suffered and will continue to suffer great pain and torment snd suffering, has been and

                      will   be caused to spend great and diverse sums of money for rnedical aid and treatment,




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                       and has been and             will   be prevented fronr attending to his usual ocoupation, activities,

                       and business, and has been caused and              will be caused other extensive harms and losses.

                                WHEREFORE, Plaintitf,                I      demands judgment against Defendants, BSA,

                       ECC, NNJC, -IROOP #64, XYZ ENTITIES l-100 (fictitious designations), andlar JOLIN

                       DOES 1-200 (fictitious designations)n and their agents, and/or servants and/or employees. f'or

                       compensalory damages, punitive darnages, interest, costs of suit and attorney's I'ees.

                                                                         COUNT S X

                                79.         Plaintiff repeats, reiterates and re-alleges ench and every allegation set forth

                       previously and in Counts One, Two, Three, Four, and Five with the same lorce and eff'ect as             if
                       more fully set tbr:th herein at length.

                                80,         At ail relevant times herein, Defendants, IISA, ECC, NNJC, TROOP #64,XYZ

                       ENTITIES l-100 (fictitious designations), andior JOHN DOES 1-200 (fictitious designations),

                       and their agents, andlar servants and/or employees, breached its duty to Plaintiff,            I     and


                       intentionally, and/or with malice and/clr in wanton and willful disregard r:f the rights of Plaintiff,

                       I      hircd and/or retained dangerouso unfit and incompetent agents, ernployees, servanls,

                       volunteers, scout leadefs, scout masters, and/or administrators including, but not limited to,

                       Defendant, ALI-ON.

                                81,         At all relevant limes herein, Defendants, BSA, ECC, NNJC, I^ROOP #64,XYZ

                       ENTITIES l-100 (fictilious designations), and/or JOHN DOES 1-200 (fictitious designations),

                       and their agents, and/or servanls and/or employees. further breached their duties to Plaintiff      I
                       and intentionally, and/or with malice andlor in wanton and             willful disregard o1'the rights of
STARK & STARK
 ATtt)rilavt At LAs
                       Piaintiff,   !           faitea to properly train and/or supervise their employees, servants, r'olunteem,

                       scout ieaders, scout masters. and/or administrators including, but not limited to, Alton.




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                                  82.              Defendants, BSA, ECC, NNJC, TRoop #64,xyzENTITlES 1-100 (fictitious

                         designations), and/or JOHN DOES l -200 (fictitious designations), and their agents, and/sr

                         servants and/or employees, knew                or should have known of the dangerousness, incompetence,

                         and/or unfltness            of Alton, and knew or     should have known that by hiring and/or retaining

                         dangerous,       unfit, and/or irtcompetent employees, s€rvants, volunteers, scout leaders, scout

                         masters, and/or administrators and/or by failing to properly train and/or supervise them, that

                         harm would belhll the Plaintiff,          !
                                  83,              Defcndants, BSA, ECC, NNJC, TROOP tt64,XYZ ENTIT'IES l-100 (fictirious

                         designatiorrs), and/or .IOHN             DOES l-200 (fictitious designarions), and their agenrs, and/or

                         servants and/or employees* knew                or should have known of the dangerousness, incompetense,

                         and/or unfitness            of   Alton, yet concealed that fact from Plaintiff,    !        and persons such   as

                         Plaintiff,I
                                  84'          Del'endants, BSA, ECC, NNJC,'IROOP            #64,NYZ IINIT'IIES l-100 {fictitious

                         designaticns), and/or JOHN DOES 1-200 (fictitious designations), and their agents, anrl/or

                         servants and/or employees, had                  a duty 10 warn    Plaintiff,   !       of the dangerousness,
                         incompetence, andlor unfifness andlor lack of training and/or supervision of Alton, but failed to

                         do so.

                                  85, As a proximate                   cause and reasonably foreseeable result         oi' rhe aforesaid
                         intentional, and/or rnalicious and /or wanton and willful disregard of the rights of Plaintiff,
                                                                                                                                   I
                        Defendants, BSA, ECC, NNJC, TROOP H.64,XYZ ENTITIES 1-100 {fictitious designationsi.

                        and/or JOHN DOES 1-200 (fictitious designations), conduct                       in the hiring and/or relention
sr"AtrK &   $   fAt{K
 ArroRlJEysAl   Lt$     and/or training andlor supervision of their administrators and/or ernployees and/or of their failure

                        to warn of the same? and lheir fraudulent concealment of same, Plaintiff,
                                                                                                                 !      sustained severe




                                                                                  .,,.,


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                     and peffnanent physical and psychological injuries, emotional distress, emotional trauma,

                     diminished childhood, disability, loss of life's enjoym€nts, has suffered and            will   continue to

                     suffer great pain and torment and sufferingn has been and will be caused to spend greal and

                     diverse sums of money fur medical aid and treatment, and has been and         will   be prevented from

                     attending to his usual occupation, activities, and business, and has beerr caused and               will   be

                     caused other extensive harms and losses.

                              WHEREFORE, Plaintiff          I      demands judgment against Defendants,          BSA, ECC,

                     NNJC, TROOP #64,XYZ ENTII'IE$ l-100 (fictitious designations), and/or JOI{N DOES                           1-


                     200 (fictitious desigrrations), and their agents, and/or servants and/or employees. for

                     compensatory damages, punitive damages, interest, costs of suit and attorney's fees,

                                                                 couNT sEvElq

                              86,         Plaintiff repeats, reiterates and re-alleges each and every allegation set fonh

                     previously and in Counts One, Two, Three, Iiour, Five, and Six with the same force and

                     effect as iI'more fully set forth herein at length.

                              87, At all relevant times, Defendants, BSA, ECC, NN.IC, TttOOp l+64, XYZ
                     EN'IlllES l-100 {fictitious       designations), andior JOHN DOES l-200 (fictitious designations),

                     and their administratorso volunteers, scout leaders, and members                of various Troops,
                     including Alton, stood in ktco parentis within llre household as to Plaintiff,       !
                              88.         The conduct set forth in the rvithin Complaint constitutes violations of New

                     Jersey's Child Sexual Abuse Act, N.J.S.A. 24:6lB-1, some or all in rnalicious and/or wanton

                     and willful clisregarci of the rights of Plaintiff,      I     UV Defendants,   BSA, ECC, NNJC.
STARK & STARK
 AT?ORXEYS AT LAW    TROOP #64, XY7- EN'll'flES l-100 (fictitious designations), and/or .IOHN DOES l'200

                     (fictitious designations).




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                                89.      As a proximatc      c&use and reasonably foreseeable result             of the aforesaid
                    conduct and violations, Plaintift;            I       susrained rsvere and permanent physical anel

                    psyehol$gical injuries, entotiotrai dislress, emotional trauma, dirninished chilclhood,

                    disability, loss of life's enjoyricnts, hns sufliered and               will e ontinue to suffcr   grear pairr

                    and torment and suff"ering, has been and rvill be caused to .rpend great ancl diverse sun'rs

                    of ttloney lor medical aid and trcatment, and has been and will be preventecl lionr

                    attending to his usual occupation, activities, aucl business, and has been caused ancl

                    will   be eaused other extensive harms and losscs.

                                WHI:REFORE. Plaintiff         I        denranels judgment against llefendants.        3SA, n{:C,

                    NNJC, '|ROOP tl64.XYZ ENTITIES l-100 (lictitious design:rtions), and/ar JOHN DOHS                           1-


                    200 (fictitious designations), jointly and $cvcrglly, for all damages available pursuant to

                    N,J,$,A, 24:618-1 including actual darnages. conpen$Btory danrages, punitive damages,

                    interest, cosls olsuit and afcrney'sfees.

                                                                      cquNT nr$u,r
                             t0.         Plainrifl   f,ir   the wife of   Plaintitl.f
                             91.         Plaintill'repeais, reiterates and re-alleges each and every allegation set lbrth

                    in Clounts Oneo Twon Three. F'our, Five, Six,                 ancl $ieven   with the sanre ft:rce and eiTect as

                    if more fully set lnrth herein ai lengah.

                                92. As a prcximate cause and reasonably                     foresseable resull    of the a{-oresaid
                    conducr and violations by Defendants. BSA. f,:{:C. NNJC, TROOP #64,XYZ ENTIT{HS                                l-
                    100 (fictitious dcsignations), and/or JOHN            DOlt$ l-?00 {fictitious dcsignations), and/or their
SI'ARK & SI'ARK
         iT Ll\l
 ^rof,NEv!
                    conr{rtct   with mnlice     anc#or warltoR and      willful   ciisnr:gard, Plainti{1,   I   has been caused ancl




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                    4839-8948-0072, v.   1
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                       will    be caused to lose the services of dear husband and has been caused and             will   be causcd to

                       suffer loss of consartiunr.

                                 WI"IEREFORE, flaintiff,      I        demands Judgment      for   damages generally ugainst the

                        Defendanrs, BSA, ECC, NNJC, TROOI' #64, XYT.IiNTITIIIS l-100 (fictitious designntions), and/or

                       JO11N DOES l-200 {fictirious designations),       individually, .iointly, severally, or in the allernative,

                       logether with interest and costs    sl suit.

                                                                                 STARK &           AIl.K
                                                                                 A Pro              Corpcration
                                                                                  Attorneys         aintifft


                                                                                  By
                                                                                                           DONAHUE

                        Datcd: January 3,2020


                                                                      .luRY IlaMANl)

                                 Plaintill.s,I             hereby dernand a lrial by jury as to all issues.

                                                cEsrrrICArIqN oI ortlEn aq.rtQN$1rAF,uEq
                                 lrursuant to the provisions      of Rule 4:5'1, thc   undersigned a{torney certifies that tltis

                       matter is not the subject of any other action pending in any c0urt or arbitration proceeding, nnr is

                       any other ection or arbitration proceeding contemplated, and all known neces$ary paflies havc

                        bcen.ioincd in this action.

                                       CNRTIFICATION O}" COMPI,I ANCtr WITII RULI 1:38-?fe](l)

                                  Pursuant to Rule 1r38-7{b), all canfidential idcntificrs    oltltc pariics lo thisaction    have or


                        will   be rcdackd lrom all docunents or pleadings subrnitted to the cout1,
IiIARK & SI'AIIK
 ,trlolxt;Ys Af Ll*




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                                                      pasl cNATroN.pr TRrAL COUNS.p.L

                               Pursuarrl      to the provisions of Rule 4:25-4 the Court is, advited thal MICHAFI"   O

                      DONAI{UE, III, ESQ. is hcreby designated       as   trial caursel

                                                                               STARK & TARK
                                                                               A             Corporatior:
                                                                               Attorneys    Plaintiffs




                                                                                                  C, DONAHUg

                      Dated: January 3,202A




S   ARK & STARK
d'rro&NEY$ AT t-^w




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                          STARK & STARK, A Professional eorporation
                          Mailing Address: PO l}:x 5315, Princctono N.l 08543
                          Office Lacation: 993 l,enox l)rive, l,awrenceville, NJ 08648
                          {609) 896-e060
                          Michael G. Donahuc,ll                       ll!#: 04577-1994
                          Atto       for Plai

                                                                                     SUPERIOR COURT Or" NgW J!,RSIIY
                                                                                      I]SSF:X COLINI'Y LAW DIVISION
                                                                   Plaintiffs,
                                                                                                    Docket No.
                                                     vS
                                                                                                 CIVIL ACI'ION
                          BOY SCOUTS OI; AMI:RICA; lr$liL,X
                          COUN'TY COUNCIL OIT TI Iil $OY$;                             DEMANT' FOR NISCOVORY OT
                          SCOUTS OF AMERICA; NORTHIIIIN                                  INSI]RANCIT COVIiIIACI'
                          NEW JERS'iY COTJNCII" OT'I'HE I}OY
                          SCOU'|S Ol' Al\,{gRlCA; l}OY SCOUT
                          TROOP #64;XYZ ItN]]]]fS 1-100
                          (fictitious dcsignations); nnd JOI"IN DOF.S
                          I -200 (fictitious designalions),


                                                                           s




                          1"O      I]OY SCOUI'S OF AMHRICA
                                   I1SSEX COIJN-I'Y COI.INCII" OF TI.IL: I]OYS SCOUTS OII AMTRICA
                                   NORTHERN NHW JIITSHY L'OUNCIL OF 1'}{'] gOY SCOUTS OI? NMT'RICA
                                   BOY SCOUTTROOP #64


                          Pursuant to   [. 4:10-2(b) rlemand is hereby made that you disclose 10 lhe unelersigned whether
                          there are any insurance agresmenls or policies under which any person or !'irm carrying on an

                          insurance husiness rnay be liable to satisfy par.t or all of a.iudgrncnt which may bc entcred in this

                          aetion or tc indernnily nr reirnburse lor payrnents made 10 salisfy the jtrdgnrent,

                          YIIS{    }           NO(   )

                          If the answer i$ "yes" attach   a   copy of each or in the alternative stale, undel oath or certification
S'I   AI{K & S'IARK
  {r'roRHll\'s A. LAlt

                          (a) rTunrbcr (b) nar:te and address of insurer or issuer {c) inception of expiration dates (d) names

                          and adclresses o{'all persons insured lhereunder {e) personal ir:iury limits     {0 property damage




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                       limits (g) rnedical payment limits (h) name and address of person who has custody and

                       possession thereof     (i) whcre and when each policy or agreemsnl c*n   be inspected and copied.




                       Dated:
                                   ,    7         2A2A




sTAfiK & s"rARK
 ATTOqNEY$   AII.A\v




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                                                                                       CLERK OF SUPERIOR COURT
                                                                                       CLARKE COUNTY, GEORGIA
                                                                                         su19cv0378
              IN THE SUPERIOR COURT OF ATHENS.CLARKE COUNTY      LISA LOTT
                              STATE OF GEORGIA              JUN 10,2019 12:30 PM


ROBERT DOE, individually and on   )                                                                     Clerk
                                                                                                        Couniy, Georgia
behalf of the General Public of the
                                  )
State of Georgia,                 )
                                  )
            Plaintffi             )
                                  )                     Civil Action File No.
V                                 )
                                  )                     JURY TRIAL DEMANDED
BOY SCOUTS OF AMERICA, INC.;      )
NORTHEAST GEORGIA COLINC IL,      )
INC., GREEN ACRES BAPTIST CHURCH; )
BEECH HAVEN BAPTIST CHURCH;       )
FIRST BAPTIST CHURCH OF ATHENS; )
BETTY BOLAND, AS THE              )
ADMINISTRATOR OF THE ESTATE       )
OF ERNEST BOLAND, and R.          )
FLEMING WEAVER, JR.               )
                                                )
               Defendants                       )

                            PLAINTIFF'S VERIF'IED COMPLAINT

       Plaintiff ROBERT DOE, by and through his counsel of record, hereby brings this

Verified Complaint for negligence, public nuisance, injunctive relief, injuries, and damages

sustained as a result of childhood sexual abuse, and injuries sustained as a result of racketeering

activity against Defendants Boy Scouts of America, Inc,, Noftheast Georgia Council, Inc., Green

Acres Baptist Church, Beech Haven Baptist Church, First Baptist Church of Athens, the Estate

of Ernest Boland and Fleming Weaver.

                                        INTRODUCTION

 "Owr strongcst obligation is to keep Georgia citizens safe, especially our chilfi,en. This certainly
includes doing everything in our power to keep sexual predators away from our children. "

       - Governor Sonny Purdue's Message Signing H.B. 1059.




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       This case involves the pervasive and systematic cover-up by the Defendants to conceal

the identities of Boy Scout leaders accused of sexually abusing Boy Scouts. It has been the

public policy in the state of Georgia to affirmatively act to do something about child molestation

and make information publicly available since at least the 1950s. However, instead of making

information publicly available or reporting it to the appropriate authorities, Defendants kept

silent while actively soliciting new Scouts when they knew without doubt that many Scout

Leaders had been credibly accused of pedophilic/ephcbophilic tendencies.

        By doing this, Defendants knowingly put the youth communities of Athens-Clarke

County, the state of Georgia and others across the United States, at risk of sexual molestation.

As a direct result of this active cover-up to keep the names of sexual predators secret, Plaintiff

and countless other victims were molested by Scout Leader Ernest Boland. Additionally,

Plaintiff was also molested by Boland's mentee, Fleming Weaver, who also served as a

Scoutmaster. To make matters worse, many of these events occurred in public parks, public

schools, and other spaces available to the public, including, for example, Rainey Mountain. At

the time of   filing this Complaint, Defendants continue to actively engage in a conspiracy to cover

up the long-known history of abuse within the BSA in an effort to preserve reputations while

profiting by increasing membership.

                                             PARTIES

                                                   1.


       Plaintiff ROBERT DOE ("Robert Doe") is currently an adult male citizen and resident of

Pahrump, Nevada, and was, at all times relevant to this Complaint during his involvement with




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the Boy Scouts, a minor residing in the state of Georgia. Robert Doe submits himself to the

jurisdiction of this Court by filing this Complaint. The identity of Robert Doe is not pleaded in

this Complaint to protect Robert Doe's identified because he was a victim of sex crimes as a

minor. Robert Doe's identity will be disclosed to the Parties and the Court upon the entry of a

Protective Order.

                                               2.

          Boy Scouts of America, Inc. ("BSA" or the "Boy Scouts") is a congressionally chartered

organization with its principal place of business located in lrving, Texas. BSA routinely

transacts business and maintains a registered agent in Georgia. BSA may be served with the

Summons and a copy of this Complaint through its registered agent for service of process

Michele Eldridge, 1800 Circle 75 Pkwy SE, Atlanta, Cobb County, Georgia 30339. At all times

relevant to this complaint, BSA conducted business in Athens-Clarke County, and many of the

events giving rise to this Complaint occurued in Athens-Clarke County. BSA is responsible for

the actions of its volunteers, employees, agents and representatives acting on its behalf through

respondeat superior and/or agency.

                                               3.

          Northeast Georgia Council, Inc. ("NGC"), was and is a Georgia corporation with its

principal place of business in Jackson County, Georgia. NGC may be served with the Summons

and a copy of this Complaint through its registered agent for service of process, Trip Selman,

1   48 Boy Scout Trail, Pendergrass, Georgia 30657 . NGC is responsible for the actions of its

volunteers, employees, agents and representatives acting on its behalf through respondeat

superior andl or agency.




                                                     J
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                                             4

       Green Acres Baptist Church ("Green Acres") is a non-profit organization with its

principal place of business in Athens, Georgia located at2085 Bamett Shoals Road, Athens,

Georgia 30605. Green Acres Baptist Church is registered to conduct business in Georgia.

Defendant may be served through its registered agent Ray Argo at 1020 Longbranch Run,

Watkinsville, GA 30677 . Green Acres is responsible for the actions of its volunteers, employees,

agents and representatives acting on its behalfthrough respondeat superior andlor agency.

                                             5


       Beech Haven Baptist Church ('oBeech Haven") is a non-profit organization with its

principal place of business located at2390 West Broad Street, Athens, Georgia 30606. Beech

Haven Baptist Church is registered to conduct business in Georgia. Defendant may be served

through its registered agent Thomas H. Rogers, Jr. at440 College Ave. N., Athens, Georgia

30601. Beech Haven is responsible for the actions of its volunteerso employees, agents and

representatives acting on its behalfthrough respondeat superior and/or agency.

                                             6.


       The First Baptist Church of Athens ("First Baptist") is a non-profit otganization with its

principal place of business located at335 Pulaski Street, Athens, Georgia 30601. First Baptist is

registered to conduct business in Georgia. Defendant may be served through its registered agent

Dallas Cannady at335 Pulaski Street, Athens, GA 30601. First Baptist is responsible for the

actions of its volunteers, employeeso agents and representatives acting on its behalf through

respondeat superior andl or agency.




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                                                7.

           Betty Boland, as the Administrator of The Estate of Ernest Boland ("the Estate") is an

Estate that has been probated in Athens-Clarke County and          is aparty to this action based on the

tortious acts perfotmed by Ernest Boland in Athens-Clarke County and elsewhere. The Estate

may be served through Betty Boland, who is the Executrix of the Estate and the widow of Ernest

Boland. Betty Boland resides at 4325 Barnett Shoals Road, Athens, Georgia, 30605 and may be

served at the same.

                                                     8.

          R. Fleming Weaver, Jr. ("Weaver") is a resident of Hall County. R. Fleming Weaver, Jr.

may be served at 3801 Village View Drive, Apt. 1432, Gainesville, GA.

                                   JURISDICTION AND VENUE

                                                     9.

          Jurisdiction is proper because all Defendants are residents of Georgia or are subject to the

exercise of long-arm jurisdiction pursuant to O.C.G.A. $ 9-10-91. Defendants have transacted

substantial business in Georgia, created and continue to maintain a public nuisance in Georgia,

and committed tortious acts and omissions in Georgia, including the tortious acts and omissions

giving rise to this Complaint.

                                                         10.

          Venue is proper in this Court as one or more of the Defendants reside and maintain a

registered agent for service of process in Athens-Clarke County, Georgia and this suit is brought

against Defendants as joint tortfeasors. Ga. const. Art.       I, $ 2, flfl III, IV & vI; o.c.G.A. $$ 9-

1   0-3 1, 9-70-93, 14-2-510.




                                                     5
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                                       STATUTES OF' LIMITATIONS

                                                Public Nuisance

                                                       11.


          Pursuant to Georgia law, "[t]he rule that the statute of limitations does not run in favor    of

a nuisance, only applies to public nuisances, and grows out of the impropriety        of imputing laches

to the   public."   See   Davis v, City oJ'Forsyth,62l S.E.zd 495,49g (Ga. Ct. App. 2005) (citing

Anneberg v. Kurtz,28 S.E.2d 769,773 (Ga.           Da$);     see also Watkins v. Pepperton Cotton   Mills,

I   34 S.E. 69,71 (Ga. 1926). Therefore, Plaintiffls public nuisance claims are timely brought

before the courj.

                 Assault. Batterv and Intentional Infliction of Emotional Distress

                                                       12.

          Plaintiff s claims for childhood sexual abuse in the form of assault, battery   and


intentional infliction of emotional distress are timely brought before the court. Additionally,

Plaintiff brings these claims based upon PlaintifFs discovery of Defendants' failure to report this

abuse. These claims are timely brought before the court.

                                                     RICO

                                                       13.

          Pursuant to O.C.G.A. $ 16-14-8, a     plaintiff shall have five years to commence a civil

lawsuit based upon the corrupt dealings of an organization. Therefore, Plaintiff s claims are

timely brought before the court.




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                                               Other Claims

                                                     14.

         Plaintiff s remaining claims for Fraudulent Misrepresentation, Fraudulent Concealment,

Failure to Provide Adequate Security, Failure to Train, Supervise & Monitor, Failure to Warno

Negligent Retention, Respondeat Superior, Breach of Fiduciary Duty are tolled due to

Defendants' fraud involving moral turpitude which debars or deters plaintiffs from bringing a

cause   of action, and the statute will not begin to run until the plaintiff discovers the fraud.

O.C.C.A. $$ 9-3-96; 9-3-98. Plaintiff s Fraudulent Misrepresentation and Fraudulent

Concealment Claims are also new claims based upon the harm Plaintiff suffered when he learned

of Defendants' concealment and prior knowledge of Boland's prior abuse of Boy Scouts.

                                      OPERATIVE F'ACTS
                                  BSA and Its Operatins Structure

                                                     15.

         Formed on February 8, 1910, BSA is one of the largest youth service organizations in the

United States. BSA enrolls approximately 2.5 million children between the ages of 7 and             2l and
more than 950,000 volunteers. BSA holds itself out as "one of the nation's largest and most

prominent values-based youth development organizations, providing programs for young people

that build character, trains them in the responsibilities of participating citizenship and develops

personal fitness."

                                                     t6.

         BSA's self-proclaimed mission is to'oprepare young people to make ethical and moral

choices over their lifetimes by instilling in them the values of the Scout Oath and Scout Law."




                                                    7
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                                                   17,

       The Scout Oath states:

                 on my honor I will do my best to do my duty to God and my country
                 and to obey the Scout Law; to help other people at all times; to keep
                 myself physically strong, mentally awake, and morally straight'

                                                   18.


       The Scout Law states:

                 A Scout is trustworthy, loyal, helpful, friendly, courteous' kind,
                 obedient, cheerfirl, thrifty, brave, clean and reverent.

                                                   19.

       One of BSA's primary activities includes camping. BSA uses campsites throughout

Georgia including sites owned by BSA, charter organizations, and public land such as public

camping sites.

                                                   20.

       In addition to using public property, BSA also employs     a national   multi-pronged

marketing strategy to actively recruit new members. This campaign not only targets the public at

large, but also specifically targets civic, faith-based and educational organizations as well. BSA

continuously solicits the public for new members and has its own blog titled "scouting Wire"

which includes an entire section devoted exclusively to "Marketing & Membership."

                                                    21.

       Since its inception, BSA aggressively marketed the wholesomeness and safety of its

programs to the American public and held itself out as a values-based youth development

organization that sought to build character, train children in the responsibilities of participating




                                                   8
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citizenship and develop personal fitness. Implicit and explicit in these representations is the

guarantee that its chartered affiliates make best efforts to guarantee the safety of participating

children.

                                                       22.

        Membership requires the payments of dues as well as the purchase of various uniforms,

badges and other equipment sold by BSA and BSA's income exceeds $780             million dollars   a

year.

                                                       23.

        By enrolling in BSA, parents and children committed to follow a system that encourages

parents to entrust BSA with their children's health and safety. BSA represents to the public, and

in particular parents, that BSA will help mold and foster their children into future leaders. BSA's

website assures parents that their children   will be safe and looked after stating that "[s]couting is

like an extension of your family: it follows your values, it sees to the overall care and well-being

of your child, and it's always there for you.,,

                                                    24.

        BSA uses a "pack and den" model for its troops. The leader of the pack/den is the

Scoutmaster. The Scoutmaster is in a unique position of trust and influence with his BSA troop

According to a Troop Committee Guidebook, the Scoutmaster is described as the "adult leader

responsible for the image and program of the troop." The Scoutmaster's primary job duty is to

train and guide the scouts within his troop. This is a position of extreme trust and confidence.

                                                    25

        BSA's programs require children to engage in activities that exposed them to adult




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volunteers who supervise children. Specifically, the Scouting programs and activities included

over-night outings, like camping trips, in which children were routinely away from parents and

supervised by agents of BSA. At the time, BSA did not require any interviews, checking       of

references or background examination before becoming a Scout Leader.

                                                  26.

        BSA operates as a vertically-integrated top-down organization which controls the actions

of the entities below it, those being: the local councils like NGC, charter organizations like

Green Acres, Beech Haven and First Baptist Church of Athens and troops like the ones Plaintiffs

were members of in Athens, Georgia. BSA national establishes mandatory goals, standards, and

rules for councils, charter organizations and troops to   follow. BSA national relies upon local

councils, charter organizations and troops to implement these goals, standards, and rules.

                                                  27.

       BSA chartered NGC in 1935. NGC provides Scouting programs in twenty-six counties in

the northeast corner of Georgia, including Athens-Clarke County.


                                                ,T'
        Defendants BSA, NGC, Green Acres, Beech Haven and First Baptist jointly agreed to

control and operate the scout troops where Plaintiff was a member in Athens, Georgia.

                                                  29.

        Charter organizations, like churches and schools, receive charters from the BSA to

sponsor scout troops. Defendants BSA, NGC, Green Acres, Beech Haven and First Baptist

jointly selected, approved, and/or retained adult volunteers to lead scout troops in positions such

as Assistant Scoutmasters   or Scoutmasters ("Scout Leaders"). Final approval for all adult troop



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volunteers like Scoutmasters lies solely with Defendant BSA. In the course of operating scout

troops BSA has the ultimate authority to control the details of Scout Leaders' performance        of

their duties on behalf of Defendants.

              BSA's Knowledse of Child Molestation and Refusal to Take Action

                                                    30.

         Beginning in or around 1920,Defendant BSA began tracking incidences of child

molestation committed by adult volunteers within the organization. Specifically, BSA became

awal'e that child predators had infiltrated the organization and were using their role as adult

volunteers and leaders in the organization to gain access to children who they sexually abused.

BSA created a file system then known as the "Red Flag" files-now the "Ineligible Volunteer

Files"("IV Files")-to track a variety of transgressions by adult volunteers, including child

sexual abuse.   IV Files that reflect child sexual abuse allegations against adult volunteers   are

categorized as o'Perversion Files." These files were intended for internal use only, and BSA

mandated that these files be kept confidential and out of the public eye.

                                                    31.

         On information and beliet the Perversion Files constitute a majority or plurality of the

total IV Files. Between 1920 and 1935, at least 1,000 child molesters-between 50-60 per

year-were discovered, documented within the IV Files, and subsequently excluded from

participating in the Boy Scouts. From 1935 onward, BSA continued to identifu thousands of

adult volunteers who were alleged to have sexually abused Scouts. From 1960 to 1985, between

25 -   96IV Perversion files were   created every year of which at least 1,365 files exist today. The

IV Files do not record the number of children victimized by each volunteer.



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                                                  32.

         Many of the adult volunteers identified in the IV Perversion Files, including Boland and

Weaver, were never removed from their positions by BSA. Rather, prior to 1955, BSA

implemented an intemal "probation program." Despite having this information, BSA failed to

inform Scouts or their parents if an adult volunteer was placed on "probation" for alleged abuse

or if they had been added to the IV Files. BSA continued its probation program for decades,

allowing volunteers to remain in their positions despite the fact that these persons were known to

be child predators.

                                                  33.

         The current number of existing Perversion Files significantly underrepresents the total

number of Scouts who have been molested through the course of their participation in the BSA.

This is because the Files, while tracking individual molesters, fail to record the total number of

victims attributed to each Scout Leader. This, combined with the known underreporting of

instances of child molestation means that the total number of Scouts who have been affected by

sexual abuse far outpaces even the BSA's internal estimates.

                                                  34.

         The IV Files prove that BSA had knowledge of child molesters within its ranks. Rather

than report these incidents to the authorities or parents of scouts, BSA protected the IV Files

from publication and engaged in a national cover-up of the information contained within the

Files.

                                                  35.

         In the early 1970s, BSA destroyed thousands of IV Files. It is estimated that




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approximately 6,000 files survived. Of the remaining files, only 1,900 are in the public domain.

Because of BSA's actions, the total number of sexual abuse reports is also unknown.

                                                  36.

       Rather than report these incidents to law enforcement or parents, BSA hid the IV Files

from the public and concealed the information contained in the Files.

                                                  37.

       ln l97l    Defendant BSA circulated memoranda among its regional councils, one of which

was Defendant NCC, detailing its policy of confidentiality regarding the   IV Files.   These intenlal

practices made it impossible for the general public to be informed of accusations against cument

and former Scoutmasters and to take preventative measures to protect children in the future.

                                                  38.

       Upon information and belief, in addition to destroying portions of the IV Files, BSA

continues to prevent the publication of the IV and Perversion Files in litigation nationwide,

perpetuating the threat that pedophilic/ephebophilic Scout Leaders pose to both Scouts and the

general public.

                                                  39.

       The effect of both the file purge and BSA's continued litigation efforts has resulted in a

national cover-up of BSA's knowledge of reported child molesters, the threat they pose to the

public, and BSA's refusal to address that threat by making that information public.

                                                  40.

       Before PlaintifPs abuse that is the subject of this case, Defendants knew to a moral

certainty that at least some significant number of Seouts, including Scouts such as Plaintiff,




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would be molested each and every year if the procedures of BSA and NGC in regard to

identifying and reporting child molesters remained the same.

                                                   41.

       Although the Court can and may take judicial notice of the widespread public

dissemination of BSA sexual abuse cases and stories, the actual and true extent of these cases

will never be known   due to the intentional and ongoing nature of the organized cover-up of these

cases from the public.

                                                   42.

       During and after the sexual abuse at issue in this case, Defendants' tortious conduct

continued. Additional and continued actions have been taken by Defendants to affirmatively

misrepresent to the general public that children ate safe from the cover-up mentality that lies at

the core of the tortious conduct addressed in this suit'

                                                   43.

       These offenses were not committed as an occasional practiceo but were and continue to be

aparl of asystematic and ongoing pattern of subterfuge and intimidation. This pattern and

practice continues to this day with the BSA and the NGC refusing to make public the

information from IV Files gathered after 1991. This refusal to give information to the public

constitutes ongoing tortious conduct on the part of Defendants and is a public nuisance'

                                                   44.

        No one from BSA, NGC or Green Acres, First Baptist or Beech Haven ever reported

these allegations to the authorities, the public or even scouts' parents.




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                                                     45.

        These actions by Defendants are also directly contrary to Georgia law.      In 1950, the

Georgia Legislature enacted O.C.G.A. $ 16-6-4, a criminal child molestation statute.       In a2006
amendment, the General Assembly found that sexual offenders who prey on children present an

"extfeme threat to the pablic safety," and "in order to protect the public, it is necessary that the

sexual offenders be registered and that members of the community and.the pahtic be noti/ied          of
a sexual   offinder's presence;' 1d. (emphasis added). CRIMES AND OFFENSES; CRIMINAL

PROCEDURE; LAW ENFORCEMENT OFFICERS AND AGENCIES; PENAL

INSTITUTIONS-SEXUAL OFFENDER REGISTRATION AND RESIDENCY, 2006 Georgia

Laws Act 571 (H.8. 1059).

                                                    46.

        In 1965, the Georgia legislature enacted O.C.G.A $ l9-7-5, the so-called "Mandatory

Reporter Law" underscoring the public policy that the public has a right to know. By 1981, this

statute was revised to provide that any physician, psychologist, health care worker, hospital or

medical personnel, nursing personnel, social work personnel, school guidance counselor,

licensed osteopathic physician, intern, resident, dentist, podiatrist, public health nurse, social

worker, teacher, school administrator, child care personnel or law enforcement personnel having

cause to believe that a child under the age   of eighteen has had physical injury or injuries inflicted

upon him other than by accidental means by a parent or caretaker, or has been neglected or

exploited by a parent or caretaker, or has been sexually assaulted or exploited, shall report or

cause reports to be made. May,s v. State,295 Ga.3SS (2014).




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                                                   47.

       Additionally, in2015,the Georgia legislature enacted the Childhood Sexual Abuse
                       o'Hidden Predator   Act" which created   a new statute   of limitations to bring
Statute known as the

suit against sexual molesters. O.C.G.A. $ 9-3-33.1. The Hidden Predator Act includes a

                                     o'if
provision for liability of an entity      the person was a volunteer or employee of an entity that

owed a duty of care to the plaintiff, or the person and the plaintiff were engaged in some activity

over which such entity had control." O.C.G.A. $ 9-3-33.1(cX2).

            Troon Leader Ernest Boland and Fleming Weaver in Athens. Georqia

                                                   48.

        At all times material to this Complaint, Defendants BSA and NGC operated           and


otherwise controlled various Boy Scout Troops including Athens, Georgia-basedTroops22,2,

and 3, chartered organizations, and Camp Rainey Mountain located in Clayton, Georgia.

                                                    49.

        Ernest Boland was a registered Scoutmaster of BSA in Athens, Georgia during the years

around 1950-1977 and led three different Troops during that time. Defendant BSA and its agent,

Defendant NGC, had authority and controlled the activities of Boland and the scouts

participating in his troops. At all times relevant to this Complaint, the Defendants accepted

Boland as a Scout Leader for the Troops he led in Athens, Georgia. As a Scout Leader, Boland's

role was to educate, mentor, befriend, and train young boys in morality, patriotism, various life

skills, and the Scouting program.

                                                    50.


        Fleming Weaver served as an Assistant Scoutmaster and was Boland's mentee. Weaver



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became Scoutmaster of Troop 26 where he molested numerous other Scouts. Some of this abuse

was reported, including to Dr. Steven N. Brown, the Youth and Elderly Pastor of First Baptist

Church and Bobo Brown, who was a supervisor of the Boy Scouts and the NGC. After a secret

meeting, Weaver was removed as a Scoutmaster, but nothing regarding the allegations was ever

reported to the police or Scouts. However, even after he left Troop 26,Weaver continued to

volunteer with BSA and NGC serving as a member of the Order of the Arrow, Scouting,s

National Honor Society.

                                                  51.

       At all times relevant to this Complaint, BSA authorized and empowered Boland          and

Weaver to perform all duties of a Scout Leader including the authority and power to: provide

instruction, counseling, moral guidance, physical supervision of boys participating in Scout

programs and activities; enforce the rules governing the boys' participation; and undertake other

duties. Defendant BSA knew that as apart of his duties as a Scout Leader, Boland and Weaver

would be in a position of trust, confidence, and authority over the boys involved, including

Plaintiff; and promoted the same to Scouts such   as   Plaintiff. BSA retained the right to control
the means and methods used by Scout Leaders such as Boland and Weaver in          fulfilling these

duties for BSA.

                                                  52.

       Boland's first troop, Troop 22, was sponsored by a BSA charter organization, First

Baptist Church of Athens in Athens, Georgia. While leading Troop 22,Bolandwas accused of

sexually abusing minor Boy Scouts, including engaging in oral sex with Scoutso between        l95l-
1963. Boland ultimately left the Troop because of these accusations. First Baptist never




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repofted these allegations to   Plaintiff law enforcement or the public.

                                                    53.

           In Troop 22,Boland's Assistant'Scout Leader was Fleming Weaver, who served       as


Boland's mentee. Victims of similar sexual abuse by Weaver have filed suit which is currently

pending in Superior Court of Cobb County, Georgia.

                                                    54.

           Boland's second troop, Troop 2,was sponsored by a BSA charter organization,

Defendant Green Acres Baptist Church in Athens, Georgia. There, Boland was again accused          of

sexually abusing minor Boy Scouts. Boland also left the Green Acres Troop due to the sexual

abuse accusations. Green Acres never reported these allegations to    Plaintifl law enforcement or

thei   public.

                                                    55.

           Boland's final troop, Troop 3, was sponsored by a BSA charter organization, Defendant

Beech Haven Baptist Church. Troop 3 operated from 1975-1977.Boland was again accused             of

sexually abusing Scouts in this Troop, and again Ieft the Troop due to these allegations. Beech

Haven never reported these allegations to Plaintiff, law enforcement or the public.

                                                    56.

           For each of these Troops, BSA, NGC and the respective churches jointly selected,

controlled, supervised, approved and/or retained adult volunteers to lead Troops 22,2 and3 and

Boland acted as an agent of all Defendants.

                                                    57.

           Defendants, by and through information relayed to and by them, were aware   of



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accusations that Boland had sexually abused Scouts while leading the Troop sponsored by Green

Acres, Beech Haven Baptist Church and First Baptist Church of Athens. Howevero Defendants

undefiook no actions to protect minor Scouts from Boland's sexual predations or provide

information to the appropriate authorities or the general public.

                                                    58.

          Defendant Beech Haven Baptist Church was aware of accusations against Boland

including the fact that he had a secret apartment for the purpose of caruying out acts of sexual

abuse against various rninors, including Scouts. Howevero Beech Haven undertook no aotions to

protect minor Scouts from Boland's sexual predations or provide information to the general

public.

                                                    59.

          As early as 1955, Defendants were aware of accusations of sexual misconduct

perpetrated by Boland against Scouts in his Troops.

                                                    60.

          Despite having knowledge of accusations of abuse of Scouts, BSA continued to hold out

Boland as a pillar of the BSA community and as someone whom parents and Scouts alike could

trust. For example, amidst these allegations, Boland received the esteemed Silver Beaver Award

which is given to Scouters who "have made an impact on the lives of youth through service

given to the council."

                                                    61.

          All Defendants failed to take action to report Boland to the proper authorities or to warn

parents, their children and the general public of Boland's continued misconduct.




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                                                 62.

       Defendants fraudulently concealed their knowledge about Boland. For example, Boland's

IV file reveals that Boy Scouts Executive Ron Hegwood discussed Boland with Beech Haven's

pastor Rev. Dr. James   Griffith in March 1977 including the factthat Boland had "male

companions" at his secret apartment and flew two scouts to Maryland where they stayed with

him overnight, but this information was never disclosed.

                                                 63.

       The inaotion of Defendants BSA and NGC rcgarding the accusations made against

Boland were emblematic of the larger, systemic institutional effort to deny, hide, and cover up

the problem of the sexual abuse of minor Scouts.

                                                   64.

       Defendant NGC had notice prior to childhood sexual abuse of scouts and at least one

Scout leader in the Council aside from Ernest Boland had been accused of molesting scouts and

that Boland specifically had been accused of abusing scouts within the Athens, Georgia area.

                                   Snecial Harm to Robert Doe

                                                   65.

       Plaintiff Robert Doe first met Boland through a friend in his building, who introduced

him to Boland in or around 1974 whenhe was approximately 9 years old. Boland would take

groups of young boys, including Robert Doe and his friend, Mark Gilliland, camping on

overnight trips to northern Georgia, Tennessee and North carolina.




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                                                  66.

        The next year, in or around 1975, Robert Doe joined Boy Scout Troop 3, which was led

by Boland and sponsored by Defendant Beech Haven.

                                                  67.

       Pursuant to carrying out BSA's goals, Boland befriended Robert Doe and gained the trust

and confidence of Robert Doe and his family as an instructor, guide, mentoro counselor, and

authority figure. While performing his duties as Scout leader and for the purpose of furthering

his duties required in that role, Boland gained the permission, acquiescence, and support   of
Robert Doe's family to spend substantial periods of time alone with Robert Doe.

                                                  68.

       As a direct result of Boland's actions, Robert Doe was conditioned to trust Boland,

comply with his directions, and respect Boland as a person of authority within the BSA in,

among other things, moral and ethical matters.

                                                  69.

       Boland's sexual abuse of Plaintiff Robert Doe began during his first year as a Boy Scout

in or around 1975. Specifically, Boland would come and pick up Plaintiff Robert Doe and take

him to his home or take him to a building attached to Boland's Pest Control Service where he

would sexually molest Robert Doe. Plaintiff Robert Doe was approximately 10-12 years old

during this timeframe, and therefore unable to consent to Boland's sexual advances.

                                                  70.

       Over the course of four years, Boland engaged in a pattem of sexual abuse with Robert

Doe. What began as fondling escalated into masturbation. During these encounters, Boland told




                                                 2t
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Robert Doe over and over againthathe wanted to have anal sex with him. Although Robert Doe

does not recall ever having anal sex, he does recall having blood in his shorts after one sexual

encounter, but cannot recall what Boland did to him.

                                                      71.

       These instances of sexual abuse occurred approximately a dozen times over a three year

period and involved into a pattern that Boland would pick him up and take him to McDonald's to

get something to eat and then molest him. Robert Dge also recalls Boland bringing him to a

motel in Athens near Macon Highway. The conduct bccame so brazen that Boland once came to

Robert Doe's house and fondled him in front of one of Robert Doe's friends, robert became so

uncomfortable that he left.

                                                      72.


        In the summer of 1977,Plaintiff Robert Doe's father died and Robert Doe stopped

scouting. In the fall of or winter   of   1977, another scoutmaster, named Fleming Weaver came out

to Robert Doe's house.
                                                      4a
                                                      I   J.


        Weaver feigned to console the family and told Robert Doe's mother that the Scouts were

planning a trip to New Mexico, and that it would be good for Robert Doe to go on the trip.

Weaver invited Robert Doe to spend the night as his apartment to learn more about the program.

During the night, Robert Doe woke up to Weaver performing oral sex on him. The next morning,

Weaver acted as   if nothing   ever happened and drove Robert Doe back to his house.

                                                      74.

        The abuse Robert Doe suffered left him so psychologically damaged and stunned that he




                                                     22
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was mentally incapable of speaking about the abuse or processing his experience for decades.

Likewise, as is the case with many child sexual abuse victims, he was so traumatized that he was

mentally incapable of investigating the abuse, or altematively, the level of difficulty he

experienced in trying to do so was so profound that it exceeded what a reasonable victim     of
abused would have been expected to attempt.


                                                    75.

        As a result of the above-described conduct, as well as other incidents of child sexual

abuse by Boland and Weaver, Plaintiff Robert Doe has suffered for years, and continues to suffer

from, irreparable and ongoing harm, including extreme mental distress, humiliation, anguish, and

emotional and physical injuries, as well as economic losses, in amounts to be proven at trial.

                                                    76.

        This recent discovery of the truth tore open old wounds, ripped apart old scars, and

traumatized Plaintiff all over again. Further, new harm was done to these victims as the

tealization of three horible facts set in: 1) you were not the only one;2)the responsible adults

knew about it and chose to hide it; and 3) the harm done to you that you have spent a lifetime

trying to overcome could have been avoided if the responsible adults had done something about

it. It is hard for counsel   representing these victims to even fathom how damaging this recent

discovery has been. The old injuries are new again and even more harm has been heaped on

top. Defendant's motion must be denied.

                                                    77,

        In addition to this harm stemming directly from the sexual abuse, Roberl Doe sufforcd

additional harm within the statutory period when he discovered that he was not Boland or




                                                  23
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Weaver's only victim and that multiple scouts had been abused by Boland and Weaver over

multiple years. This damage was triggered by his learning that BSA, NGC, Green Acres, Beech

Haven and First Baptist knew what was going on with Boland and Weaver's troops and

deliberately chose to keep this information hidden from the public and appropriate authorities.

                                                  78.

       Even more incredibly, Plaintiff discovered that these Defendants not only knew about

these allegations but actually investigated and, in many instances confirmed the allegations   of

child abusc, and affirmatively chose not to act, thereby further damaging Plaintiff and the public.

                     COUNT I: PUBLIC NUISANCE (COMMON LAW)
                                (Against All D efendants)

                                                  79.


       Plaintiff incorporates and re-alleges all preceding paragraphs as if set forth fully herein.

                                                  80.


       Defendants have conspired, continue to conspire, and actively engaged in efforts to: (1)

conceal from the general public the sexual assaults committed by their volunteers and agents,

including Ernest Boland and Fleming Weaver; (2) conceal from the general public the identities

of and pedophilic/ephebophilic tendencies of volunteers and other agents listed in the IV Files;

and (3) protect their agents from criminal prosecution for their sexual assaults against children.

                                                  81.


       Despite the knowledge that to a moral certainty there have been and are to this day

predators operating within their organizations, BSA and NGC continue to hold themselves out as

organizations ofintegrity and safety to Scouts and their parents and actively solicit the general




                                                 24
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public for new members.

                                                   82.

        Notwithstanding the fact that Defendants have been aware of this danger for years,

Defendants actively solicit the general public for new members, have used and continue to use

public spaces for various scouting events including public parks, public schools, and other

spaces available to the public, including but not limited to, Rainey Mountain.   While some of

these events are for Scouts only, many are open to the public, and are advertised in public forums

and on the Internet. As a result, BSA and NGC actively endanger the general public by allowing

sexual predators access to young boys on public land with no warning to the public in general.

                                                   83.

        Defendants thereby knowingly andlor recklessly subject a considerable and increasing

number of children from the public at large to the harm inherent in building and maintaining

relationships of trust and confidence with child molesters.

                                                   84.

       As recently as February of 2074,BSA and NGC published a list of "Campsites Approved

by the Northeast Georgia Counsel Cub Scout Outdoor Committee for Cub Scout Pack

overnighters." The list includes fourteen properties owned by the state of Georgia, two parks

owned by the Army Corps of Engineers, one site owned by the Stone Mountain Memorial

Association, two sites owned by Gwinnett County Parks, and one federally owned park.        All of
the listed parks are located in the state of Georgia and are accessible by the general public.




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                                                    85.

       The NGC recently hosted an "Advance-A-Rama" on February 18,2077 at Central

Gwinnett High School, a school owned by Gwinnett County Public Schools. The general public

was invited to attend this event.

                                                    86.


       NGC is currently advertising a "Scout Show" at the Gwinnett County Fairgrounds, a

public space owned by the County of Gwinnett, where participants are invited to,      "[]oin

thousands of Scouts, friends, family, and the general     public for a unique display of Scouting

tradition . . ." (emphasis added). The public atlarge has been invited to attend this event.

                                                    87.

       Troops throughout BSA and NGC regularly publish calendars advertising the public

locations where Scouts    will   be camping. For example, Troop 433 in Marietta, Georgia published

a calendar   of scouting events, including seven events in total, all taking place on publicly owned

land in the state of Georgia.

                                                    88.

       The actions of Defendants BSA and NGC are directly responsible for bringing Scouts

and Scout leaders into contact with the general public. Defendants' conduct, deception and

concealment has knowingly andlor recklessly created or maintained a condition which

unreasonably endangers the safety and health of a considerable number of persons, including but

not limited to, children and other members of the general public. Defendants' failure to repoft or

investigate multiple allegations of sexual assault and abuse of children has knowingly and/or

recklessly endangered the safety and health of a considerable number of the general public by




                                                   26
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allowing child molesters to avoid prosecution and remain living freely in unsuspecting

communities. These child molesters, known to Defendants but not the general public, pose a

threat of abuse to the general public as a whole.

                                                     89.

       As adult volunteers, these molesters were and are allowed to build and maintain special

relationships requiring the trust and vulnerability of children entrusted to the Defendants. These

special relationships cause harm to any children who come into contact with child molesters in a

formal capacity through Scouting. Formalized relationships with child molesters tend greatly to

corrupt the manners and morals of children for a variety of reasons including, but not limited to,

the perversion of a normalo healthy, and supportive mentorship relationship between adult and

child into one whose purpose is horuifying and destructive of well-being. Beyond differences in

the purpose of the relationship, theoogrooming" techniques and strategies that child molesters

ordinarily use to select and prepare their victims for abuse change the way each child

experiences the relationship. Children who come into contact with child molesters in their formal

capacity as adult volunteers thus learn an inherently harmful pattern of altered behavior that they

caffy over into other relationships, causing them confusion, shame, and guilt and making them

more susceptible to further abuse.

                                                     90.

       Formal relationships between Scouts and child molesters in their capacity as adult

volunteers are also manifestly injurious to the children's health and safety. It is self-evident that

close, sustained proximity to child molesters directly harms their safety by enabling the




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possibility of further, more extreme harm. But these formal relationships also harm the mental

health of children participating in them insofar as unexplained differences the children feel

between these relationships and ordinary and healthy relationships cause them confusion, guilt,

and shame. These harms and risks are all known to Defendants but not known to the general

public, who entrusts its children to Defendants.

                                                   91.

       By virtue of children's participation in Scouting, children's families who themselves

directly come into contact with child predators with formal roles in Scouting are also harmed for

similar or the same reasons as participating children, including, but not limited to, injuries

sustained vicariously through participating children, the corruption of decency, manners, and

morals in their local communities, the emotional distress caused by knowledge that loved ones

could have been or were exposed to child predators, and the resulting erosion of trust in the Boy

Scouts of America, youth organizations,   civic organizations, and civil society more broadly.

Therefore, this nuisance affects the entire Athens-Clarke County community.

                                                   92.

        Defendant Green Acres has contributed to the public nuisance by actively concealing the

identities of Scout Leaders credibly accused as child molesters or failing to have them properly

investigated by authorities thus allowing these predators access to children actively solicited by

Green Acres to participate in church sponsored scouting activities.

                                                    93.

        ln 2013, the Reverend Charles Panish spoke to the Athens-Banner Herald and said that




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there was a close positive relationship between fthe Boy Scouts and Green Acres]. The

Reverend also stated to the paper in the same article,. regarding the Defendant's Scouting

program, o'At Green Acres we have developed the best children's and youth programs in Athens

because we just love kids."

                                                  94.

        The negligence and/or deception and concealment by Defendant Green Acres was and is

injurious to public health and safety and Plaintiff specifically by corupting the manners and

morals of the public, including, but not limited to, residents in Athens-Clarke County and all

other members of the general public who come into contact with the Green Acres community.            It
was and continues to be harmful to public health and safety when the Defendant failed to warn,

identify, and disclose the presence of curent and/or former accused molesters to parents.

Additionally, nondisclosure of the patterns of predators grooming and sexually assaulting

children creates an impairment of the safety of children in the neighborhoods in Georgia where

the Defendant Green Acres conducted, and continues to conduct, its business.

                                                  95.

       Defendant Beech Haven has contributed to the public nuisance by actively concealing the

identities of Scout Leaders credibly accused as child molesters or to have them properly

investigated by authorities thus allowing these predators access to children actively solicited by

Beech Haven to participate in church sponsored Scouting activities.

                                                  96.

       Troop 3" the same troop that Plaintiff McArthur was a member of when his abuse took

place, has operated continually at Defendant Beech Haven.




                                                29
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                                                  97,

       The negligence and/or deception and concealment by Defendant Beech Haven was and is

injurious to public health and safety and Plaintifl specifically by corupting the manners and

morals of the public, including, but not limited to, residents in Athens-Clarke County and all

other members of the general public who live in communities where Beech Haven is active. It

was and continues to be harmful to public health and safety when the Defendants fail to warn,

identify, and disclose the presence of the current andlor former accused molesters to parents'

Additionally, nondisclosure of the patterns of prcdators' grooming and sexually assaulting

children creates an impairment of the safety of children in the neighborhoods in Georgia where

the Defendant Beech Haven conducted, and continues to conduct, their business.

                                                  98.

       Defendant First Baptist has contributed to the public nuisance by actively concealing the

identities of Scout Leaders credibly accused as child molesters or to have them properly

investigated by authorities thus allowing these predators access to children actively solicited by

First Baptist to participate in church sponsored Scouting activities.

                                                  99.

        Troop 22,the same Troop that another plaintiff William Doe was a member of when his

abuse took place, has operated continually since that time at First Baptist. First Baptist proudly

advertises its relationship with the Boy Scouts stating on its website that   "it has sponsored   a


Scout troop, Troop 22, sincethe beginning of the scouting movement      in 1910."

                                               100.


        The negligence andlor deception and concealment by Defendant First Baptist was and is




                                                 30
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injurious to public health and safety and Plaintiffs, specifically by corrupting the manners and

morals of the public, including, but not limited to, residents,in Athens-Clarke County and all

other members of the general public who come into contact with the First Baptist community.         It
was and continues to be harmful to public health and safety when the Defendant failed to warn,

identify, and disclose the presence of current andlor former accused molesters to parents,

specifically, that Boland was accused of sexually abusing and molesting scouts within Troop 22

andthat he ultimately left that troop because of these allegations. Additionally, nondisclosure    of
the patterns of predators grooming and sexually assaulting children creates an impairment of the

safety of children in the neighborhoods in Georgia where the Defendants conducted, and

continues to conduct, its business

                                              101.

       BSA, NGC and the Churches contributed to the public nuisance by actively concealing

the identity of Boland and Weaver as well as other accused and admitted child molesters within

the Boy Scouts' ranks.


                                             102.

       The Churches further contributed to the public nuisance by failing to report Boland or

Weaver to law enforcement and allowing him access to children who participated in Scouting

and church activities where Boland and Weaver were present.


                                             103.

       The Defendants have a duty to wam, identify, and disclose the presence of the current

and/or formor oredibly accuscd molcstcrs to parents and have failecl to wanr the public   of
patterns of grooming and sexual assault on children. These failures to act were and continue to




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be harmful to public health and safety, corrupt the manners and morals of the people, and

jeopardize children in the areas all over Georgia where the Defendants conduct their business.

                                                 104

       The Defendants' actions and omissions are a violation of a public right to participate in

civil society, including civic organizations dedicated to the well-being and development of

children, free from the influence and violence of child predators. As a result of Defendants'

actions and omissions, the public atlarge cannot trust Defendants to warn families of the

presence of credibly accused antl achnitted molesters, or to disclose thcir histories or pattern   of

conduct in grooming and assaulting children, all of which has created an impairtnent to the

safety and welfare of children and the general public in the areas all over Georgia where

Defendants conducted, and continue to conduct their business. Because the Boy Scouts        of

America is among the largest, most visible, and most trusted civic organizations in the United

States, Defendants' systematic and deliberate failure to ensure the health, safety, morals and

manners of millions of participating children is a breach of the public trust that rises to the level

of a collective injury to the public at large.

                                                 105


        The negligence and/or deception and concealment by the Churches manifestly have and

continue to injure public health and safety and corrupt the manners and morals of the people.

More broadly, the non-disclosure of the patterns of predators who are grooming and sexually

assaulting children or otherwise harming their emotional well-being jeopardizes children

throughout the neighborhoods of Georgia where the Churches conduct business.




                                                   32
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                                                1   06.

        It offends the public's morals in that the general public and Plaintiff cannot trust

Defendants to warn parents of the presence of current andlor former credibly accused molesters,

or to disclose their histories or pattem of conduct in grooming and sexually assaulting children,

all of which create an impairment to the safety and welfare of children and the general public in

the areas all over Georgia where Defendants conducted, and continue to conduct, their business.

                                                107.

        Defendants' tailures to report allegations of sexual assault and abuse of children has

knowingly andlor recklessly damages the health, safety, andlormanners and morals of a

considerable number of children by allowing child molesters to avoid prosecution and remain

among the ranks of adult volunteers. The Georgia Legislature has found that sexual offenders

who prey on children present an "extreme threat to the public safety" and "in order to protect the

public, it is necessary that the sexual offenders be registered and that members of the community

and the public be notified of a sexual offender's presence.'o   o.c.G.A. $ l6-6-4.

                                               I 08.


        Furthermore, Defendants' failure to disclose to authorities the identities of individuals

suspected of being child predators was and is in violation of O.C.G.A. 19-7-5, the mandatory
                                                                      $

repofiing law applying to all "child service organization personnel." This code section has been

in effect for decades and creates a legal duty under the criminal law for Defendants to disclose

the identities of such individuals in their respective organizations,   if known, to authorities.

                                               109.

       For allthe above reasons, Defendants' actions to maintain and conceal the presence           of


                                                    JJ
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child predators within their organizations constitute a public nuisance. The tortious actions and

omissions of Defendants constitute a public nuisance and caused special damage to Plaintiff      s



health, including but not limited to, mental and emotional damage and physical pain and

suffering. Because of the tortious actions of Defendants, Plaintiff has not been able to receive

timely medical treatment to properly address the damages he suffered and continues to suffer         as


a result of the abuse.

                                               1   10.


        Defendants failed to act on their knowledge of prior critnes, and failed to act to correct,

prevent, or warn of prior criminal activity of sexual abuse of Boy Scouts, and the dangerous

environment created on the subject properties and events. Defendants' failure to take appropriate

action to remedy or reduce the danger to the public, including Plaintiff, and allowed the

dangerous environment on the subject properties to continue to exist unabated, thereby creating a

nuisance that continues to this day.

                                               111.


        The nuisance created by Defendants harmed all who came into contact with it by

expJsing the children of the Athens community to an unnecessary and avoidable risk of child

molestation. This nuisance also harms the public by violating the public policy of the state of

Georgia to protect its children and require the reporting of any allegations of childhood sexual

abuse. Even though not every person is specifically harmed, Defendants still have created a

public nuisance because ofthe exposure to the danger to all the public. The harm created by

Defendants' concealment reaches into countless neighborhoods in Georgia because of the

prevalence of Scouting and the unceftainty about what,     if any, measures Defendants   have taken




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to ensure that particular troops are safe. But even as measured by the prevalence of overnight

trips alone, the harm reaches throughout Georgia.

                                              112.

        As a direct and proximate result of Defendants failing to appropriately address and reveal

the sexual abuse of children within the Boy Scouts organization, and the public nuisance created

thereby, Plaintiff and the general public have sustained and continue to sustain special damages.

Specifically, Plaintiff and members of the general public coming into contact with child

molesters acting as adult volunteers have experienced harm and, in some cases, sustained and

continue to sustain special damages in the form of sex abuse and its effects.

                                              I 13.

       The harm includes: 1) ongoing harm to the general public by failing to notify them of the

presence of child molesters in the community in violation of Georgia's public policy, 2) ongoing

harm to the general public by failing to have child molesters investigated, arrested and removed

from society, 3) ongoing harm to the general public by actively misleading them about the

wholesomeness and safety of BSA's activities, 4) ongoing harm to the general public by actively

allowing the public to be exposed to known and suspected child molesters, 5) special harm to

Plaintiff as a result of being molested, and 6) special harm to Plaintiff when he discovered the

fraudulent concealment of these facts which triggered him to relive everything he had been

trying to put behind him.

                                              tt4.
       By reason of the frrregoing, Plaintiff is entitled to recover damages from Defendants for

past, present, and future medical expenses related to the damages he received because of the




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Defendants' actions, specific amounts to be proven at trial.

                                                  1    15.


       By reason of the foregoing, Plaintiff is entitled to recover damages from Defendants for

compensatory damages for past, current and future physical and mental suffering, pain,

emotional distress and harm, in such an amount as may be shown by the evidence and

determined by the enlightened conscience of the jury.

                                                  116.

       Further, by reason of the foregoing, Plaintiff is entitled to injunctive relief ptrrsttant to

O.C.G.A. g 9-5-l and O.C.G.A. $ 41-l-3 requiring Defendants to properly disclose to the general

public and appropriate authorities the identities of Scout Leaders credibly accused of molesting

Scouts, the identities of which are known to Defendants and not the general public.

                    COUNT      II: PUBLIC NUISANCE (O.C.G.A. Q 41-1-1)
                                      (A g ain s t A   ll   D efe ndunt s)

                                                  117.

       Plaintiff incorporates and re-alleges all preceding paragraphs as if set forth fully herein.

                                                  I 18.

       According to O.C.G.A. $ 41-1-1, a public nuisance is one that "tends to the immediate

annoyance of the public in general, is manifestly injurious to the public health or safety, or tends

greatly to corrupt the manners and morals of the public." The negligence and/or deception and

concealment by Defendants was and is injurious to public health and safety and contributes to

the corruption of the manners and morals of the public, including, but not limited to, residents in

Athens-Clarke County and all other members of the general public who live in communities




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where Defendants are active. The corruption of the manners and morals of the public and injury

to public health and safety stems directly from the fact that Defendants actively conceal the

identities of Scout Leaders accused of sexual molestation and refuse to report these individuals to

the proper authorities or even investigate the claims thereby exposing the general public to Scout

Leaders they know for a fact are a danger to children.

                                               119.

       Defendants have conspired, continue to conspire, and actively engaged in efforts to: (1)

conceal from the general public the sexual assaults committed by their volunteers and agents,

including Boland and Weaver; (2) conceal from the general public the identities of and

pedophilic/ephebophilic tendencies of volunteers and other agents listed in the IV Files; and (3)

protect their agents from criminal prosecution for their sexual assaults against children.

                                              t20.

       Despite the knowledge that to a moral certainty there have been and are to this day

predators operating within their organizations, Defendants continue to hold themselves out as

organizations ofintegrity and safety to Scouts and their parents and actively solicit the general

public for new members.

                                              121.

       Notwithstanding the fact that Defendants have been aware of this danger for years,

Defendants actively solicit the general public for new members, have used and continue to use

public spaces for various scouting events including public parks, public schools, and other spaces

available to the public, including but not limited to" Rainey Mountain. While some of these

events are for Scouts only, many are open to the public, and are advertised in public forums and




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on the Internet. As a result, BSA and NGC actively endanger the general public by allowing

sexual predators access to young boys on public land with no warning to the public in general.

                                               122.


        Defendants thereby knowingly andlor recklessly subject a considerable and increasing

number of children from the public atlarge to the harm inherent in building and maintaining

relationships of trust and confidence with child molesters.

                                               123.

       As recently as February of 2014, BSA and NGC published a list of "Campsites Approved

by the Northeast Georgia Counsel Cub Scout Outdoor Committee for Cub Scout Pack

overnighters." The list includes fourteen properties owned by the state of Georgia, two parks

owned by the Army Corps of Engineers, one site owned by the Stone Mountain Memorial

Association, two sites owned by Gwinnett County Parks, and one federally owned park. All of

the listed parks are located in the state of Georgia and arc accessible by the general public.

                                               124.

       The NGC recently hosted an "Advance-A-Rama" on February 18,2077 at Central

Gwinnett High School, a school owned by Gwinnett County Public Schools. The general public

was invited to attend this event.

                                               125.

       NGC is also a "Scout Show" at the Gwinnett County Fairgrounds,         a   public space owned

by the County of Gwinnetto where participants are invited to,   "[]oin   thousands of Scouts,

friends, family, and the general public for a unique display of Scouting tradition . . ." (emphasis

added). The public atlarge has been invited to attend this event.



                                                 38
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                                                  t26.

       Troops throughout BSA and NGC regularly publish calendars advertising the public

locations where Scouts   will   be   camping. For example, Troop 433 in Marietta, Georgia published

a calendar of scouting events, including seven events in total, all taking place on publicly owned

land in the state of Georgia.

                                                  127.

       The actions of Defendants BSA and NGC are directly responsible for bringing Scouts

and Scout leaders into contact with the general public. Defendants' conduct, deception and

concealment has knowingly and/or recklessly created or maintained a condition which

unreasonably endangers the safety and health of a considerable number of persons, including but

not limited to, children and other members of the general public. Defendants' failure to report or

investigate multiple allegations of sexual assault and abuse of children has knowingly and/or

recklessly endangered the safety and health of a considerable number of the general public by

allowing child molesters to avoid prosecution and remain living freely in unsuspecting

communities. These child molesters, known to Defendants but not the general public, pose a

threat of abuse to the general public as a whole.

                                                  128.

       As adult volunteers, these molesters were and are allowed to build and maintain special

relationships requiring the trust and vulnerability of children entrusted to the Defendants. These

special relationships cause harm to any children who come into contact with child molesters in a

formal capacity through Scouting. Formalized relationships with child molesters tend greatly to

corrupt the manners and morals of children for a variety of reasons including, but not limited to,




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the perversion of a normal, healthy, and supportive mentorship relationship between adult and

child into one whose purpose is horifying and destructive of well-being. Beyond differences in

the purpose of the relationship, the "grooming" techniques and strategies that child molesters

ordinarily use to select and prepare their victims for abuse change the way each child

experiences the relationship. Children who come into contact with child molesters in their formal

capacity as adult volunteers thus learn an inherently harmful pattern of altered behavior that they

carry over into other relationships, causing them confusion, shame, and guilt and making them

more susceptible to further abuse.

                                                129.

        Formal relationships between Scouts and child molesters in their capacity as adult

volunteers are also manifestly injurious to the children's health and safety. It is self-evident that

closeo sustained   proximity to child molesters directly harms their safety by enabling the

possibility of further, more extreme harm. But these formal relationships also harm the mental

health of children participating in them insofar as unexplained differences the children feel

between these relationships and ordinary and healthy relationships cause them confusion, guilt,

and shame. These harms and risks are all known to Defendants but not known to the general

public, who entrusts its children to Defendants.

                                                130.


        By virtue of children's participation in Scouting, children's families who themselves

directly come into contact with child predators with formal roles in Scouting are also harmed for

similar or the same reasons as participating children, including, but not limited to, injuries




                                                   40
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sustained vicariously through participating children, the corruption of decency, manners, and

morals in their local communities, the emotional distress caused by knowledge that loved ones

could have been or were exposed to child predators, and the resulting erosion of trust in the Boy

Scouts of America, youth organizations,    civic organizations, and civil society more broadly.

Therefore, this nuisance affects the entire Athens-clarke County community.

                                               131.

        Defendant Green Acres has contributed to the public nuisance by actively concealing the

identities of Scout Leaders credibly accused as child molesters or to have them properly

investigated by authorities thus allowing these predators access to children actively solicited by

Green Acres to participate in church sponsored Scouting activities.

                                               132.

        Troop 2, the same Troop that another plaintiff, Dennis Doe was a member of when his

abuse took place, has operated continually since that time at Defendant Green Acres Baptist

Church. In2013, the Reverend Charles Panish spoke to the Athens-Banner Herald and said that

there was a close positive relationship between [the Boy Scouts and Green     Acres]. The

Reverend also stated to the paper in the same article, regarding the Defendant's Scouting

program, "[a]t Green Acres we have developed the best children's and youth programs in Athens

because we   just love kids."

                                               133.

       The negligence and/or deception and concealment by Defendant Green Acres was and is

injrrriorrs to prtblic health and safety and Plaintiff specifically by conupting the manners ond

morals of the public, including, but not limited to, residents in Athens-Clarke County and all




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other members of the general public who come into contact with the Green Acres community. It

was and continues to be harmful to public health and safety when the Defendant failed to warn,

identify, and disclose the presence of current andlor former accused molesters to parents.

Additionally, nondisclosure of the patterns of predators grooming and sexually assaulting

children creates an impairment of the safety of children in the neighborhoods in Georgia where

the Defendant Green Acres conducted, and continues to conduct, its business.

                                              134.

       Defendant Beech Haven has contributed to the public nuisance by actively concealing the

identities of Scout Leaders credibly accused as child molesters or to have them properly

investigated by authorities thus allowing these predators access to children actively solicited by

Beech Haven to participate in church sponsored Scouting activities.

                                              135.


       The negligence and/or deception and concealment by the Defendant Beech Haven was

and is injurious to public health and safety and Plaintiff specifically by corupting the manners

and morals of the public, including, but not limited to, residents in Athens-Clarke County and all

other members of the general public who live in communities where Beech Haven is active.        It

was and continues to be harmful to public health and safety when the Defendants fail to warn,

identify, and disclose the presence of the curent and/or former accused molesters to parents.

Additionally, nondisclosure of the patterns of predators' grooming and sexually assaulting

children creates an impairment of the safety of children in the neighborhoods in Georgia where

the Defendant Beech Haven conducted, and continue to conduct, their business.




                                                 42
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                                               136.

        Defendant First Baptist has contributed to the public nuisance by actively concealing the

identities of Scout Leaders credibly accused as child molesters or to have them properly

investigated by authorities thus allowing these predators access to children actively solicited by

First Baptist to participate in church sponsored scouting activities.

                                               137.

        Troop 22,the same Troop that another plaintiff, William Doe was a member of when his

abuse took place, has operated continually since that time at First   Baptist. First Baptist proudly

advertises its relationship with the Boy Scouts stating on its website that   "it   has sponsored a

Scout troop, Troop 22, since the beginning of the scouting movement in 1910.

                                              1   38.

        The negligence andlor deception and concealment by Defendant First Baptist was and is

injurious to public health and safety and Plaintiff specifically by corrupting the manners and

morals of the public, including, but not limited to, residents in Athens-Clarke County and all

other members of the general public who come into contact with the First Baptist community.            It
was and continues to be harmful to public health and safety when the Defendant failed to warn,

identify, and disclose the presence of current and/or former accused molesters to parents,

specifically, that Boland was accused of sexually abusing and molesting scouts within Troop 22

and that he ultimately left that troop because of these allegations. Additionally, nondisclosure      of
the patterns of predators grooming and sexually assaulting children creates an impairment of the

safety of children in the neighhorhoods in Georgia where the Defehdant First Baptist conduoted,

and continues to conduct. its business.




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                                             139.

       BSA, NGC and the Churches contributed to the public nuisance by actively concealing

the identity of Boland as well as other accused and admitted child molesters within the Boy

Scouts' ranks.

                                              140.

       The Churches further contributed to the public nuisance by failing to report Boland to law

enforcement and allowing him access to children who participated in Scouting and church

activities where Boland was present.

                                              141.

       Defendants have a duty to warn, identify, and disclose the presence of the current andlor

former credibly accused molesters to parents and have failed to warn the public of patterns of

grooming and sexual assault on children. These failures to act were and continue to be harmful to

public health and safety, conupt the manners and morals of the people, and jeopardize children

in the areas all over Georgia where the Defendants conduct their business.

                                              142.


       The Defendants' actions and omissions are a violation of a public right to participate in

civil society, including civic organizations dedicated to the well-being and development of
children, free from the influence and violence of child predators. As a result of Defendants'

actions and omissions, the public at large cannot trust Defendants to warn families ofthe presence

of credibly accused and admiffed molesters, or to disclose their histories or pattern of conduct in

grooming and assaulting children, all ofwhich has created an impairment to the safety and welfare

of children and the general public in the areas all over Georgia where Defendants conducted, and




                                                44
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continue to conduct their business. Because the Boy Scouts ofAmerica is among the largest, most

visible, and most trusted civic organizations in the United States, Defendants' systematic and

deliberate failure to ensure the health, safety, morals and manners of millions of participating

children is a breach of the public trust that rises to the level of a collective injury to the public at

large.

                                                t43.

         The negligence and/or deception and concealment by the Churches manifestly have and

continuc to injurc public health and safety and corrupt the manners and morals of the people.

More broadly, the non-disclosure of the patterns of predators who are grooming and sexually

assaulting children or otherwise harming their emotional well-being jeopardizes children

throughout the neighborhoods of Georgia where the Churches conduct business.

                                                144.

         It offends the public's morals in that the general public and Plaintiff that he cannot trust

Defendants to warn parents of the presence of current andlor former credibly accused molesters,

or to disclose their histories and their pattern of conduct in grooming and sexually assaulting

children, all of which create an impairment to the safety and welfare of children and the general

public in the areas all over Georgia where Defendants conducted, and continue to conduct, their

business.

                                                t4s.

         Defendants' failures to report allegations of sexual assault and abuse of children has

knowingly andlor recklessly damages the health, safety, andlor manners and morals of a

considerable number of children by allowing child molesters to avoid prosecution and remain




                                                   45
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among the ranks of adult volunteers. The Georgia Legislature has found that sexual offenders
                                                                          o'in
who prey on children present an "extreme threat to the public safety" and      order to protect the

public, it is necessary thatthe sexual offenders be registered and that members of the community

and the public be notified of a sexual offender's presence." O.C.G.A. $ 16-6-4.

                                                  t46.

           Furthermore, Defendants' failure to disclose to authorities the identities of individuals

suspected of being child predators was and is in violation of O.C.G.A. $ 19-7-5, the mandatory

reporting law applying to all "child service organization persounel." This code section has bccn

in effect for decades and creates a legal duty under the criminal law for Defendants to disclose

the identities of such individuals in their respective organizations, if known, to authorities.

                                                  147.

           For all the above reasons, Defendants' actions to maintain and conceal the presence    of

child predators within their organizations constitute a public nuisance. The tortious actions and

omissions of Defendants constitute a public nuisance and caused special damage to Plaintiff        s



health, including but not limited to, mental and emotional damages and physical pain and

suffering. Because of the tortious actions of Defendants, Plaintiff has not been able to receive

timely medical treatment to properly address the damages he suffered and continues to suffer           as


a result   of the abuse.

                                                  148.


           Defendants failed to act on their knowledge of prior crimes, and failed to act to coffect,

prevent, or warn of prior criminal activity of sexual abuse of Boy Scouts, and the dangerous




                                                    46
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environment created on the subject properties and events. Defendants' failure to take appropriate

action to remedy or reduce the danger to the public, including Plaintiff, and allowed the

dangerous environment on the subject properties to continue to exist unabated, thereby creating a

nuisance that continues to this dav.

                                               149.

        The nuisance created by Defendants harmed all who came into contact with it by

exposing the children of the Athens community to an unnecessary and avoidable risk of child

molestation. This nuisance also harms the public by violating the public policy of the state   of
Georgia to protect its children and require the reporting of any allegations of childhood sexual

abuse. Even though not every person is specifically harmed, Defendants still have created a

public nuisance because ofthe exposure to the danger to all the public. The harm created by

Defendants' concealment reaches into countless neighborhoods in Georgia because of the

prevalence of Scouting and the uncertainty about what, if any, measures Defendants have taken

to ensure that particular troops are safe. But even as measured by the prevalence of overnight

trips alone, the harm reaches throughout Georgia.

                                              I s0.

       As a direct and proximate result of Defendants failing to appropriately address and reveal

the sexual abuse of children within the Boy Scouts organization, and the public nuisance created

thereby, Plaintiff and the general public have sustained and continue to sustain special damages.

Specifically, Plaintiff and members of the general public coming into contact with child

molesters acting as adrrlt volunteers have experienced harm ando in some oases, sustained and

continue to sustain special damages in the form of sex abuse and its effects.




                                                47
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                                              151.

       The harm includes: 1) ongoing harm to the general public by failin$'to notifr them of the

presence of child molesters in the community in violation of Georgia's public policy, 2) ongoing

harm to the general public by failing to have child molesters investigated, arrested and removed

from society, 3) ongoing harm to the general public by actively misleading them about the

wholesomeness and safety of BSA's activities, 4) ongoing harm to the general public by actively

allowing the public to be exposed to known and suspected child molesters, 5) special harm to

Plaintiff as a result of being molested, and 6) special harm to Plaintiff when he discovered the

fraudulent concealment of these facts which triggered him to relive everything he had been

trying to put behind them.

                                              r52.

       By reason of the foregoing, Plaintiff is entitled to recover damages from Defendants for

past, present, and future medical expenses related to the damages he received because of the

Defendants' actions, specific amounts to be proven at trial.

                                              I 53.


       The nuisance created by Defendants harmed all who came into contact with it by

exposing the children of the Athens community to an unnecessary and avoidable risk of child

molestation.

                                              ls4.

       By reason of the foregoing, Plaintiff is entitled to recover damages from Defendants for

compensatory damages for past, current and future physical and mental suffering, pain,

emotional distress and harm, in such an amount as may be shown by the evidence and



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determined by the enlightened conscience of the jury.

                                               I 55.


       Further, by reason of the foregoing, Plaintiff is entitled to injunctive relief pursuant to

O.C.G.A. $ 9-5-1 and O.C.G.A. $ 41-1-3 requiring Defendants to properly disclose to the general

public and appropriate authorities the identities of Scout Leaders credibly accused of molesting

Scouts, the identities of which are known to Defendants and not the general public.

                                    COUNT III: ASSAULT
                       (Against the Estate of Ernest Boland and lVeaver)

                                               I s6.


       Plaintiff incorporates and re-alleges all preceding paragraphs as if set forth fully herein.

                                               157.

       On numerous occasions, Boland intended to cause, did cause, and engaged in illegal

sexual conduct and contact with Plaintiff. Weaver intended to cause, did cause, and engaged in

illegal sexual conduct and contact with Plaintiff.

                                               I 58.


       On the occasions referenced in paragraphs above, Boland and Weaver intended to cause

and did cause Plaintiff to suffer apprehension of an immediate harmful sexual contact.

                                               1   59.

       These illegal and unwanted sexual acts perpetrated against Plaintiff by Boland and

Weaver constitute child molestation or aggravated child molestation under the laws of the state

of Georgia.




                                                    49
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                                              r    60.

      The illegal and unwanted sexual acts perpetrated against Plaintiff by Boland and Weaver

constitute childhood sexual abuse as that term is defined in O.C.G.A. $ 9-3-33.1.


                                              161.


       As a result of the above-described conduct, Plaintiff has suffered and continues to suffer

irreparable and ongoing harm, including but not limited to: extreme mental distress, humiliation,

anguish, ancl emotional and physical injuries, as wcll as economic losses, in amounts to be

proven attrial,

                                    COUNT IV: BATTERY
                       (Against the Estate of Ernest Boland and lV'eaver)

                                               162.


       Plaintiff incorporates and re-alleges all preceding paragraphs as if set forth fully herein.

                                               163.

       On numerous occasions, Boland subjected Plaintiff to unwanted and illegal sexual acts

and Weaver subjected Plaintiff to an unwanted and illegal sexual act.


                                               164.


        These illegal and unwanted sexual acts perpetrated against Plaintiff constitute child

molestation or aggravated child molestation under the laws of the state of Georgia.

                                               1   65.


        The illegal and unwanted sexual acts perpetrated against Plaintiff by Boland and Weaver

constitute childhood sexual abuse as that term is defined in O.C,G.A. $ 9-3-33.1.




                                                    50
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                                               166.

        As a result of the above-described conduct, Plaintiff has suffered and continues to suffer

ineparable and ongoing harm, including but not limited to: extreme mental distress, humiliation,

anguish, and emotional and physical injuries, as well as economic losses, in amounts to be

proven attrial.

         COUNT V: INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
                   (Against the Estate of Ernest Boland and Weaver)

                                               167.

       Plaintiff incorporates and re-alleges all prcccding paragraphs   as   if   set forth   fully herein.

                                               168.

       On numerous occasions, Defendant Boland and Weaver subjected Plaintiff to unwanted

and illegal sexual acts, constituting extreme and outrageous conduct towards Plaintiff; with the

intention to cause or with reckless disregard for the probability of causing Plaintiff to suffer

severe emotional distress.

                                               169.

       These illegal and unwanted sexual acts perpetrated against Plaintiff constitute child

molestation or aggravated child molestation under the laws of the state of Georgia.

                                               170.

       These illegal acts perpetrated against Plaintiff by Defendant Boland and Weaver

constitute childhood sexual abuse as that term is defined in   o.c.G.A. $ 9-3-33.1.

                                               l7t.
       As a result of the above-described conduct, Plaintiff has suffered and continues to suffer




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ileparable and ongoing harm, including but not limited to: extreme mental distress, humiliation,

anguish, and emotional and physical injuries, as well as economic losses, in amounts to be

proven    attrial.                                                                     r


                          COUNT VI:
GEORGIA RICO RACKETEER INFLUENCED AND CORRUPT ORGANIZATIONS)
                                        (Ag ains t All D efen d ant s)


                                          \       772.


          Plaintiff incorporates and re-alleges all preceding paragraphs as if set forth fully herein.

                                                  173.

          The Georgia RICO Act prohibits any person from engaging in certain enumerated

activities through a pattern of racketeering or conspiracy. It also permits any person injured by

reason of a party engaging in prohibited activities to bring a      civil damages action. O.C.G.A.   $


t6-4^4.

                                                   t74.

          The relationship between Defendants BSA, NGC, Green Acres, First Baptist and Beech

Haven, Boland and Weaver constitutes an "enterprise" under O.C.G.A. $ 16-14-

3(3). Defendants' enterprise has, and     has had for all times relevant to this Complaint, a


continuity of structure and a shared common purpose and scheme or pattern for protecting and

hiding known sexual predators or those accused ofbeing sexual predators.

                                                   175.

          The Defendants and others whose names are unknown to Plaintiff at this time were

employed by or were associated with BSA, NGC, Green Acres, First Baptist and Beech Haven as

defined by O.C.G.A. $ 16-14-4(b).




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                                                 176.

          Defendants BSA, NGC, Green Acres, First Baptist, Beech Haven, Boland and Weaver

are   jointly and severally liable to Plaintiff for this Racketeer Influenced and Corrupt

Organizations (.'RICO") cause of action, and Defendants BSA and NGC are each an agent of one

another and a co-conspirator with the other relating to the acts alleged herein.

                                                177.

          Defendants BSA, NGC, Green Acres, First Baptist, Beech Haven, Boland and Weaver

agreed to enter into a conspiracy to violate provisions of   o.G.c.A. $ l6-14-3(5)(A)(v).

Specifically, Defendants caused Plaintiff s injuries resulting in the assault, battery, intentional

infliction of emotional distress and cover-up and concealment of the abuse in violation of

O.G.C.A. $ 16-14-3(5XAXv).

                                                178.

          The actions of Defendants resulted in the assault,battery, and intentional infliction   of
emotional distress of Plaintiff in violation of O.C.G.A. $ 16-14-3(S)(A)(v). Plaintiff was also

injured by Defendants' concealment of the truth which caused significant direct harm to the

Plaintiff when he discovered the truth: the reopening of old wounds and new harm caused by the

factthateach Plaintiff learned they were not the only victims, it was known and no one did

anything about it.

                                                179.

         These offenses were not committed as an occasional practice, rather they were part of a

systematic and ongoing pattern of racketeering activity over a number of deoades, concealed hy         a


scheme of subterfuge and intimidation.




                                                  53
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                                               1   80.


       Defendants continuously engaged in racketeering activity and conspired to keep secret

the above-mentioned acts from any investigative body, from others interested in the well-being

of Plaintiff, acted to conceal the injury and harm done to Plaintiff, so as to cover up accusations

of and confirmed instances of child sexual abuse within the Boy Scout organization.

                                               181.


       Through this behavior Defendants engaged in racketeering activities as defined in

O.C.G.A. $ l6-14-3(2) and (5)(A) including, but not limited to, attempts to coerce or intimidate

others and the actual commission of crimes chargeable by indictment under the following laws          of

this State including (v) assault and battery, and (xxii) false statements and concealment of facts.

                                               182.

       The Defendants also conspired to conceal Boland and Weaver's crimes and the danger he

posed to Scouts as well as the prevalence of sexual abuse in Scouting generally through a pattern

of deliberate fraudulent practices, including theft, perjury, and mail fraud so as to preserve and

maximize profitability, preserve and protect their reputations in the community and avoid

criminal and civil legal action.

                                               l 83.

        The conduct of Defendants was part of a systematic and ongoing pattern which has

resulted in harm to Plaintiff, other victims of Boland and Weaver and thousands of other

Scouts throughout the country.




                                                                                I

                                                    54
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                                                     I 84.

               The procedural policies of Defendant BSA in handling the IV Files, their instructions to

     Defendant NGC as to following these policies, and both Defendants' continued compliance with

     said policies, show an interconnectedness between the instances of sexual abuse experienced by
ft

     Plaintiff.

                                                     1   85.

               Defendants BSA and NGC's refusal to release information contained in the     IV Files
     continues to the present   day. BSA    and NGC also continue to engage in practices that put Scouts

     at risk   of sexual abuse. Therefore, the RICO violations are within five years from the time that

     the prohibited conduct was performed. O.C.G.A. $ 16-14-8.

                                                     I 86.

               Since 1911 BSA has consistently published "Boy's Life" the official magazine of BSA.

     The magazine is mailed via the U.S. Postal Service to subscribers, and every issue of the

     magazine ever published is available in an online archive. In so doing, BSA utilized the United

     States mail to cover up accusations of and confirmed instances of child sexual abuse    within the

     Boy Scout organization.

                                                     187.

               Boy's Life has published several articles on child sexual abuse over the years including

     its issues in September 1 986,   April 1 989, December 1 989, April 1995, April 2002, and

     September 2012. In none of these articles does Boy's Life mention the possibility of a Scout

     being abused by a Scouting Leader or that RSA was aware of instances.u'here Scout Leaders

     molested Scouts and maintained a list of the offenders.
                           i


                                                         55
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                                               I 88.


       In December 1989, Boy's Life published an article written by then Chief Scout Executive

Ben H. Love who stated, "Our programs, literature, videos, and registration process promote the

best possible safeguards against child abuse. We can confidently say that the BSA continues to

be the safest program   for youth in America. And we will keep it that way." At no time did BSA

reveal that it was aware of instances where Scout Leaders sexually abused children and actually

maintained a list of the offenders.

                                               I 89.


       Each issue of Boy's Life serves to encourage Scouts and their parents to participate in

Scouting activities and promotes BSA as a reputable and safe organization. BSA was aware that

these statements were not true and it maintained secret files of suspected child molesters while   it

made these claims about being a safe organization. This constitutes racketeering activity by the

Defendants which was part of a common and continuous pattern of fraudulent schemes,

perpetrated for the same or similar purposes and constituting a "pattern of racketeering activity'"

                                               190.


        Defendants used the mail to send solicitations to Plaintiff, and the class of similarly

situated children of which they were members, which waranted either expressly or impliedly

that Scouting was a safe activity with the purpose of inducing Plaintiff and other children to

believe Scouting was a safe activity. The Defendants sent these solicitations fraudulently to

induce Plaintiff and other children to participate physically in and contribute financially to

Scouting organizations, while knowing that the Scouts would not be a safe organization because

of the prevalence of child molesters, all contrary to law. The Defendants sent thousands or



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millions of these solicitations to Scouts.



        Defendants rrauoutentty received     .""tirl,'0."   perty,   andlor other   things of value from

Plaintiff   and the class of similarly situated children of which he was a member, by deceiving

them as to the safety   oftheir organizations   and therefore inducing thein to contribute such

money, property, and/or other things of value, all contrary to law. The Defendants received

thousands or millions of these contributions from Scouts continuously. This pattern continues to

this day.

                                                192.

        Defendants BSA and NGC's refusal to release information contained in the Ineligible

Volunteer Files continues to the present day. BSA and NGC also continue to engage in practices

that put Scouts at risk ofsexual abuse.

                                                 193.

        Due to Defendants' RICO violations, Plaintiff and thousands like him were fraudulently

induced to join the Boy Scouts and participate in activities known to be unsafe, particularly the

overnight camping trips attended by Boland, which ultimately led to the sexual abuse of Plaintiff

and countless other children.

                                                 194.

       These fraudulent inducements directly caused         Plaintifls injuries     because they were both

the actual and proximate cause of his injury;that is, there was a direct nexus between fraudulent

solicitations designcd to conceal a specific risk of harm to Plaintiff and l.he uocurrenoe of the




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exact type of harm the risk of which Defendants had sought to conceal


                                                   19s.

       Plaintiff was not aware, and reasonably could not have been aware, of the Defendants'

RICO violations until now


                                                   196.



       Through its racketeering activities, the Defendants deceived and victimized Plaintiff,

whereby Plaintiff was damaged.

                                                       197.

       The unlawful and immoral acts of the Defendants, as described throughout this

Complaint, are the proximate cause of severe damage to Plaintiff and the general public.

                                                       198.


       Due to the acts of the Defendants and resulting damages, Plaintiff is entitled to judgment

against Defendants in an amount to be determined by               a   jury.

                       COUNTS VII and VIII
   FRAUDULENT MISREPRESENTATION AND FRAUDULENT CONCEALMENT
                                     (,4   g ain s t   All   D efe nda nt s)


                                                       199.

       Plaintiff incorporates and re-alleges all preceding paragraphs as if set forth fully herein'

                                                       200.

       Defendants' acts of concealment rise to the level of actionable fraud such that the statute

of limitations for Plaintiffs claims was tolled until Plaintiff learned of the Defendants' fraudulent




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misrepresentations and fraudulent concealment.

                                                20t.

        Defendants BSA and NGC invited and encouraged Plaintiff to participate in the Scouting

program   jointly administered   and controlled by them. Prior to   Plaintiff s joining BSA, BSA   and

NGC made knowingly false representations to Plaintiff as to induce them to join the organization

and pay dues, including, but not limited to, making knowingly false statements regarding the

moral and ethical standards of the adult volunteers participating in Boy Scouts and the safety of

Boy Scout events.

                                                202.

       Prior to Plaintiff joining BSA, BSA and NGC made knowingly false representations to

Plaintiff so as to induce him to join the organization and pay dues, including, but not limited to,

making knowingly false statements regarding the organizations' acceptance of the occurrence of

child sexual abuse of Scouts and tolerance of volunteers who were known to be child predators,

including, but not limited to, Boland and Weaver.

                                               203.

       Plaintiff and Defendants were in a special relationship such that Plaintiffjustifiably relied

on Defendants to safeguard Plaintiff and act as a reasonable parent would act under the same or

similar circumstances. The duty of care created by this special relationship was elevated because

of the BSA's own express commitmentto developing the character and integrity of the children

entrusted to its care and the BSA's highly visible role as one of the leading organizations for child

charactcr dcvclopmcnt in the United States.




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                                             204.

       Defendants fraudulently misrepresented, failed to disclose and actively concealed the

prevalence of adult volunteers who were known to have sexually abused Scouts.

                                             205.

       Defendants fraudulently misrepresented, failed to disclose and actively concealed the

danger posed by Defendant Boland and Weaver specifically.

                                             206.

       Defendants fraudulently misrepresented, failed to disclose and actively concealed their

knowledge of the crimes committed by Boland and Weaver years before he abused Plaintiff.

                                             207.

       The Defendants knew or should have known that any child in Boland or Weaver's

presence was in danger.

                                             208.

       The Defendants knew that Boland and Weaver were continuing to participate in Scouting

after they knew of his crimes.

                                             209.

       Defendants conspired to fraudulently conceal the danger posed by Boland and Weaver

from Scouts, including Plaintiff, parents and the general community.

                                             210.

       Defendants fraudulently concealed Boland's crimes and the risk he posed to children by

falsely stating in a church bulletin that Boland was leaving Troop 3 to spend more time with his

family; failing to report that Boland had been accused of molestation while in Troop 22, failing



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to disclose Boland's child molestation to law enforcement; failing to disclose Boland and

Weaver's crimes to Scouts and parents and elevating Boland to leadership roles in the Boy

Scouts, NGC and the Church.

                                             2tt.
        But for Defendants' acts of fraudulently concealing Boland and Weaver's crimes, the

sexual assault on Plaintiff would not have occurred.

                                             212.

        Plaintiff relied on Delendants' misrepresentations regarding Boland and Weaver,

Scouting and Scout Leaders, and the commitment of Defendants to making best efforts to keep

children safe.

                                             213.                           \

        The BSA and NGC represented to Plaintiff that Boland and Weaver, and adult volunteers

generally were selected, controlled, approved and supervised by them.

                                             214.

        The BSA and NGC represented to Plaintiff that Boland and Weaver, and adult volunteers

generally were trustworthy mentors and leaders and promoted these adult volunteers as safe,

despite knowing that Boland and Weaver had been accused of child molestation.

                                             215.

        Defendants had a duty to disclose known threats to the health and safety of minors

involved with their organization because Defendants had a special relationship of trust and

confidence with Plaintiff and Defendants exercised in loco parentis responsibilities over Scouts,

including Plaintiff.




                                               6l
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                                                  216.

       Boland and Weaver's criminal acts, as well as the prevalence of child sexual abuse of

Scouts by adult volunteers generally, was vital and material information that Defendants had a

duty to disclose to Plaintiff as this information was relevant to his membership with BSA.

                                                  2r7.

       As a result of Defendants' elaborate scheme to actively conceal Boland and Weaver's

crimes and the prevalence of child sexual abuse by adult volunteers, Plaintiff had no way to

obtail this information indcpcndently. Defendants concealed Boland's conduct        as part   of an

elaborate scheme which was paft of the internal policy of BSA to hide the prevalence of child

sexual abuse by adult volunteers. Accordingly, Plaintiff could not have obtained the information

necessary to have protected themselves from Boland or Weaver by any reasonable diligence'

                                                  218.

        Due to the Plaintiffs inability to independently discover the prevalence of child sexual

abuse in Scouting as   well   as   Boland and Weaver's past crimes, Defendants had a duty to disclose

this information to Plaintiff.

                                                  219.

        Defendants' knowledge of Boland and Weaver's crimes was a material fact because

Plaintiff would not have joined BSA or spent time with Boland or Weaver if he would have

known of Boland's crimes or had known the prevalence of child abuse in Scouting.

                                                  220.

        The BSA and NGC made false representations to Plaintiff with reckless disregard for the

truth, including, but not limited to numerous representations in various editions of the Boy Scout



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Handbook and holding Boland and Weaver out as a safe and trustworthy Boy Scout Leader

whose direction must be followed.

                                                22r.

        The BSA and NGC's false representations were made with the intent of inducing

Plaintiff to rely on these statements, continue to participate in Scouting and trust adult volunteers

like Boland.

                                                222.

        Defendants fraudulently concealed Boland and Weaver's crimes to shield Defendants

from scrutiny, liability, criminal prosecution and to ensure the continued financial and

reputational benefits associated with Scouting.

                                                223.

        Plaintiffjustifiably relied on the fraudulent misrepresentations made by Defendants.

                                                224.

        Plaintiff Robert Doe did not learn that BSA, NGC, Beech Haven, First Baptist and Green

Acres knew that Boland had been accused of molesting Scouts and left each Troop due to these

allegations until the original Plaintiffs filed their original lawsuit until late June 2019.

                                                225.

       As a result of Defendants' fraudulent concealment of the danger posed by Boland and

Weaver and their fraudulent misrepresentations, Plaintiff was abused and suffered great pain     of
mind and body, shock, severe emotional distress, physical manifestations of emotional distress,

embanassment. loss of self-esteem, disgrace, humiliation and loss of enjoyment of life. This

damage does not arise only from Plaintiff s molestation by Boland and Weaver but by the fact




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that Defendants BSA, NGC, Beech Haven, Green Acres and First Baptist concealed this fact the

entire time they were Scouts and continue to try to conceal this fact today.

                                              226.

      The agents and volunteers of BSA and NGC knowingly made false representations to

Plaintiff, including, but not limited to, the fact that they knew that Boland and Weaver had

previously been accused of molesting Scouts and knew that he was a danger to children left under

his supervision, including Plaintiff.

                                              227.

        Before and since the sexual abuse at issue in this case, Defendants' tottious conduct has

continued. Defendants continue to affirmatively misrepresent to the public that they are acting to

keep children safe despite continuing to conceal the identity of hundreds of child predators who

may be continuing to abuse children today.

                                              228.

        The acts and omissions of adult volunteers were done in the course and scope of their

relationship with BSA, NGC and the Churches; pursuant to the rules, regulations, and procedures

promulgated by the Defendants and the authority delegated to them by the Defendants.

Defendants knew or should have known that any scout left unsupervised in the presence     of

Boland was at risk of being abused whether Boland and Weaver intended to do so or not.

Defendants knew or should have known that Boland and Weaver were sick and had

uneontrollable sexual desires for boys. Defendants conspired to fraudulently conceal from

scouts, parents, and the general public, of the dangers Boland and Weaver posed to Plaintiff and




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other scouts.

                COUNT IX: FAILURI, TO PROVIDE ADEOUATE SECURITY
                 (As to BSA, NGC, Green Acres, Beech Haven und First Baptist)

                                              229.

       Plaintiff incorporates and re-alleges all preceding paragraphs   as   if   set forth   fully herein.

                                              230.

       Boland sexually abused Plaintiff in his role as a Scoutmaster.

                                              231.

       The Defendants had superior knowledge that Boland and Weaver had sexually abused

Scouts during Scouting events and posed a danger to Plaintiff.

                                              232.

       The Defendants had a duty of ordinary care to Plaintiff as invitees to disclose the known

danger posed by Boland of which Defendants had superior knowledge.

                                              233.

       The Defendants had a duty of care to adopt adequate security measures on the premises

of facilities where Scouting activities occurred so as to protect children under their care, custody,

and control from being sexually abused by Boland and Weaver.

                                              234.

       The Defendants failed to disclose the danger posed by Boland and Weaver and failed to

implement basic security measures to protect Plaintiff and other children from Boland and

Weaver.




                                                 65
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                                                235.

       The Defendants knew or should have known that allowing Boland and Weaver access to

Plaintiff would expose him to a foreseeable risk of sexual abuse.

                                                236.

       The Defendants knew or should have known that failing to adopt adequate security

measures at Scouting events would expose Plaintiff to a foreseeable risk of sexual abuse by

Defendant Boland and Weaver.

                                                237.

       As a direct and proximate cause of the Defendants'acts and omissions, Plaintiff was left

unsupervised with Boland and Weaver where Plaintiff was sexually assaulted and sodomized.

               COUNT X: FAILURE TO TRAIN' SUPERVISE & MONITOR
                (As to BSA, NGC, Green Acres, Beech Haven and First Baptist)

                                                238.

       Plaintiff incorporates and re-alleges all preceding paragraphs as if set forth fully herein.

                                                239.

       At all times relevant to this   actiono the Defendants owed a duty of reasonable care to


protect children who attended Scouting events.

                                                240.

        The Defendants owed Plaintiff a duty of ordinary care to institute necessary policies,

procedures, training, oversight, and monitoring of scouting activities so as to protect him from

Boland and Weaver.




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                                                 241.

        At all times relevant to this actiono the Defendants failed to properly train, monitor, audit,

or supervise adult volunteers in order to protect Scouts from child predators, including Boland

and Weaver. Likewise, the Defendants failed to provide adequate protocols and information

regarding Boland and Weaver to Scouts, parents and other adult volunteers.

                                                 242.

       As a direct and proximate cause of the Defendants failure to institute necessary policies,

procedures, training, oversight, and monitoring of Scouting activities, Boland and Weaver gained

access to   Plaintiff and sexually assaulted him, entitling him to an award of economic,

compensatory, and punitive damages as more fully set forth herein.

                               COUNT XI: F      URT, TO WARI\
                  (As to BSA, NGC, Green Acres, Beech Haven and First Baptist)

                                                 243

       Plaintiff incorporates and re-alleges all preceding paragraphs       as   if   set forth   fully herein.

                                                 244.

       Defendants owed a duty to exercise ordinary care in supervising Boland and a duty to

provide adequate warning to Plaintiff after learning of Boland and Weaver's crimes.

                                                 245.

       Defendants breached the duty owed to Plaintiff by failing to supervise Boland and

Weaver's interactions with   Plaintifl   and failing to warn   Plaintiff the Plaintiffs family,        and

others of Dcfcndant Boland and Weaver''s datrgelous and exploitative propensities.




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                                               246.

        As the direct and proximate result of Defendants' breach of their duty, Plaintiff suffered

damages for which he is entitled to recover as provided by law.

                          COUNT       : NEGLIGENT RE TNNTION
                 (As to BSA, NGC, Green Acres, Beech Haven und First Buptist)

                                               247.

        Plaintiff incorporates and re-alleges all preceding paragraphs as if set forth fully herein.

                                               248.

        Defendants owed Plaintiff a duty of ordinary care to ban Boland and Weaver from all

Scouting events and activities after learning of the danger they posed to Scouts.

                                               249.

        Defendants knew or should have known that Boland and Weaver posed a danger to

Plaintiff.

                                               250.

        Defendants had actual knowledge of the danger posed by Boland and Weaver since their

crimes had been reported to Defendants by Scouts, parents of Scouts and Boland and Weaver

themselves.

                                               251.

         Defendants breached their duty of ordinary care by failing to report Boland to authorities

and allowing him to continue to volunteer with BSA, NGC, and the affiliate churches. As the

direct and proximate result of Defendants' breach of their duties, Plaintiff suffered damages for

which he is entitled to recover as provided by law.




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              COUNT     XIII: RESPONDEAT SUPERIOR/VICARIOUS LIABILITY
                  (As to BSA, NGC, Green Acres, Beech Haven and First Baptist)

                                                 252=

          Plaintiff incorporates and re-alleges all preceding paragraphs as if set forth fully herein.

                                                 253.

          Boland's attendance at Boy Scout functions such as camping trips was in furtherance      of
his duties as a volunteer and agent of BSA and NGC.

                                                 254.

          At all times relevant herein, Boland and Weaver were agents and volunteers of BSA        ancl

NGC and was acting within the course and scope of their role as agents and volunteers of the

Defendant organizations and was supervised in this role by Defendants; therefore, Defendants

are liable for Boland and Weaver's negligent acts under a theory of respondeat superior and/or

agency.

                                                 2s5

          At all times relevant herein, Boland and Weaver were agents and volunteers of BSA,

NGC and affiliated churches and was acting within the course and scope of his role as an agent

and volunteer leader of Defendant organizations. Defendants acted through agency,         joint venture

andlor common enterprise when they exposed Plaintiff and other victims to the sexual abuse         of
Boland and Weaver and had the right to exercise mutual control over        Plaintifl making them
jointly and severally liable for the acts alleged.




                                                     69
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                      COUNT          :   BREACH OF FIDU ARY DUTY
                                             All D efe n d ants)
                                     (A g ains t


                                                   256.

       Plaintiff incorporates and re-alleges all preceding paragraphs     as   if   set forth   fully herein.

                                                   257.

       Defendants exercised a controlling influence over the    will,   conducto and interest        of

plaintiffl who was a minor during the 1950's through the 1970's such that the law required the

utmost good faith from Defendants in safbguarding Plaintiff from known dangers.

                                                   258.

       BSA, by and through its Handbook declarations, agents, employees and volunteers,

represented BSA to be an organizationconsisting of safe and morally upstanding adult

volunteers who abided by the Scout Law and safely supervised children during activities where

the children's parents were not present, including overnight trips.

                                                   259.

       Defendants, by and through their agents, employees and volunteers, failed to take

remedial measures to protect Plaintiff from Boland and Weaver despite having superior

knowledge of the danger posed to Plaintiff by Boland and Weaver.

                                                   260.

        Defendants, by and through their agents, employees and volunteers, allowed Boland and

Weaver to recruit Plaintiffs for membership in Order of the Arrow which required attendance at

the camping trip where he was assaulted.




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                                                    261.

        Defendants had a special relationship of trust with Plaintiff and other students, and as

such, owed a fiduciary duty to them for their health, safety and well-being.

                                                    262.

        Defendants breached their fiduciary duties to Plaintiff and other students by failing to

provide for their health, safety and well-being, exposing them to sexual predators, fostering an

environment of inappropriate scout-scoutmaster emotional and physical contact, and concealing

the know dangers on campus.

                                                    263.

       Defendants, by and through their agents, employees and volunteers breached the

fiduciary duty owed to Plaintiff. As the direct and proximate result of Defendants' breach of this

fiduciary duty, Plaintiff suffered damages for which he is entitled to recover as provided by law.

                             COUNT XV: PUNITIVE DAMAGES
                                     (A g ain s t   All   D efe n da nt s)


                                                    264.

       Plaintiff incorporates and re-alleges all preceding paragraphs          as   if   set forth   fully herein.

                                                    265.

       Defendants' knowing and intentional conduct warrants punitive damages to be

determined by the enlightened conscience of         a   jury.

                                                    266.

       Dcfcndants' actions demonstrate willful urisconduot, malioe, wantonness, and an entire

want of care that raises the presumption of conscious indifference to the consequences of such




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actions.

                                                    267

         Punitive damages should be imposed on the Defendants in an amount to be determined at

trial.

           COUNT    XVI:     ATTORIT{EY'S FEES AND EXPENSES OF LITIGATION
                                     (Against AII D efendants)

                                                    268.

         Plaintiff incorporates and re-alleges all precedingparagraphs               as   if   set forth   fully hercin.

                                                    269.

         Defendants' actions constitute willful, intentional, and tortious conduct. Every intentional

toft involves an element of bad faith that entitles           a person   to recover the expenses of litigation,

including attorney's fees.

                                                    270,

         The actions of Defendants and their agents and representatives have caused Plaintiff

unnecessary trouble and expense.

                                                    271.

         Plaintiff is entitled to recover his attorneys' fees and the expense of litigation from the

Defendants pursuant to O.C.G.A $ 13-6-11.

                              COUNT     XVII: IN                 CTIVE     RF],I,IN,F'
                                       (,4   g ainst A   ll   D efe ndant s)


                                                    272.

         The foregoingparagraphs are re-alleged in their entirety as if specifically set forth herein




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                                                 273.

        Because of the foregoing actionso Plaintiff has and continues to suffer ireparable harm

and has no adequate remedy at law.

                                                 274.

        Plaintiff prays for such injunctive relief   as the Court may   provide to remedy these

violations.

        WHEREFORE, Plaintiff respectfully prays that this Court:

a.      Grant Plaintiff a trial by jury as to all triable issues in the above styled case;

b.      Award Plaintiff his general and special damages on all Counts in an amount to be

determined    attrial;

c.      Award injunctive relief, requiring Defendants to fully disclose the identities of Scout

Leaders accused of molesting Scouts;

d.      Award Plaintiff punitive damages;

e.      Award Plaintiff interest on any damages awarded;

f.      Award Plaintiff s attorneys' fees and costs associated with bringing this action; and

g.      Award Plaintiff such fumher relief as this Court deems proper.


        Respectfully submitted this   1Oth   day of June,2019.


                                                 PENN LAW

                                                 /s/ Darren W. Penn

                                                 DARREN W. PENN
                                                 Georgia Bar No. 571322
                                                 darren@pennlaw group.com




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                           pamones@comcast.net
                           (Pro Hac Vice Forthcoming)



                           Atto rneys fo r   Plaintiff




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                                                                                                    rNDEX NO. 9501L212A]-9
NYSCEF DOC.   NO.   1                                                                       RECEIVED NYSCEF      I   08/23   l2aI9


         SU?RHME COURT OF THg STATB OT NAW YORK
         C:OIJN'TY OF Nb:W YOITK
                                                                                      lndpx No.
         Yft',                                                                        Date Purchas$d:

                                                        Plaintiff,                    Plaintiff designates
                                                                                      NTW YORK
                                   -$gaillst-                                         County as lhe place of trial.

         BOY SCOIJTS OF AMERICA, and                                                  'llhe basis of the venue is
         CRtrAT'NR NTW YORK COUNCiI,S,                                                Dsfendants'place of
         BOY SCOIJTS OF AMEIIICA,                                                     business.

                                                                                      suMl\{oNs
                                                 "--_   "::":_::ill:_-_-._-"."*
         'l c tire above named Defbndant(s)


                           YOIJ   ARf HIIR0BY STIMMONED to allswer the cornplaint in this action and to

         serve a eopy r:f your fitswer,   erro   if the complaint is not servecl with this summons, to $erve ,l

         notico *f apprarano$n on the PlaintiJfs Attorney within 20 days afler lhe serviee ul'this

         $ummotls. ex.clusive o{ the day of scrvice {or: withirr 30 days after the service is conrplete       il'this

         sllmmon$ is not per:sonally delivered 1o ynu witJrin thtl State of New Yurk); and in case of your

         failure to appear or nnswer, juclgment will be taken against you by defuulr for rhe relisf

         demanded in the carnplaint.

         D*rted: New York, New Yr:r'k
                    Augusl23,20tg

                                                                                   fi. DOWI)
                                                                      600 I'hird Avsnue. l51r' l'ieior
                                                                      New Yolk. NY 10016
                                                                      (2r2) 7sr -1540

                                                                      swnaNHY, Rl;itcl-t &, I*0L7,, 1 "T,p
                                                                      By: Gerard.l. Sweeney, l3sq.
                                                                      l98l Mareus Avenue. Suite ?00
                                                                      Lake Success" NY 11042
                                                                      (718) 45e-e000
                                                                      Attomeys lbr Pl$intitf




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         SUPREME COURT OF THE STATE OF NEW YORK
         COI]NTY OF'NEW YORK
                                                                         X
         I                                          Plaintiff,
                                                                                   Index No.
                                                                                   Date Filed:

                                    -agarnst-

         BOY SCOUTS OF AMERICA, and                                                v&RIrI4.D C0MPLAII{T
         GREATER NEW YORK COLTNCILS,
         BOY SCOUTS OF AMERICA,

                                                    Defendants



                    Plaintiff,!      by his at-torncy, MICHAEL G. DowD, complaining of t)efendants,

         hereby alleges the following:

                                                      JU.,ruslIgIIoN
                    1.      'I'his action is timely commenced pursuant to the New York State C'hild Victims

                            Act, dated February l4,2AI9 and CPLR $ 214-9,

                                      A$ ANn,roR A ryS$T CAV$n               or AeTIqN
                                                (NSOX,IS&NS        g{JPIIIIVIUq}

                    2.      The   Plaintirr,!Crereinafter "Plaintiff')     was born                           He

                            is a resident of the United Kingdom.

                    a
                    J       At all times relevant, Plaintiff was an unemancipated minor who was invitecl to

                            participate in meetings, events, and activities run aud sponsored by Defendants

                            BOY SCOUTS OF AMERICA and GREATER NEW YORK COLINCILS, BOY

                            SCO{JTS OII AMERICA.

                    4       Upon infiounation and beliet at all times mentioned herein, the BOY SCOUTS

                            OF AMER1CA (hereinafter "BSA") was and is a federally charlered corporation




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                            authorized to do business in New York. Its principal headquartem are located in

                            Irving, Texas, which is in Dallas County.

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                                                                                                                                    l\L/ Yv

                            YORK COLINCIILS of the Boy Scouts of Amedca (hereinaller."NIIW YORK

                            COtlNCit")       was and is a dor:restic nonprofit corporation organized uncler the

                            laws of the state of New York. its principal headquarteffi &re located in New

                            York,'New Ycrk, whieh is in New York County.

                    6       f]efendanl RSA and Defenrjanf NllW YORK COLINCIL will be referred ro

                            collectjvely as "I)efbnda,nts. "

                    7       Upon infi:nnatiotr and belief, Defendants jointly own and operate scouting

                            ilrogratns whicb invile and seek out the pat'ticipalion of children. Defbndants,

                            thrcugh their agents and officials, have control over those activities iitvolvir:g

                            children. Delendanls have the power to appoint, supervise, nronitor, restrict, and

                            fire each persorl working with chilclren within Defendants' scouting programs.

                    8       ln   1916, Cnngress granted BSA a fedeyal chader, now codified as 36 U.S.C. Ch.

                            309. Under that Charter, Congress granted BSA the exclusive right to BSA's

                            name? cnrblems, batlges, and descriptive weirds and markings.

                    9       Since 1910, BSA has derived millions of doilars a year licensing the rights to its

                            name, emblems, scouting paraphernalia, and BSA-branded merchandise to

                            affiliated scouting organizatrons throughout the United States ar:d abroad (See 36

                            lJ.S.C. $tt0305). IISA has real.ized incsme                Ji'on-r these assets    bv marketing thern

                            to parents and their children, including Plaintiff and his parents. in addition 1o its

                            exclusive license, BSA enioys numelous taxpayer subsidies, including: (1) tiee




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                                 access to national forest lands (16 LJ.S.C. $ 539f); (2) {iee use of l)ef'ense

                                 Department equipment and facilities for BSA Jamborees (10 U.S.C.$2554; Q)

                                 free ground and air transportation, oommunications, emergency, and technical

                                 services from the National Ouard (32 U.S.C. $ 50S); (4) fiee use of meeting

                                 facilities, transportation, and supporl services at United States military bases

                                 world-wide (10 U.S.C. $2606); (5) fiee firearms, ammunition, repairs, supplies,

                                 and marksmanship training equipment (36 U.S.C. $40731); (6) free          military

                                 surplus (10 U.S"C. Ch. 94.3): and (7) Deparlmenl of Agriculture grants (7 U.S'C'

                                 $7630).

                    10.          ISSA's marketing includes encouraging parents to enloll their children in

                                 Defbndants' scoutlng programs and activities. Enrollment secures parenls' and

                                 chilclren's commitment to follow a system that encourages parents to enlrusl their"

                                 chilclren's lrealth and satbty to IISA. 'fhis entrustment empowers BSA to secure

                                 each   child's oath to upholcl the "Scout Law,o'to adopt the "Scottt" identily, and to

                                 aclhere to a system that requires chiidren to engage in activities that expose       therl

                                 to adults and others. 'l"his system includes over-night oulillgs, cantping events'

                                 ancl   trips away lion"r paients. T'he system is reward-based, obligating the clrilcl to

                                 purchase emblems, badges, ancl other scoutitlg paraphernalia, which in turn

                                 creales prc;fit for the organization.

                        l1   ,   8SA implemenls scouting programs througli local Boy Scotits of America

                                 councils to which it issues licerrses to the Boy Scouls ollAr:rerioa ilame' emblerns,

                                 badges, markings ar,cl youth progran')s. BSA requires local councils and troops




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                       within   a local   cowrcil to strictly adhere to BSA's organizational charler and

                       "Standards of Leadership" requirements.

              1L       Ai aii   'rimes reievani, Defbruianr   i.iEW YORK COIJNCIL and Troop 666 to which

                       Plainti{Twas a member cf were the agents of the BSA and were sub.iect to BSA,s

                       authority and control.

              13       B'$A is one of the largest nonprofits in ilie Unitecl Slates, with inconre exceeding

                       hundreds of millions per year. BSA is the largest youth organization in the

                       tlnited States, serving more tha:r 2.'/ million youth men:bers,   ages ten   to eighteen,

                       with over   eine   miliion adnlt volunteers.

              t4       shilrllv after its inception, Defendant I3$A became aware that a significant

                       number of its adult lloy $eout lea<.lers ("Scout Leaders") were using their position

                       of irust and authority as Scout l,,eaders to manipulale and sexually abuse youilr

                       participating in Defendant BSA's scouting programs.

              l5       Sinee its inception, BSA aggressively marketed the wholesomeness and safety              of
                       its programs to the American public. simullaneously, BSA concealed fi.r:m

                       scouts antl their parents tsSA's certain lmorvlodge that pedophiles had been

                       infiltrating BSA in large numbers fbr many yeal's, BSA also misrepresented to

                       scouts and their parents that scouts were safe    in scouting programs, when, in fact,

                       scouts were at an unreaso,rably heiglrtened risk of sexual abuse by adult Scont

                      Leaders. BSA made said misrepresentations to Plaintilf ancl his parents.

              16.     Ily thn early 1?20s, l)efbndanr llsA implemerrted what it called thc ,'Rcd       Flag,,

                      system to iclenti$r Scout leaders whom Defendant BSA considered,oineligibie,,to

                      hold positions as Scoul ]-eaders. 'Ihis internal system eventually became known




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                                as the   "Ineligible Volunteer Files" (hereafter "I.V. Files"). Historically, the most

                                common reason for a Seout Leader to be placed in the l.V. Files has been

                                allegations of sexual abuse of rninors. This subset of I.V. Files has been refered

                                to by Del'endants as the'oPerversion Files."

                    t7          Ily   1935, Delbndant BSA had already identitied and removed over one thousand

                                adult men irom their positions as Scout Leaders for sexually abusing boys

                                involved in De{bnclant BSA's scouting programs.

                    18          Between 1935 and the evelts alleged hereirr iri the 1989, Deftnelant BSA had

                                already identi{ied thousands of additieinal Scout Leaders who were believeei to

                                havs or were alleged tcl have sexually abused minor boys in Deibndant BSA's

                                scouting programs,     No1.   all of these adults were removed fiom their positions as

                                Scout i.eaclers. Rather, at some point prior to I955, Def'endant BSA implernented

                                a secret, internal "probation    program." Uncler L)efendarit IISA's "probation

                                prograrn," a significant numbpr of Scout Leaders believed to have sexually abused

                                boys were allowed to continue on as Scout Leaders with access to mitrors.

                                Neither scouts no:: lheir parents were infarn':ed il'a Scilul Leacler was on

                                "probation,n'or that the reason for the probationary status was fcrr sexually

                                abusing minors. T'his probationary status evidenced tlie BSA's continued policy

                                of denying cr otherwise covering        u1:r   the problem of sexual abuse within its ratrlcs

                                of Scout Leaders.

                        t9      Delbndant ISSA went to significant lengdrs to keep the existence of their

                                'oPerversion   l;ile" system   and the problem of sexual abuse by Scout Leaders a

                                secret from scouts and the      public. Local councils were instructecl *      ancl agreed   -


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                            not to keep Perversion File materials at their offices, but ralher to send everything

                            to BSA national and destroy any copies.

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                                                                                                                                  tlDl-\^

                            possessed a ullique knowledge of both the profile of Scout Leaders who sexually

                            abuse scouts as well the methods these sexual abusers used to successfully

                            infiltrate scouting. The I.V, fi1es highlight the vulnerabilities of Defbndants'

                            scouting programs and activities, including sexual abusers' pattems for grooming

                            victinrs, and wiclely-f'ound hiographicai and behavioral characteristics shared by

                            sexual abusers that ha<l entered or were atlempting to enter scoul.ing. For a

                            centurv, BSA has lcnown of distinctive characterisrics of BSA's scouting

                            programs that render scouts particularly prone to child sexual abuse by Scout

                            Leaders.

                    21      By i935, BSA had accumulated approximately hundreds of liles on child

                            moles{ers that had sucoessfully infi}trated or attemptecl to infiltrate its

                            programming. Betrveen 1935 and the events alleged hercin in the 19[i9,

                            Defendant BSA receivecl th.ousands of reports of Scout l.,eaders sexually abusing

                            boys in their programs. These reports rvere continuous in frequency over time and

                            were spread tlrroughout the geographic bgunds of'the Defendant []SA's scouting

                            prclgrams.

                    22      In the 1970s,l3$A recognizedthepotential liabilities represented by possessing

                            and maintaining the          i.V. files. Over the sourse of two years in the enrly                     1970s,

                           thlee BSA executives reviewed ancl permanently deslroyed thousands of I.V,

                            files. BSA executives kept no retention logs showing which or how many of                                       the




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                              files BSA destroyed. BSA made no contemporaneous record of its criteria in

                              cletermining which files to destroy and which to save. Approximately 6,000 files

                              survived BSA's file pu.r:ge and ale in BSA's possessinn. Approximately 1,900 of

                              those files are now in the public domain. The exact number af sexual abuse

                              reports received by BSA is unknown, in parl because o{'the r":rid-1970s file purge.

                              By 2005, BSA's secl'et cache of files (Perversion Files) on child molesiers were in

                              the thousa:rds. These reporls demonstraled to Defendant BSA that it had       a


                              continuous and systernic problem of adult volunteers sexually abusing boys

                              partioipating in the Defendant's scoutirg progreffs.

                    ')')      Defbndants' knowledge of the danger of sexual abuse of boys in scouting

                              includecl knowledge about how child abusing Scoul l-eaders accomplished their

                              abuse. Prior to the abuse of Plaintiff by JllRROt.D SCHWAR'I'Z (hereina{ler

                              "SCFIWART'2"),Ihe Defendants knew or should have knorryn that child nrolesting

                              Sc,{rut l-eaders groomed   their viclims to accomplish their abuse and understood

                              how such grooming was accomplished (including using the scouting progl'ams

                              and activities to win the trust o1'victims, spending time alone with victim, and

                              using mechanisms to lower victims' inhibilions and maintain victims' silence).

                    aA
                    LA        The i.V. Files, created prior to the Plaintiff s parlicipaticn in scouting,

                              clemcxrstrate that l3$.4, had evidence (1) tbat scouting was continuously attracting

                              pedophiles across time and geography a:rd (2) of scr:uting's distinctive

                              characteristics that make   it attractive to pedophiles, inciuding:

                              a.      Provicling a sexuai abuser access to boys alone anci away from theil

                                      parents in secluded settings like canrp-outs and 6vetnight hikes;




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                            b.     Providing oppofiunities for sexual abusers to abuse a scout by getting him

                                   into situations where they have to change clothing or spend the night with

                                   him;

                            c.     Providing sexual abusers an opportunity to volunteer to spend time with

                                   and have access to minor scouts;

                            d.     Conditioning and educating boys to the concept of strict obedience to the

                                   Scout Leader and a bonding mechanism that sexual abusers utilize;

                            e.     Promoting the idea of sccrct ccrcmonics, rituals, and loyalty oaths, all ,rf

                                   which help frcititate a sexual abuser to keep his victims silent and

                                   compliant;

                            f.     Conducting no criminal background checks on volunteers;

                            g.     Not prohibiting adults from sleeping in rents with boys ovemight;

                            h,     Not prohibiting adult leaders lrom spending time alone with individual

                                   scouts; and

                            i.     Not prohibiting adult leaders from having contact with scouts outside of

                                   autborized scouting activities.

                           j.      Not specifically prohibiting Scout Leaders from having scouts to their

                                   home to work on scout related projects like merit badges.

                    25      The LV. Files   futher demonstrate that, far decades BSA:

                           a.      Re-adrnitted sexual abusers who had previously been removed for child

                                   abuse o'probation," thereby exposing unsuspecting children to sexual

                                   abuse;

                           b.      Had a practice of not reporting incidents of abuse to law enfi:rcement;




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                    c.      Had apattern of accommodating sexual abusers, in which they would be

                            permitted to resign from scouting and BSA would agree not to report the

                            abuse to authorities;

                    d.      Failed to produce its I.V. Files to its review board and scout-saf'ety

                            consultants, who were endeavoring to develop and implement meaningful

                            safeguards and barriers to pedophile infiltration;

                    e.      Refused to fingeqprint, photograph, or perform background checks on its

                            ad.ult volunteers, allowing removed sexual abusers using an alias to sneak

                            back into scouting through another troop;

                     f.     Refused to utilize widely-accepted organizational best practices that would

                            establish reasonable balriers to intrusionby sexual abusers;

                     g,     Refused to educale local councils, staff, and troop leaders regarding the

                            true risks posed by sexual abusers to scouts; and

                     h.     Refused to effectively monilor local councils and troops to ensure that

                            appropriate safeguards were being used in the selection and retention of

                            adult scout leaders.

               26    Prior to abuse alleged herein beginning in 1989, Delbndant BSA also knew or

                     should have known that its I.V. File system did not function to prohibit all known

                     predators from participating in scouting, was othetwise flawed, and in many cases

                     ineffective to address the sustained and systemic problem of ssxual abuse within

                     its programuring.

               27    Despite their knowledge of the danger of sexual abuse of boys in scouting, at no

                     time prior to 2010 when the BSA altered the warnings in its Scout l{andbook, did




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                             Defendants specifically wam boys in their programs or their parents, about this

                             known clanger. nor implement reasonable and feasible child abuse prevention

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                             danger. Instead, Deftndants intentionally and actively concealed the continuous

                             and systemic danger of sexual abuse of scouts in their programning. Defendants

                             also actively promoted and represented to the public that their scouting programs

                             were saf'e and wholesonre, and their adult leaders were safe and trustworlhy.

                    ?8.      At all times rslevant to this Cornplaint,    Defendants invited nnd othcrrvisc

                             encouraged the participation of minors, including Plainti:|.f, in their scouting

                             programrning and selected adults to serve in leadership positions.

                    29.      BSA has known for decacles that scouting involved an unreasonably high risk of

                             sexual abuse by adult leaders and vohurteers. BSA made rei:eated fulse

                             counterfactual claims that the number of child sexual alrusers in its progrzur:ming

                             was insignificant, that scouts were reasonably safe frnm sexual abuse by aclult

                             leaders, and that BSA. is not a magnel firr sexual abusers, all of which BSA made

                             (l) knowing that the ciair::s were fblse ar (2) with     reckless clisregard firr the truth

                             or fulsity. The Plaintiff alleges that they trusted BSA and that they reasonably

                             relied upon the FSA's rcpresentations that it presentecl a rroral and safe place far

                             minors.

                    34,      Sornetime after Plaintiffjoined scouts in approximately l9BB, SCHWAITTZ

                             bega.n a pnitenr   of gronming l']lainliff fl-rr the pnrpose cf sexually abusing hin:r.

                             This grooming included but was nct Iimited to giving Plaintiff special atlention,

                             pmise, and plivileges during troop meelings, inviting Plaintiff to clinner with




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                          members of the troop leadership, which were mainly adults, offbring Pla.intiff

                          gifts and trips, and dr:iving Plaintiff home alone after meetings.

                    31    SCHWARTZ's abuse of Plaintifl began in approximately 1989 and continued

                          through approximately 1992. 'Ihe abuse included, but was not lirnited to

                          SCHWARTZ kissing Plaintiff on the lips, SCI{WARTZ fr:ndling Plaintiffs

                          genitals, SCI{WARTZ m:asturbating Plaintiff s genitals, forcing Piaintiff to orally

                          copulate SCI-{WAitlZ,and SCI{WART'Z attempting to anally penetrate Plaintilll.

                          T'he abuse occurred at SCHWARTZ's home, at Central Synagogue in New York,

                          New York before troop meetings, and on scouting related trips. Plaintiff

                          eslimates the abuse occurred on al least 100 occasions.

                    32,   Flaintiff participated in scouting fi'om approximately 1988 tluougl: approximately

                          t997.

                    55.   Upein information and belief, Plaintif'f was taught and otherwise inlbrmed by

                          Defendants by word and deed that he should obey, trust, and respect the

                          Defbndants   an<J   SCI{WAlt'fZ.

                    34    Upon infcrrmalion and belief, at all t,imes menl,ioned herein, Defendants lcnew that

                          minors sexually abused in l.heir progl'&ms would suffer psychologieal and

                          emotional injulies, as well as other damages.

                    35    Upon infcn:ration and beliefl at all times mentioned herein, Defendanrs aided ancl

                          abetted the concealment of crimirral conduct by fuiling and refusing to report

                          allegations of chilcl sexual abuse to appropriate New York civil authorities.

                    36.   Upon information and beliel, Defcndants selected or accepted SCHWARTZ as a

                          Scout l,eade, , Ibr the Plaintiff s Boy Scout "froop 666, located in NEW YORK




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                             COUNCII..

                    37.      Plaintiffjoined Boy Scout Troop 666               as a result   of his parents calling Defundant
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                                                           ano asKlng ror a uoop tnelr son snoulo Jom, uelendant

                             NEW YORK COLINCIL recommended Plaintiffjoin Traop 666.

                    38.      Defendants authorized and empowered SCHWARTZ to perform all duties of                        a


                             scout Leader within Troop 666. including the authority and power to do the

                             fbllowing: to provide instruction. counseling, moral guiclance, and physical

                             supervision of boys palticipating in lloy Scout programs and activitics; to cnfcrcc

                            the rules governing the boys' participation; and to undefiake other duties.

                             Defendants knew that as pa* r:f his duties as a Scout L,eader,              scllwAlt'rz    would

                            be in a position of trust, cr:nfidence,           an<1   authority over the boys involved in scout

                            programs: including Plaintiff.

                    39      As a Scorrt Leader, SCLIWARTZ,befrtended Plaintiff; gained the trust and

                             confidence of Flaintiff s family as a trusted authority figure, mentor and ieader                of
                             boys;and gained the permission and suppol"t of Plaintiff and his parents to spend

                             substantial periods of time alone with            Plainrilf. As    a Scout Leader, SCl-iWAR.:fZ

                             also gained the directive of        Plaintifls parents to minor Plaintif{'that be respects

                             those ir: aulhority with Deftndants.

                    4A       Thereafter, SCI-IWARTZ acted as a Scout Leader toward PlaintiiT. snpcn,ised

                             them during scouting outings and activities, and exercised authority in loco

                            l'tar.(nIi,s over   Plaintiff during scouting       erzonts.

                    41      There was a special relationship between Plaintiff and Defendants giving rise to a

                             duty by l)efendants       1o   protect Plaiutiff from hann.




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                    42.     As a result of SCHWARTZ's authorized conduct as a Scout Leader, Plaintiff was

                            conditioned to firrst SCFIWAR'lZ,            t<s   cornply with his clireotions, and to respect

                            SCHWARTZ as aperson of authority, including in moral and ethicai matters.

                    43      Using the power, authority, and trust of his p<lsitions vested in him by Defendanls,

                            and availing himself of Defendants' representations that the scout programs were

                            a moral and safe place       for boys, SCHW AI\"IZ subjected Piaintiff to various acts

                            of sexual abuse while Plaintiff was a minor {hereinafter "the sexual abuse").

                    44      SCIIV/AR'IIZ would invite PlairrtilTto his hnme and wor"rld spend tirne alone with

                            Plaintiff beibre scout meetings and during scouting related trips. By inviting the

                            nrinor Piaintiff tr: his home alone, SCHV/AI{TZ was in violation cf BSA's "two

                            deep" rule, which requires that al least lwo adults be present at all tin:es during all

                            scouting events and ali other activities relatecl to the scouting progralls.

                    45      'fhe meth<ids    usectr   by SCLIWAR'IZ to accomplish his sexual abuse of Plaintiff

                            was substantially similar to metirods known to Defeirdants to have treen used

                            previously by numerous other adult leaders to accornplish sexual abuse of other

                            minors. These methods were known to the Defendants years prior to the sexual

                             abuse   of Plaintiff.

                    46       Ljpon int<lrmation a.nd belief, in about 1979, a Scout in 'li:otlp 666 alleged that

                             SCHWARTZhad molested him on                  a.   camping trip. lJpon returning home.lhe

                             Scout told his mother about the incident. His merther than made a complaint

                             directly to SCHWAR'IZ's superiors in the Troop and tn NIIW YORI( COUNCIL.

                             Upon informal.ion and belief, NIIW YORK COUNCIL ald'Iroop 666 ignored the

                             mother's complaint, telling her words to the effect that lier son had imagined the




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                            abuse. As a result of the complaint, neither the Defendant NEW YORK

                            COLINCIL lor the BSA underlook to investigate the matter nor remove

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                            ard at some poinl as descibed above, molested Plaintiff,

                    47      The above-deseribed complaint              in lg79 constitutes notise of SCHWARTZ's

                            preipensity to commit sexual abuse. In fact,                 in   1979 the complaint also c<xstitutes

                            actual notice that SCI{WAKTZ was a sexual abuser.

                    48      In May, 2AA2, Scoutmaster SCllWAR"lZpled guiltl, to sexualll,abusing another

                            scout in   Plaintills troop for        the period of September, 1996 throngh December,

                            1996. SCHWAR'IZ was incarceraled in                   tJ:e   New Yorh State Department of

                            Corections and released in 2008. Upon information and belief, he is eumently

                            registered as a Level One sex off'ender.

                    4q      ln the 2001 civil case againsl the Defendants NEW YORK COUI{CIL and BSA

                            thal fbllowed SCI{WARTZ's arue$t, the BSA maintained iu their X4otii:n fr:r

                            Summary Judgment whieh was denied {2AA2 N.Y. Slip Op.3A667) that the

                            scnut/plaintiff in that case, as a minor teenage bcy, consented tc the sexual

                            relationship with SCI{WARTZ. The l}SA's position talcen in tl,at sase involving

                            a scout    similarly situated to Plaintiff, namely that the scout is to blame lbr his

                            sexual abuse is consistent with the BSA's long history ciled supra conceming its

                            abject fa.ilure to protect children from sexual abuse perpetrated by its adult

                            leaders.

                    50      Def'endants knew cr should have known the danger that sexual abusers presented

                           to sconts long befbre Plainti{l was abused by SCI{WARTZ. Despite this




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                            klowledge, Defendants ignored the danger and permitted SCHWARTZ and other

                            sexual abusers in seouting to prey upon minor scouts, including Plaintiff, by

                            fuiling to warn them of the danger and fbiling to implernent reasonable policies ttr

                            prevent and identily child sexual abuse in scouling programs.

                    51      L.lpon in{brmation and    belief Defendants       had a duty to protect   Plainliff   as a   minnr

                             sccrut   flom SCHWARTL's e;riminal sexual acts.

                    52,      Upon informaticx and belief, Defbndants failed to adequately and completely

                             supervise SCI{WARI"Z and as a lesult of this failure and negligence, proximateiy

                             caused Plaintiff to be sexually abused by SCHWAR"IZ'

                             The ajbrementioned occurences of sexual abuse were causod by the negligence,

                             earelessness, recklessr:ess, and the       willful, wanton, reclcless and grossly negligent

                             condgct of Def'epclants and their agents, servanl.s, and/or employees, in failing to

                             properly anel adecluately supervise the conduct of SCHWARIIT, as it related to

                             Illaintiff,

                    54       By reason of the furegoing, Plaintiff sustainsd physical a::d psycirological

                             injuries, inchrding but not limitecl t0, sevefc emotional distress, conl'usion'

                             humiliation, fiight, anxiety.   & sevefe shoclc    to his nefvtlus system, and has been

                             caused to suffer physical pain and mental anguish, emotional and psychological

                             ilamages as a result thereol, and, upon infbrnalion and belief, some or all of'these

                             iniuries are oI a permanent and lasting nature; and that Plair:tiff as a result has

                             becorne and    will conlir:ue to be obligated to expet,d sutls     of'meiney fbr rnsdical

                             expenses fbr tleatnrent   of said maladies.




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                    55       That by reason of tlre foregoing, De{bndants are also liable to Plainti{f lor punitive

                             and exemplary damages.

                    )0       it is hereby   aiiegeei pursuant to     UPLit I 603 that the lbregoing   cause of action is

                             exempt *orn the operation of CIILR 1 601 by reason of one or more of the

                             exernptions provided in     cFLR 1602,including but not Iimited to, cpLR 16a2e)

                             and 1602(11).

                    57.      That the amounl of damages sought exceeds the jurisdictional lirnits of all lower

                             cour{s, whiclr would othel'wise have jurisdiction.

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                    58       Plaintiff repeats, reiterates,      ancl realleges each and every allegation conta.inecl   in

                             the above paragraphs of this Complaint, with the same lbrce and eI'fect as if             fully

                             set fclrtlr at lenglh herein.

                    59       lJpon infbrmation and beliel; prior to and at all times herein menlioned,

                             Defendants and their agents, servants, and employees, knew or should have

                             known that SCHW APITZ violated Defendants' relevant rules" regulations and

                            protocols prohibiting adult leaders like SCHV/ARTZ fuom sexually abusing and

                             otherwise harming minor scouts, including Plaintiff.

                    60      T'he Defendants and their agents, servailts, and employeos were negligent,

                            careless and recldess and acted          willfully, wantonly and rvere grossly negligent in

                            failing to w&rn Plainti{f thar thc fnilurc of SCI IWARTIT          r;o abide   by Def,rnclants'

                            rules, regulations and protocols regarding prohibitions on employees being alone

                            with minor scouts put lllaintifl'al risk fbr being sexually abused by SCI{WAI{'I'Z.




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               6l    Sy reason of the fbregoing, Plainliff sustained physical and psychological

                     iniuries, including but not limited t0, severe emotional distress, confusion,

                     humiliation, fiight, anxiety, a sevete shock to his nervous systern, and has been

                     caused to sulfer physical pain and mental anguish, emotional and psychological

                     damages as a result thereof, and, upon infurmation and beliefl some or all ol'these

                     injuries are of a permanent and lasting nature; and that Plaintiff as a result has

                     bscome and    will continue to be obligated to expend         sums of money for medical

                     expenses {br treattnent   of said maladies.

               62    That by reason of tbe foregoing, Defendants are also liable to PlaintiJf for punitive

                     and exemplary damages.

               63.   It is hereby alleged pursuant to CPI-R 1603 that the foregoiltg cause of action is

                     sxempt from the operation ol.CPLR 1601 by leason of one oI more oI'the

                     exemptiorls provided in CPLR 1602, including but not lirnited to, CPI,R 16A2{7)

                     ald i602(11).

               64    1'hat the amount of darnages sought exceeds the.iurisdictional limits of all lower

                     courts, which would otherwise have iurisdiction.

                              A$ Ali$. nglK,4 Tr{IIRJ} C,{lJ$E              QgACr]lpN
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               65    Plaintiffrepeats, reiterales, and realleges each and every allegation contained in

                     the above paragraphs of this Complaint, with thc same foree and effect as if            filly
                     set f<rrth at lengtir herein.

               66    "Ihe Defendarrls assumed a duty        ter   protect the safety and welfare of Plaintilf as

                     more f'ully set lbrth above, when Plaintiff partioipated in their scouting programs.




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                             This duty imposed upon said Deferidants, the cluty to provide a reasnnably safe

                             and secure environment for Plaintiff wbile he was participating in scouting

                             pic,graiiis.

                    67       When Plaintiff was in said Defendants' care, said Defendants failed to exercise

                             the degree of carc thata reasonably prudent parent would have exercised under

                             similar circumstances.

                    68       Defendants and their agents and employees were negligenl, careless and reckless

                             a.nd acted     u,illfully, n,nntoniy nnd u'ere grossly ncgligcnt in lailing to irrovide        a

                             safe and secure environment for           Plaintilf while he parlicipated   as a minor"   in

                             scouting programs and as such were sexually abused by SCHWARTZ,

                    69.      By reason of the foregoing, Plaintiff sustainecl physical and psychclogical

                             injuries, including bui not limited ro, severe emolionai distress, confusion,

                             humiiialion, fright, anxiety, a severe shock to l:is nervous system, ancl has been

                            eaused to suffer physical pain and rnental anguish, emotional and psychological

                             damages as a result thereof, and, upon infr:rn:ation and belief, some or all o1'these

                             injuries are of a petmancnt and lasting rature; and that PlaintilT as a result has

                            become and        will continue to be obligated to expend      sums of money for medical

                            expenses for treatment of said maladies,

                    7A      That by reason of the foregoing. Defendanls are also liable to Plairitiff{br punitive

                            and exemplary darnages,

                    tt      It is herehy nlleged      pursr.rant   ta CPI-R 1603 tirat the f.oregoing cauoe of action       il
                            exempt frcm the operation of CPI-R. 1 601 by reason of one or more of the

                            exemptions provided in CPLR 1602, including but nor limited to, cpI.R 1602(7)




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                          and i602(11).

                  72.     That the amount of damages sought exceeds the jurisdictional limits of all lower

                          courts, which would otherwise have jurisdiction.

                  WHEREFORE, the Plaintiff demands judgment against the Defendants, together with

           compensatory and punitive damages, and the interest, costs and disbursements pursuant to the

           causes of action herein.



           Dated: New York, New York
                  August 23,2019




                                                                           G. DOWD
                                                                600 Third Avenue, 15th Floor
                                                                New York, NY 10016
                                                                (2r2) 7sr-1644

                                                                SWE]]NEY, REICH & BALZ, LLP
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                                                                Attorneys for Plaintiff




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                                           V&R.TF'TCATION BY ATTORNT,Y

                    MICHAEL G. DOWD, an attorney being duly admitted before the courts of the State of

         New York, hereby a{firms thc following under penalties of periury:

                    That he is an attomey for the Plaintiff in the above-entitled action with offices located at

         600 Third Ave, New York, New York; that he has read the foregoing VERIFIED COMPLAINT

         and knows the contents thereof; that the same is true to his knowledge, except as to the matters

         stated to be alleged upon information and     beliei   and that as to those malters he believes them to

         he tnre.

                    'fhat the treason why this verification is made by deponent instead of Plaintiff is because

         Plaintiff is not within the County of New York where deponent has his office. Deponent funher

         says that the grounds of his belief as to all matters in the VERIFIED      COMPLAINT not stated to

         be upon hisrknowledge are based upon conversations with the Plaintiff and other writings

         relevant to this actiorr.


         Dated: New Yorlc, New York
                    August 23,2019

                                                                        HAEL      DOWD
                                                                   Attorney for Plaintiff
                                                                   600 Third Avenue, 15rh Floor
                                                                   New York, NY 10016
                                                                   (212)7s1-1640




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